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            EXHIBIT C
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STAVATTI™                           PROPRIETARY                                         SM-29




              An Upgrade For MiG-29 Fulcrum Fighter Aircraft

 CONFIDENTIAL PRIVATE PLACEMENT MEMORANDUM
                         PURSUANT TO RULE 506(b)
               OF REGULATION D OF THE SECURITIES ACT OF 1933




                                $10,000,000
                                       Round A
                           400 Class A Units of Equity Stock
                                $25,000 Per Unit Price
                                   1 January 2022

                              STAVATTI AEROSPACE LTD
                                   9400 Porter Road
CAGE Code: 8GT89              Niagara Falls, NY 14304 USA                  Christopher R. Beskar
DUNS: 117383324                   TEL: 651-238-5369                             President & CEO
PSC: 1510                          www.stavatti.com            Email: chris.beskar@stavatti.com



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                                                                           PURPOSE & SCOPE

This document serves as a Private Placement Memorandum (PPM) for the Stavatti SM-29 Super Fulcrum Development and Production Program (a
developmental aircraft) and a new company that will be organized upon funding of this Offering called Stavatti Super Fulcrum Ltd (the Company). This
PPM incorporates a Short Aircraft Business Plan for the Stavatti SM-29 Super Fulcrum focused on its demonstration, prototyping, production, sale and
support. This PPM incorporates a Short Business Plan that includes a summary of principal products, an overview of our management team and loca-
tions, a discussion of equity and/or royalty ownership as well as non-binding Financial and Return on Investment Forecasts.

                                                                         DISCLOSURE NOTICE

This PPM with integral business plan contains proprietary information and intellectual property owned by Stavatti Aerospace Ltd. Neither this PPM nor
any information contained herein may be disclosed to a third party without the prior written consent of Stavatti Aerospace Ltd. All projections presented
within this PPM are subject to significant economic, business, and other uncertainties beyond the control of Stavatti Aerospace Ltd. All projections
(including sales and production volumes, revenue, gross margin, expenses, net earnings, net worth and Return On Investment (ROI) are based upon
forecasted estimates using a probable-case basis. Projections cannot be guaranteed or assumed to be either realistic or attainable. No representa-
tions can be made as to their attainability and all projections, financial or otherwise, are estimates subject to change.

                                                             DEVELOPMENTAL AIRCRAFT DISCLAIMER

This document describes the configuration of a proposed developmental aircraft and is provisional in nature. The SM-29 is a proposed upgrade of an exist-
ing aircraft that has not yet been prototyped, demonstrated, flight tested, certified, produced or yet provided on a commercial basis. All technical and perfor-
mance specifications presented within this document are forward-looking estimates that are subject to change and modification without prior notification.
Stavatti reserves the right to revise this document whenever occasioned by design improvements, government regulations or other good cause.

                                                                     U.S. GOVERNMENT DISCLAIMER

This document does not reflect the official policy or intentions of the U.S. Government. This aircraft is the result of an IR&D/contractor initiative; it does
not reflect USAF/USN/USMC/DoD concurrence. The designation and nomenclature associated with this aircraft is a corporate assigned air weapon
system designation and does not reflect USAF, USN, USMC or DoD nomenclature concurrence. The views expressed within this document are those
of Stavatti and do not reflect the position of the United States Department of Defense or the U.S. Government.

                                                                              ITAR NOTICE

ITAR Compliance: Technical information, including export controlled militarily critical technical data, as defined in 22 CFR 120.10 or 15 CFR 779.1 is
not included within this PPM. This PPM is not subject to U.S. export control.

                                                            FOR TRANSMISSION OF TECHNICAL DATA

Technical Data as defined in 22 CFR 120.10 or 15 CFR 779.1 is not included within this document. The transmission/export of this document is not
subject to U.S. control. All technical data contained within this document is considered unrestricted/unclassified. Unit flyaway and system procurement
cost data included within this document is for marketing research purposes only and do not constitute, nor are to be misconstrued as, a proposal for
the sale of SME. Flyaway cost data is for budgetary and market study purposes only and is not contractually binding.

                                                                               OWNERSHIP

The SM-29E/F is an original aircraft upgrade of existing MiG-29 Fulcrum aircraft as proposed by Stavatti Aerospace Ltd. Stavatti Aerospace Ltd and the
enterprises, subsidiaries and joint-ventures thereof, is responsible for the engineering, development, certification, qualification, manufacture, systems inte-
gration and support of the SM-29. This document contains descriptions of the intellectual properties of Christopher R. Beskar, Stavatti Aerospace Ltd,
Stavatti Industries Ltd. and Stavatti Corporation. Stavatti™ is a trademark of Stavatti Aerospace Ltd.

                                                                            NOMENCLATURE

The Stavatti model number designation for this aircraft is SM-29E/F Super Fulcrum. This model number corresponds to the Stavatti upgrade of an existing
MiG-29 Fulcrum aircraft as originally produced by MiG/MAPO/United Aircraft in the former Soviet Union and/or Russian Federation.

                                                              ADDITIONAL CAPITAL NEEDED NOTICE

Stavatti expects that the proceeds from this Offering, even if fully subscribed, will not necessarily be sufficient for the company to begin production of
the aircraft. Subscribers to this Offering are investing in the First Round Financing of the Demonstrator Phase of the aircraft development program.
The aircraft development project has two phases of funding including a $10 Million Demonstrator Phase and a $30 Million Prototype Phase. Stavatti
assumes that at minimum, an additional $30 Million may need to be raised from equity investment or debt financing sources to certify the aircraft and
begin production. The Company’s current financing plan has scheduled an additional Class B equity offering to raise additional capital up to a total of $
40 Million for SM-29 Super Fulcrum demonstration, prototyping and production launch.

                                                                         DISTRIBUTION NOTICE

This Confidential Private Placement Memorandum (the “Memorandum”) is being submitted to a limited number of Accredited Investors on a confiden-
tial basis solely in connection with the consideration of an investment in a new company “Stavatti Super Fulcrum Ltd,” in connection with its develop-
ment and production of the Stavatti SM-29 Super Fulcrum upgrade of existing MiG-29 Fulcrum aircraft.

                                                                                  COSTS

All costs provided within this document are in 2022 United States Dollars ($USD)


                                            STAVATTI AEROSPACE LTD
                                                                            MN TEL: 651-238-5369
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                                                                            NY TEL: 716-205-8396        Kyivs’ka Street 4, Suite 217   P.O. Box 211258   4455 Genesee Street
Niagara Falls, NY      Niagara Falls, NY   Sheridan, WY                 email: aerospace@stavatti.com              Vinnytsia, 21000         Eagan, MN            Buffalo, NY
14304 USA              14304 USA           82801 USA                       http://www.stavatti.com                          Ukraine         55121 USA            14225 USA




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                                    IMPORTANT NOTICES

PROSPECTIVE INVESTORS SHOULD READ THIS CONFIDENTIAL PRIVATE PLACEMENT MEMORANDUM
(THE “MEMORANDUM”) CAREFULLY BEFORE DECIDING WHETHER TO PURCHASE COMPANY SHARES OR
UNITS (THE “UNITS”) IN STAVATTI AEROSPACE, LTD, A WYOMING C CORPORATION (THE “COMPANY” or “ST-
AVATTI”) AND SHOULD PAY PARTICULAR ATTENTION TO THE INFORMATION UNDER “RISK FACTORS.”

THIS INVESTMENT IS HIGHLY SPECULATIVE AND IS SUBJECT TO SUBSTANTIAL RISKS (REFERENCE “RISK
FACTORS”). IT SHOULD BE CONSIDERED BY, AND IS SUITABLE ONLY FOR, THOSE PERSONS WHO CAN
SUSTAIN AND ASSUME A HIGH DEGREE OF RISK AND A TOTAL LOSS OF THEIR INVESTMENT, AS WELL AS
A TOTAL LOSS OF ALL ANTICIPATED TAX BENEFITS AND DIVIDENDS.

THE TRANSFERABILITY OF UNITS IS RESTRICTED (REFERENCE “TRANSFERABILITY OF UNIT INTERESTS”).
IN THE EVENT AN INVESTOR DESIRES TO LIQUIDATE THEIR INVESTMENT, IT IS HIGHLY PROBABLE THAT
THEY MAY NOT BE ABLE TO LIQUIDATE IT, IN ANY MANNER OR FORM, ON TERMS ACCEPTABLE TO THE
INVESTOR.

THE UNITS OF COMMON AND PREFERRED STOCK AS OFFERED HAVE NOT BEEN REGISTERED BY THE
UNITED STATES SECURITIES AND EXCHANGE COMMISSION PURSUANT TO THE SECURITIES ACT OF 1933,
AS AMENDED, IN RELIANCE UPON THE EXEMPTION PROVIDED BY REGULATION D RULE 506 AND OTHER
EXEMPTIONS FROM REGISTRATION AS APPLICABLE. THE UNITED STATES SECURITIES AND EXCHANGE
COMMISSION HAS NOT APPROVED (OR DISAPPROVED) THE SECURITIES HEREIN OFFERED, NOR HAS
SUCH COMMISSION PASSED UPON THE ACCURACY OR THE ADEQUACY OF THIS MEMORANDUM. ANY
REPRESENTATION TO THE CONTRARY IS A CRIMINAL OFFENSE.

PROSPECTIVE INVESTORS SHOULD NOT CONSIDER, NOR CONSTRUE, THE CONTENTS OF THIS MEMO-
RANDUM AS LEGAL INVESTMENT OR TAX ADVICE. EACH PROSPECTIVE INVESTOR SHOULD CONSULT HIS
OR HER OWN COUNSEL, INCLUDING ATTORNEYS, ACCOUNTANTS AND/OR BUSINESS ADVISORS CON-
CERNING LEGAL, TAX AND RELATED MATTERS PRIOR TO PARTICIPATION. THIS MEMORANDUM DOES NOT
CONSTITUTE AN OFFER OR SOLICITATION IN ANY STATE OR OTHER JURISDICTION IN WHICH SUCH AN
OFFER OR SOLICITATION IS NOT PERMITTED. ADDITIONALLY, THIS MEMORANDUM CONSTITUTES AN
OFFER ONLY IF A PROSPECTIVE INVESTOR HAS EXECUTED AND DELIVERED THE SUBSCRIPTION DOCU-
MENTS, INCLUDING THE SUBSCRIPTION AGREEMENT AND SHAREHOLDERS AGREEMENT, TO STAVATTI.

THIS MEMORANDUM AND THE EXHIBITS HERETO ATTACHED ARE AUTHORIZED FOR USE ONLY IN CON-
NECTION WITH THE OFFERING OF UNITS OF COMMON OR PREFERRED STOCK. NO INDIVIDUALS, OTHER
THAN THE DULY APPOINTED EXECUTIVES AND AGENTS OF STAVATTI CORPORATION HAVE BEEN AUTHO-
RIZED TO MAKE REPRESENTATIONS OR TO PROVIDE INFORMATION WITH REGARD TO THE UNIT OF COM-
MON AND PREFERRED STOCK AS OFFERED BY STAVATTI.

ANY INFORMATION OR REPRESENTATION NOT CONTAINED HEREIN OR OTHERWISE SUPPLIED BY
STAVATTI OR APPROVED AGENTS THEREOF MUST NOT BE CONSIDERED AS AUTHORIZED BY STAVATTI
CORPORATION OR ITS AFFILIATES. STAVATTI CORPORATION WILL MAKE READILY AVAILABLE TO EACH
POTENTIAL INVESTOR, THEIR REPRESENTATIVES AND/OR ADVISORS THE OPPORTUNITY TO ASK QUES-
TIONS AND RECEIVE ANSWERS AND ADDITIONAL INFORMATION CONCERNING THE TERMS AND CONDI-
TIONS OF THIS OFFERING. THE INFORMATION IN THIS MEMORANDUM NECESSARILY INCORPORATES SIG-
NIFICANT ASSUMPTIONS WHICH MAY PROVE TO BE ERRONEOUS. THEREFORE, EVERY POTENTIAL
INVESTOR AND/OR PROFESSIONAL ADVISOR ARE URGED TO READ BOTH THE PRIVATE OFFERING MEMO-
RANDUM AND THE BUSINESS PLAN OF STAVATTI CORPORATION IN THEIR ENTIRETY, ALONG WITH THE
SUBSCRIPTION AGREEMENT AND ALL OTHER DOCUMENTS PROVIDED TO THE POTENTIAL INVESTOR BY
VIRTUE OF DEFAULT OR DIRECT REQUEST.

NEITHER THE COMPANY, THE MANAGER, NOR ANY OF THEIR REPRESENTATIVES OR AGENTS IS MAKING
ANY REPRESENTATION TO ANY OFFEREE OR PURCHASER OF THE UNITS REGARDING THE LEGALITY OF
ANY INVESTMENT THEREIN BY SUCH OFFEREE OR PURCHASER. NOTHING HEREIN IMPLIES THAT IT
SPEAKS AS OF ANY DATE AFTER THE DATE HEREOF. INVESTMENT DECISION INVESTORS MUST RELY ON
THEIR OWN EXAMINATION OF THE PERSON OR ENTITY CREATING THE UNITS AND THE TERMS OF THE
OFFERING, INCLUDING THE MERITS AND RISKS INVOLVED.

THIS MEMORANDUM IS SUBMITTED TO YOU ON A CONFIDENTIAL BASIS SOLELY IN CONNECTION WITH
YOUR CONSIDERATION OF AN INVESTMENT IN THE UNITS. DUE TO THE CONFIDENTIAL NATURE OF THIS
MEMORANDUM, ITS USE FOR ANY OTHER PURPOSE MIGHT INVOLVE SERIOUS LEGAL CONSEQUENCES.
AS A RESULT, THIS MEMORANDUM MAY NOT BE REPRODUCED IN WHOLE OR IN PART OR DELIVERED BY
YOU OR YOUR AGENT TO ANY PERSON WITHOUT THE PRIOR WRITTEN CONSENT OF THE MANAGER.



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                                     PATRIOT ACT RIDER

THE INVESTOR HEREBY REPRESENTS AND WARRANTS THAT INVESTOR IS NOT, NOR IS IT ACTING AS AN
AGENT, REPRESENTATIVE, INTERMEDIARY OR NOMINEE FOR A PERSON IDENTIFIED ON THE LIST OF
BLOCKED PERSONS MAINTAINED BY THE OFFICE OF FOREIGN ASSETS CONTROL, U.S. DEPARTMENT
OF TREASURY. IN ADDITION, THE INVESTOR HAS COMPLIED WITH ALL APPLICABLE U.S. LAWS, REGU-
LATIONS, DIRECTIVES, AND EXECUTIVE ORDERS RELATING TO ANTI-MONEY LAUNDERING, INCLUDING
BUT NOT LIMITED TO THE FOLLOWING LAWS: (1) THE UNITING AND STRENGTHENING AMERICA BY PRO-
VIDING APPROPRIATE TOOLS REQUIRED TO INTERCEPT AND OBSTRUCT TERRORISM ACT OF 2001, PUB-
LIC LAW 107-56, AND (2) EXECUTIVE ORDER 13224 (BLOCKING PROPERTY AND PROHIBITING TRANSAC-
TIONS WITH PERSONS WHO COMMIT, THREATEN TO COMMIT, OR SUPPORT TERRORISM) OF SEPTEMBER
23, 2001.

                               NOTICE TO WYOMING RESIDENTS

THESE SECURITIES HAVE NOT BEEN REGISTERED UNDER ANY CHAPTER OF THE WYOMING SECURITIES
LAWS AND MAY NOT BE TRANSFERRED OR OTHERWISE DISPOSED OF EXCEPT PURSUANT TO REGIS-
TRATION, OR AN EXEMPTION THEREFROM.

                            NOTICE TO RESIDENTS OF ALL STATES

IN MAKING AN INVESTMENT DECISION INVESTORS MUST RELY ON THEIR OWN EXAMINATION OF THE
COMPANY AND THE TERMS OF THIS OFFERING, INCLUDING THE MERITS AND RISKS INVOLVED. THESE
SECURITIES HAVE NOT BEEN RECOMMENDED BY ANY FEDERAL OR STATE SECURITIES COMMISSION OR
REGULATORY AUTHORITY. FURTHERMORE, THE FOREGOING AUTHORITIES HAVE NOT CONFIRMED THE
ACCURACY OR DETERMINED THE ADEQUACY OF THIS DOCUMENT. ANY REPRESENTATION TO THE CON-
TRARY IS A CRIMINAL OFFENSE. THESE SECURITIES ARE SUBJECT TO RESTRICTIONS ON TRANSFER-
ABILITY AND RESALE AND MAY NOT BE TRANSFERRED OR RESOLD EXCEPT AS PERMITTED UNDER THE
SECURITIES ACT OF 1933, AS AMENDED, AND THE APPLICABLE STATE SECURITIES LAWS, PURSUANT TO
REGISTRATION OR EXEMPTION THEREFROM. INVESTORS SHOULD BE AWARE THAT THEY WILL BE
REQUIRED TO BEAR THE FINANCIAL RISKS OF THIS INVESTMENT FOR AN INDEFINITE PERIOD OF TIME.

THE PRESENCE OF A LEGEND FOR ANY GIVEN STATE REFLECTS ONLY THAT A LEGEND MAY BE
REQUIRED BY THAT STATE AND SHOULD NOT BE CONSTRUED TO MEAN AN OFFER OR SALE MAY BE
MADE IN ANY PARTICULAR STATE. THIS MEMORANDUM MAY BE SUPPLEMENTED BY ADDITIONAL STATE
LEGENDS. IF YOU ARE UNCERTAIN AS TO WHETHER OR NOT OFFERS OR SALES MAY BE LAWFULLY
MADE IN ANY GIVEN STATE, YOU ARE ADVISED TO CONTACT THE COMPANY FOR A CURRENT LIST OF
STATES IN WHICH OFFERS OR SALES MAY BE LAWFULLY MADE. AN INVESTMENT IN THIS OFFERING IS
SPECULATIVE AND INVOLVES A HIGH DEGREE OF FINANCIAL RISK. ACCORDINGLY, PROSPECTIVE INVES-
TORS SHOULD CONSIDER ALL OF THE RISK FACTORS DESCRIBED BELOW.

                                     ITAR COMPLIANCE

TECHNICAL INFORMATION, INCLUDING EXPORT CONTROLLED MILITARILY CRITICAL TECHNICAL DATA, AS
DEFINED IN 22 CFR 120.10 OR 15 CFR 779.1 IS NOT INCLUDED WITHIN THIS DOCUMENT. THIS DOCUMENT
IS NOT SUBJECT TO U.S. EXPORT CONTROL.




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                                     I. SUMMARY OF THE OFFERING

The following is a summary of the certain principal terms of membership ownership into Stavatti Aero-
space Ltd and Stavatti Super Fulcrum Ltd, two separate corporate entities. This summary is qualified in
its entirety by the more detailed information appearing elsewhere in this Memorandum. Individuals who
participate in the Offering are urged to read this Memorandum in its entirety. An investment in the Units
offered hereby involves a high degree of risk. This Memorandum contains forward-looking statements
which involve risks and uncertainties. Actual results may differ significantly from the projected results dis-
cussed in these forward-looking statements. Factors that may cause such a difference include, but are
not limited to, those discussed in “Risk Factors.” The “Company” when used herein will refer to “Stavatti
Super Fulcrum Ltd” while “Stavatti” when used herein, refers to Stavatti Aerospace Ltd.


                                     TERMS AND CONDITIONS

  The Company                       Stavatti Super Fulcrum Ltd (the “Company”) will be a new C Corpo-
                                    ration that will be licensed to develop and produce the SM-29
                                    Super Fulcrum; an upgrade of an existing MiG-29 by Stavatti Aero-
                                    space Ltd, a Wyoming C Corporation. The Company will be orga-
                                    nized and incorporated immediately following the minimum sub-
                                    scription of one unit interest of this offering.


  Business                          The Company intends to develop, prototype, flight test, qualify, pro-
                                    duce, sell and support a proprietary upgrade of existing MiG-29
                                    Fulcrum Aircraft to convert them to the SM-29E/F Super Fulcrum.
                                    The Super Fulcrum will feature F414 EP afterburning turbofan
                                    engines, APG-79 AESA radar, a comprehensive Avionics and Elec-
                                    tronic Warfare Systems Upgrade, A Structural Life Extension, New
                                    Wheels and Brakes and additional upgrades. This upgrade will be
                                    marketed, sold and provided to allied MiG-29 operators worldwide.


  Offering                          The Company is seeking capital commitments of $10,000,000 from
                                    accredited investors for Round A Funding. The securities being
                                    offered hereby consist of up to 400 Class A Unit ownership inter-
                                    ests of the Company, priced at $25,000 per Unit. Each Unit con-
                                    tains 500,000 Shares of Common Stock assigned a value of $0.05
                                    per Share. The Minimum Funding amount is $25,000 (1 Unit).
                                    Investors will also be assigned a Royalty Interest in the Gross Rev-
                                    enues of the Company equal to 0.00508% per Unit. Investor funds
                                    will be held in escrow by the Company until the Minimum Funding
                                    amount is reached. Once the Minimum Funding amount has been
                                    reached, funds can be utilized by the Company while the Offering
                                    remains active to secure the remainder of funds.




                          OFFERING CAPITALIZATION STRUCTURE
                                                                         Investor Royalty &
                                             Percent     Percent                                     ROI
 Round       Category        Investment                                 Return On Investment
                                             Equity      Royalty                                     Fold
                                                                               (ROI)

             1st Round                                                                              24.68 x
   A                        $10,000,000      20.00%       2.03%             $246,800,000
             Investors                                                                            Investment




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 Use-of-Proceeds          The Offering is intended to raise $10,000,000. At least 95% of the
                          Offering Proceeds will be used to produce a Demonstrator of the
                          SM-29 Super Program Aircraft or as otherwise support the program
                          per the Use-of-Funds summary provided herein. No more than 5%
                          of the Offering Proceeds will be used for Offering expenses, includ-
                          ing fees and commissions to brokers and agents in the Offering.


 Stavatti Aerospace Ltd   Stavatti Aerospace Ltd. (“Stavatti”) is a Wyoming C Corporation
                          that was formed in December 2019. Stavatti is the owner/assignee
                          of the SM-29 Upgrade Program and associated intellectual proper-
                          ty and will license the design for development and production to
                          Stavatti Super Fulcrum Ltd upon its formation as a C Corporation.
                          Stavatti will also serve as the Manager of the Company and
                          engage in the design, development, marketing, sales and manu-
                          facturing of the SM-29 Super Fulcrum program and aircraft.


 Stavatti™                Stavatti™ is the trademark applied to Stavatti™ products and com-
                          panies. Stavatti™ is a trade-marked brand name owned by Chris-
                          topher R. Beskar and licensed to members of the Stavatti™ family
                          of companies including Stavatti Aerospace Ltd and Stavatti Indus-
                          tries Ltd. Once incorporated “Stavatti Super Fulcrum Ltd” will be
                          granted a license to apply the Stavatti trade-name to its products
                          and function as a “Stavatti” company. For the purposes of this
                          Offering the word “Stavatti” refers to “Stavatti Aerospace Ltd” while
                          “Stavatti™” refers to the Stavatti™ brand and trademark.


 Management               Stavatti Aerospace Ltd will serve as the Manager of the Company
                          and will be directly responsible for appointing the Company’s Board
                          of Directors and Executive Management. The Manager will license
                          the SM-29 upgrade to the Company for development and produc-
                          tion upon Company incorporation. In the event the Company is not
                          organized, then Stavatti Aerospace Ltd will undertake the project.


 Shares Outstanding       The Company will have 1,000,000,000 shares of Common Stock
                          Outstanding when it is organized. Of these 1,000,000,000 shares a
                          sum total of 200,000,000 shares (20.00%) will be Class A shares
                          for distribution in accordance with this Offering.


 Distributions            Investors who own or are assigned a Royalty Interest in the com-
                          pany shall receive a percentage Royalty from the Revenues asso-
                          ciated with the Company. The Royalties shall be considered a cost
                          within the costs of goods sold associated with the aircraft and is a
                          pre-expense cost. Royalties shall be paid upon the receipt of final
                          payment or a finished product following that products delivery. The
                          Board of Directors of the Company may also, at their discretion,
                          declare to issue dividends to be paid from the Profit After Tax (PAT)
                          earned by the Company during the course of business. Dividends
                          will be distributed to investors and shareholders in proportion to the
                          number of membership units and corresponding shares of equity
                          Stock held at the time of the distribution.



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 Transfer Restrictions      The sale of Class A Unit Interest(s) and/or Company Common
                            Stock is subject to various significant restrictions on transferability,
                            including those under the securities laws and a requirement from
                            the consent of the Management in accordance with Subscription
                            Agreements, except in the case of certain permitted transfers.


 Term of the Company        The Company will continue to exist in perpetuity with an indefinite
                            term unless otherwise dissolved by the Management and/or the
                            Board of Directors with the approval of the Investors holding a
                            majority of the ownership interest in the Company.


 Performance Assignment     The Company may elect to assign the performance of the project,
                            in whole or in part, from initiation to completion, to Stavatti and its
                            assigns. The Company shall be responsible for ensuring that any
                            and all royalties or dividends associated with the Revenues or Net
                            Earnings from the project are distributed to investors.


 Fractional Units           The Company will allow accredited investors to purchase fractions
                            of Units. This Fractional Unit Offering will enable investors to own
                            less than one full unit under the same Common Stock value rela-
                            tionship as in the offering of a Full Unit. The Fractional Units
                            offered will include quarters of units such as Three-Fourths (3/4),
                            One Half (1/2) and One-Quarter (1/4) Units offered at $18,750 (3/4
                            Unit), $12,500 (1/2 Unit) and $6,250 (1/4 Unit) respectively.


 Acceptable Contributions   The Company reserves the right to accept any monetarily valuable
                            asset(s) in lieu of capital contributions. The Company also reserves
                            the right to accept any monetarily valuable asset(s) as collateral to
                            secure financing, including debt or equity finance.


 Reports to Investors       The Company may furnish to the investors after the close of each
                            fiscal year an annual report and/or Valuation containing audited
                            financial statements of the Company prepared in accordance with
                            generally accepted accounting principals and a statement setting
                            forth any distributions to the Investors for the fiscal year.


 Indemnification            The Company will indemnify, defend and hold the Executive Man-
                            agement and the members of the Board of Directors harmless from
                            and against any losses, damages, costs, which relate to the opera-
                            tions of the Company, unless the Management-Board acted in an
                            illegal manner related to the management of the Company.


 Investors                  The Offering is only for “Accredited Investors” under Rule 501 of
                            the Securities Act of 1933, as amended (the “Securities Act”).


 Term and Final Closing     The Term of the Offering is 180 days from the date of Issuing or
                            upon termination of the Offering by the Company. The Final Clos-
                            ing Date unless Terminated at a Prior Date is 30 June 2022.



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                                 II. BUSINESS PLAN OF THE COMPANY

Stavatti Super Fulcrum Ltd (the “Company”) will be a Wyoming C Corporation (or at incorporator’s discre-
tion a Delaware C Corporation) that will be managed by Stavatti Aerospace Ltd (“Stavatti”) and its Found-
er and CEO Christopher R. Beskar (“Chris Beskar”). The Company will be organized and incorporated
immediately following the minimum subscription of one unit interest of this offering. The Company will
likely be registered as a Foreign Corporation in the State of New York with an initial place of business of,
9400 Porter Road, Niagara Falls, NY 14304. Known as SNAPPER (Stavatti Niagara Aeronautical Proto-
type Production Engineering & Research), Stavatti acquired this facility to serve as the company’s opera-
tional headquarters, engineering design center and manufacturing facility on 30 October 2020. The initial
phone number of the Company will be (651) 238-5369 and the website will be www.stavatti.com.

The Company intends to develop, prototype, flight test, produce, sell and support the SM-29 Super Ful-
crum: an enhanced performance MiG-29 Fulcrum Multi-Role Fighter aircraft that will be transformationally
upgraded by Stavatti Aerospace Ltd to the “Super Fulcrum” configuration, allowing the aircraft remain a
potent and competitive air defense asset through 2040. Conceived by Stavatti, the SM-29E will combine
the superb aerodynamic and performance characteristics of the MiG-29 with the enhanced capabilities,
reliability and availability of western powerplants, avionics, sensors, armament and electronic warfare
systems. The SM-29 upgrade will be performed by Stavatti with the support of a comprehensive industry
team at new and existing Stavatti facilities in the USA and in customer nations.

The SM-29 program has an estimated global market for over 540 upgrades to be provided to allied MiG-
29 operators worldwide beginning with an anticipated order for up to 76 SM-29 aircraft to the Ukrainian
Air Force. Total projected revenues for the Ukrainian Air Force upgrade contract are $1.7 Billion while
total projected revenues for the upgrade of 540 aircraft worldwide exceeds $12.15 Billion. Prior to provid-
ing any SM-29 aircraft to customers, the SM-29 must be developed and produced. The SM-29 will be
developed and produced under license from Stavatti Aerospace Ltd by Stavatti Super Fulcrum Ltd or
assigned for development and production to Stavatti by Stavatti Super Fulcrum Ltd. The Company
intends to fund the costs associated with the development and production launch (collectively referred to
as the “development program”) of the SM-29 aircraft through Equity and/or Debt financing.

The development of the SM-29 Super Fulcrum will be undertaken in two Phases and Funding Rounds
including a $10 Million Demonstrator Phase (Round A) followed by $30 Million Prototype Phase (Round
B). Following the $10 Million Demonstrator Phase Stavatti will secure a contract for the upgrade of MiG-
29s for the Ukrainian Air Force (UAF), undertaking the Prototype and Prototype Plus Phases in parallel
with the upgrade of an initial 4 UAF MiG-29s. The subsequent $30 Million “B” Funding Round may be
funded through debt financing. Once the Prototype Phase is completed, the SM-29 program will enter a
full rate production and delivery phase resulting in the upgrade of up to 50 SM-29 aircraft annually for
customers worldwide. The SM-29 aircraft upgrade is anticipated to remain in production over a 10 to 20
year period. There is no assurance, however, that these objectives will be achieved (see “Risk Factors”)

                                             III. THE AIRCRAFT

The SM-29 Super Fulcrum will be an enhanced performance MiG-29 Fulcrum aircraft that has been
upgraded by Stavatti. The upgrade will begin with the installation of new GEAE F414 EPE afterburning
turbofans within Stavatti re-engineered advanced design engine nacelles. Stavatti will then provide a
complete sensor, avionics and cockpit update including the installation of a Raytheon APG-79 AESA
radar, a L3Harris Large Area Avionics Display (LAAD), an upgraded HUD and an associated Hands on
Throttle and Stick (HOTAS), NATO standard communications, navigation and electronic warfare systems
as well as new wheels, tires, brakes and antiskid. For enhanced mission capability, newly designed
pylons and ejectors are proposed to provide for delivery of both current Ukraine Air Force weapons and
missiles and NATO ordnance including the AIM-9, AIM-120, JDAM and JSOW weapons. Major airframe
components are to be inspected and rebuilt as needed. Structures that can benefit from advanced mate-
rials are to be replaced to provide for a new total airframe life of 6,000 flight hours. To increase aircraft
range, new fuel tanks are proposed including conformal external fuel tanks between the engine nacelles
for a total internal fuel capacity of 1,800 US Gal. A retractable in-flight aerial refueling probe will also be
available. A detailed description of the proposed aircraft upgrade, its projected cost, projected market and
competitive factors is provided in the subsequent pages of this memorandum.


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IV. FINANCING PLAN

The Company intends to raise the funds necessary to complete the development, prototyping and pro-
duction launch of the SM-29 by selling two classes of Investment Interests (Class A and Class B Units) in
the Company. The Class A Unit Offering will fund the Demonstrator Phase, estimated at $10 Million. The
Class B Unit Offering will fund the Prototype Phase, estimated at $30 Million.

All Offerings will assign the investor(s) a percent royalty in the Revenues associated with the Sales and
Earnings of SM-29 Super Fulcrum MiG-29 upgrades and any and all subsequent spare parts and support
equipment thereof. The royalty will be a direct percentage position corresponding to the Gross Revenues
(“Revenues”) of the provision of SM-29 Super Fulcrum upgrades associated with any Stavatti SM-29 spe-
cific production operations company (“Stavatti Super Fulcrum Ltd or similar). The Offering may also
assign, with no additional cost, an equity ownership position in Stavatti Aerospace Ltd and/or any busi-
ness operations company (“Stavatti Super Fulcrum Ltd”) for the production and/or sale of the SM-29
Upgrade. This structure allows investors to receive a Return On Investment (ROI) in the form of a royalty
from the provision of SM-29 upgrades regardless of their equity ownership in Stavatti or if production is
performed by an alternate Stavatti company.

Under this financing plan, Offering subscriber/investors will receive a Percent Royalty position earning
them Royalties from the Gross Revenues associated with each aircraft sold. Round A investors will col-
lectively receive a 2.03% Royalty on all Revenues associated with SM-29 upgrades as well as up to
20.00% equity ownership of the hypothetical new company tentatively called “Stavatti Super Fulcrum
Ltd,” if organized. Round B investors will collectively receive a 2.54% Royalty on all Revenues associated
with SM-29 upgrades as well as up to 25.00% equity ownership of the hypothetical new company, if orga-
nized. In the event the project is conducted entirely as a wholly owned division of Stavatti Aerospace Ltd,
Investors will receive a Royalty derived specifically from, and limited to, the Revenues of the SM-29
Super Fulcrum Division of Stavatti Aerospace Ltd. Investors may also receive an equity ownership posi-
tion in Stavatti Aerospace Ltd, however, that position must be negotiated. A table presenting the pro-
posed Business Capitalization Structure is provided:


          SM-29 SUPER FULCRUM BUSINESS CAPITALIZATION STRUCTURE
          Units              Offering                               Distributions

                                                                       Investor Royalty &
                                            Percent     Percent                                   ROI
  Class     Category        Investment                                Return On Investment
                                            Equity      Royalty                                   Fold
                                                                             (ROI)

            1st Round                                                                            24.68 x
   A                       $10,000,000      20.00%       2.03%            $246,800,000
            Investors                                                                          Investment


            2nd Round                                                                            10.28 x
   B                       $30,000,000      25.00%       2.54%            $308,500,000
             Investors                                                                         Investment



In the above Capitalization Structure all Classes of Shareholders are entitled to receive monies (Capital
Return) simultaneously with the amount/magnitude of the monies received being directly proportional to
the percentage of equity they own in the company. As shown in the above table, the Company intends to
offer Class B and Class C Units at a price per Common Share that is incrementally higher than the price
per Common Share offered to to Class A Unit Investors. In so doing, Class A Unit Investors are offered a
lower price per Share as an incentive for investing in the Company at a period of greater risk.

                                        V. RETURN ON INVESTMENT

Providing projections of anticipated Company Financial Distributions and Returns on Investment (ROIs)
for Investor/Shareholders, Company Return on Investment Tables for 5, 10 and 20 years of continuous
SM-29 aircraft upgrades are provided based upon an average annual upgrade rate of 50 aircraft.


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           RETURN ON INVESTMENT: 3 YEARS (76 UAF SM-29 UPGRADES)
                      SM-29 Upgrade      Percent   Percent       Investor Royalty &         ROI
Class   Category
                     Revenues (Accum.)   Equity    Royalty   Return On Investment (ROI)     Fold

        1st Round                                                                            3.29 x
  A                    $1,620,000,000     20%       2.03%             $32,906,667
        Investors                                                                         Investment

        2nd Round                                                                            1.37 x
  B                    $1,620,000,000     25%       2.54%             $41,133,333
         Investors                                                                        Investment

                                                                                             1.85 x
A& B       TOTAL       $1,620,000,000     45%       4.57%             $74,040,000
                                                                                          Investment




             RETURN ON INVESTMENT: 5 YEARS (140 SM-29 UPGRADES)
                      SM-29 Upgrade      Percent   Percent       Investor Royalty &         ROI
Class   Category
                     Revenues (Accum.)   Equity    Royalty   Return On Investment (ROI)     Fold

        1st Round                                                                            8.68 x
  A                    $4,275,000,000     20%       2.03%             $86,837,037
        Investors                                                                         Investment

        2nd Round                                                                            3.62 x
  B                    $4,275,000,000     25%       2.54%            $108,546,296
         Investors                                                                        Investment

                                                                                             4.88 x
A& B       TOTAL       $4,275,000,000     45%       4.57%            $195,383,333
                                                                                          Investment



            RETURN ON INVESTMENT: 10 YEARS (390 SM-29 UPGRADES)
                      SM-29 Upgrade      Percent   Percent       Investor Royalty &         ROI
Class   Category
                     Revenues (Accum.)   Equity    Royalty   Return On Investment (ROI)     Fold

        1st Round                                                                           20.11 x
  A                    $9,900,000,000     20%       2.03%           $201,096,296
        Investors                                                                         Investment

        2nd Round                                                                            8.38 x
  B                    $9,900,000,000     25%       2.54%            $251,370,370
         Investors                                                                        Investment

                                                                                            11.31 x
A& B       TOTAL       $9,900,000,000     45%       4.57%            $452,466,667
                                                                                          Investment



            RETURN ON INVESTMENT: 13 YEARS (540 SM-29 UPGRADES)
                      SM-29 Upgrade      Percent   Percent       Investor Royalty &         ROI
Class   Category
                     Revenues (Accum.)   Equity    Royalty   Return On Investment (ROI)     Fold

        1st Round                                                                           24.68 x
  A                   $12,150,000,000     20%       2.03%           $246,800,000
        Investors                                                                         Investment

        2nd Round                                                                           10.28 x
  B                   $12,150,000,000     25%       2.54%            $308,500,000
         Investors                                                                        Investment

                                                                                            13.88 x
A& B       TOTAL      $12,150,000,000     45%       4.57%            $555,300,000
                                                                                          Investment




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                                         VI. USE-OF-PROCEEDS

The proceeds of the Offering will be used to fund the SM-29 Super Fulcrum Demonstrator program
focused upon performing a basic upgrade and modernization of a single MiG-29 Fulcrum A single seat
fighter to demonstrate to potential customers, including the Ukrainian Air Force (UAF) that Stavatti has
the capability to perform the comprehensive update of MiG-29 to the proposed SM-29E configuration. A
minimum number of 1 Units must be sold in this Offering and there can be no assurance that the Compa-
ny will be any to sell all or any specified number of Units. Net proceeds may be utilized by the Company
once a minimum of $100,000 is raised through the Offering for any of the purposes set forth in the below
Use-of-Proceeds table as specified within this Memorandum. To the extent that less than all the Units are
sold, the Company will have to adjust its proposed Use-of-Proceeds to compensate for the shortage.

The following table sets forth specific information concerning the estimated use of the proceeds of this
Offering and assumes that the maximum Offering of $10,000,000 is achieved. The dollar amounts in the
table are estimates only and the Manager may alter the Use-of-Proceeds at its discretion. A portion of the
SM-29 development program, once completed an additional $30 Million may be required to fully proto-
type, demonstrate and begin production of the SM-29. The proceeds of the Offering will not be sufficient
to prototype and produce the aircraft/perform MiG-29 upgrades and are not to be used for any production
costs of the aircraft. See “Risk Factors: Need for Additional Capital.”

The Demonstrator Program includes the acquisition of a MiG-29 to serve as a demonstrator aircraft. The
MiG-29 is currently owned by Air USA, Inc/Don Kirlin and is a 1986 MiG-29UB. The airframe has 818
hours Total Time Since New and 118 hours since complete airframe overhaul at Lviv State Aircraft Repair
Plant, Ukraine. The Aircraft is Serial Number 80003003127 and it is FAA certified in the experimental
exhibition category with “N” number N129XX. Stavatti intends to acquire this aircraft and transport it to
Niagara Falls, NY to serve as the basis for the SM-29F Demonstrator. Upon completion of the upgrade
and Round A, the MiG-29 airframe may be transported from Air USA, Inc. to the former USARC Facility in
Niagara Falls for the subsequent Round B prototype program. The Demonstrator program will be con-
ducted within a rapid 2 to 4 month time-frame and will culminate in an hands-on inspection and evalua-
tion of the MiG-29 aircraft as upgraded by UAF senior leadership. Following the positive evaluation of the
upgraded aircraft, it is anticipated that the UAF will award Stavatti with a contract to upgrade an initial 4
MiG-29 aircraft to the SM-29E standard within 12 months to be followed by a subsequent contract to
upgrade an additional 72 aircraft over 48 to 60 months, resulting in a total of 76 aircraft upgrades. An
Offering Use-of-Proceeds is provided:

               STAVATTI AEROSPACE 10M INVESTMENT USE-OF-FUNDS

   PROGRAM EXPENSES                                                           COST           PERCENT

   Acquisition of MiG-29 Aircraft From Air USA                           $4,650,000               46.5%
   MiG-29 Upgrade                                                        $1,000,000               10.0%
   9400 Porter Road: Facility Upgrades & Remodeling                        $550,000                5.5%
   Deposit on Bell Plant Purchase                                          $500,000                5.0%
   Construction of Ukraine Facility                                        $200,000                2.0%
   Facility Costs & Utilities                                               $50,000                0.5%
   Machinery & Equipment                                                         $0                0.0%
   Software & Workstations                                                  $50,000                0.5%
   Marketing & Advertising                                                 $275,000                2.8%
   Payroll                                                               $1,500,000               15.0%
   Benefits & Insurance                                                    $475,000                4.8%
   Flight Test & Demonstration                                             $100,000                1.0%
   General & Administrative Costs                                          $150,000                1.5%
   Contingency & Miscellaneous                                             $500,000                5.0%

   TOTAL COST                                                           $10,000,000            100.00%




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                                VII. REQUIREMENTS FOR PURCHASERS

Prospective purchasers of the Units offered by this Memorandum should give careful consideration to
certain risk factors described under “RISK FACTORS” section and especially to the speculative nature of
this investment and the limitations described under that caption with respect to the lack of a readily avail-
able market for the Units and the resulting long term nature of any investment in the Company. This
Offering is available only to suitable Accredited Investors that may be allowed to purchase Units, having
adequate means to assume such risks and of otherwise providing for their current needs and contingen-
cies should consider purchasing Units.

Prospective purchasers will be required to represent and warrant in a pertinent Subscription Agreement
that (i) the purchaser is an Accredited Investor as that term is defined in Rule 501(a) of Regulation D pro-
mulgated by the Securities and Exchange Commission; (ii) that you have reviewed, together with your
professional advisers, if any, this Memorandum; (iii) that you have had an opportunity to ask questions of
and receive answers from our representatives with respect to the Offering; (iv) that you together with your
financial advisers, if any, have such knowledge and experience in financial and business matters as to be
capable of evaluating the merits and risks of an investment in the Offered Units and have adequate
means to provide for your financial needs with no expectation of a return on your investment, including a
complete loss of your investment; and (v) that you understand that the Offered Units have not been regis-
tered under the Securities Act and that you have acquired the Offered Units for your own account for
investment and not with a view to Distribution within the meaning of the Securities Act.

Stavatti may make or cause to be made any further inquiry and obtain such additional information as we
deem appropriate with regard to your suitability as a prospective investor. Stavatti reserves the right to
modify, increase or decrease the suitability standards and minimum investment requirements with respect
to certain investors in order to comply with any applicable state or local laws, regulations or otherwise.

A. General Suitability Standards

The Units will not be sold to any person unless such prospective purchaser or his or her duly authorized
representative shall have represented in writing to the Company in a Subscription Agreement that:

a) The prospective purchaser has adequate means of providing for his or her current needs and per
sonal contingencies and has no need for liquidity in the investment of the Units;

b) The prospective purchaser’s overall commitment to investments which are not readily marketable is
not disproportionate to his, her, or its net worth and the investment in the Units will not cause such overall
commitment to become excessive; and

c) The prospective purchaser is an “Accredited Investor” (as defined) suitable for purchase in the Units.

d) Each person acquiring Units will be required to represent that he, she, or it is purchasing the Units for
his, her, or its own account for investment purposes and not with a view to resale or distribution. See
“SUBSCRIPTION FOR UNITS” section.

B. Accredited Investors

The company will conduct the Offering in such a manner that Units may be sold only to “Accredited
Investors” as that term is defined in Rule 501 (a) of Regulation D promulgated under the Securities Act of
1933 (the “Securities Act”) that may be allowed to purchase Units in this offering. In summary, a prospec-
tive investor will qualify as an “Accredited Investor” if he, she, or it meets any one of the following criteria:

e) A natural person whose individual net worth, or joint net worth with that person’s spouse, at the time of
this purchase, exceeds $1,000,000, excluding the value of the primary residence of such natural person;

f) Any natural person who had an individual income in excess of $200,000 in each of the two most recent
years or joint income with that person’s spouse in excess of $300,000 in each of those years and who
has a reasonable expectation of reaching the same income level in the current year;


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g) Any bank as defined in Section 3(a)(2) of the Act, or any savings and loan association or other institu-
tion as defined in Section 3(a)(5)(A) of the Securities Act, whether acting in its individual or fiduciary
capacity; any broker or dealer registered pursuant to Section 15 of the Securities and Exchange Act of
1934 (the “Exchange Act”); any insurance Company as defined in Section 2(13) of the Exchange Act; any
Investment Company registered under the Investment Company Act of 1940 or a business development
Company as defined in Section 2(a)(48) of that Act; any Small Business Investment Company (SBIC)
licensed by the U.S. Small Business Administration under Section 301(c) or (d) of the Small Business Act
of 1958; any plan established and maintained by a state, its political subdivisions, or any agency or
instrumentality of a state or its political subdivisions, for the benefit of its employees, if such plan has total
assets in excess of $5,000,000; any employee benefit plan within the meaning of the Employee Retire-
ment Income Security Act of 1974, if the investment decision is made by a plan fiduciary, as defined in
Section 3(21) of such Act, which is either a bank, savings and loan association, insurance Company, or
registered investment advisor, or if the employee benefit plan has total assets in excess of $5,000,000, or,
if a self-directed plan, with investment decisions made solely by persons who are Accredited Investors;

h) Any private business development Company as defined in Section 202(a)(22) of the Investment Advi-
sors Act of 1940;

i) Any organization described in Section 501(c)(3)(d) of the Internal Revenue Code, corporation, business
trust, or partnership, not formed for the specific purpose of acquiring the securities offered, with total
assets in excess of $5,000,000;

j) Any director or executive officer, or general partner of the issuer of the securities being sold, or any
director, executive officer, or general partner of a general partner of that issuer;

k) Any trust, with total assets in excess of $5,000,000, not formed for the specific purpose of acquiring
the securities offered, whose purchase is directed by a sophisticated person as described in Section
504(b)(2)(ii) of Regulation D adopted under the Act; and

l) Any entity in which all the equity owners are Accredited Investors.

C. OTHER REQUIREMENTS

No subscriptions for the Units will be accepted from any investor unless he is acquiring the Units for his
own account (or accounts as to which he has sole investment discretion) for investment and without any
view for sale, distribution or disposition thereof. Each prospective purchaser of Units may be required to
furnish such information as the Company may require determining whether any person or entity purchas-
ing Units is an Accredited Investor.

                                 Vlll. FORWARD LOOKING INFORMATION

Some of the statements contained in this Memorandum, including information incorporated by reference,
discuss future expectations, or state other forward looking information. Those statements are subject to
known and unknown risks, uncertainties and other factors, several of which are beyond the Company’s
control which could cause the actual results to differ materially from those contemplated by the state-
ments. The forward looking information is based on various factors and was derived using numerous
assumptions. In light of the risks, assumptions, and uncertainties involved, there can be no assurance
that the forward looking information contained in this Memorandum will in fact be valid.

                            IX. STAVATTI SHORT AIRCRAFT BUSINESS PLAN

A Short Aircraft Business Plan as prepared by Stavatti Aerospace Ltd for the SM-29 is hereby provided
within this Offering to provide a summary overview of the proposed SM-29 aircraft upgrade and its asso-
ciated development and production program. This business plan begins with a presentation of the SM-29
Executive Summary and subsequent summary details of the aircraft, the business (Stavatti Aerospace),
its proposed products, its proposed acquisitions, the business structure, management, leadership, facili-
ties, proposed locations, industry team, project financial requirements and financial projections are
included followed by a compendium of the Risk Factors associated with this Offering.


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                                   PREFACE
                       THE UKRAINIAN AIR FORCE CONTRACT

This SM-29E Super Fulcrum Business Plan was written in support of a potential contract from the Ukraini-
an Air Force (UAF) to procure up to 76 SM-29 upgrades of existing MiG-29 aircraft

On 19 December 2019 Stavatti received a Protocol of Intent from the Ukrainian Air Force (UAF) indicating
their committed desire to procure up to 76 SM-29E/F upgrades valued at $1.7 Billion. This Protocol of
Intent was signed by the Commander of the Air Force of Ukraine, Colonel General Sergii Drozdov during
meeting between Ukrainian Air Force and Stavatti Representatives held the week of 15 December 2019 in
Vinnytsia, Ukraine. A photograph of the Commander and the CEO of Stavatti Aerospace Signing the Pro-
tocol of Intent is provided:




Upon the completion of the Round A Demonstrator Phase Stavatti anticipates the award of a $1.7 Billion
contract beginning with a $90 Million contract to upgrade an initial 4 UAF MiG-29s followed by a $1.62 Bil-
lion contract to upgrade an additional 72 aircraft. It is this contract that can serve as the basis for direct
investor or accounts receivables debt financing of Round C.

A serious potential customer that desires to enter into a procurement contract with Stavatti for SM-29 air-
craft following their evaluation of the SM-29 Demonstrator aircraft to be completed in the Demonstrator
“Round A” phase, Stavatti regards the UAF as the Launch Customer that will provide an appreciable
Return on Investment in support of this Business Plan. All references to the SM-29 for the UAF are in
direct reference to this potential contract as supported by the Protocol of Intent of 19 December 2019.


        SM-29 DELIVERY & COST SCHEDULE TO THE UKRAINIAN AIR FORCE

    PROGRAM                             CALENDER               AIRCRAFT                      EXTENDED
    MILESTONE                             YEAR                 DELIVERED                         COST

    SM-29 Lot 1 Completion                  2022                    4                       $90,000,000
    SM-29 Lot 2 Completion                  2023                    8                      $180,000,000
    SM-29 Lot 3 Completion                  2024                    12                     $270,000,000
    SM-29 Lot 4 Completion                  2025                    16                     $360,000,000
    SM-29 Lot 5 Completion                  2026                    18                     $405,000,000
    SM-29 Lot 6 Completion                  2027                    18                     $405,000,000

    TOTAL                                                           76                   $1,710,000,000



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                      PROJECT IMPLEMENTATION STRATEGY
With the understanding that the Ukrainian Air Force (UAF) will serve as the first customer for the SM-29
upgrade project, Stavatti’s strategy is to implement the projects Demonstrator phase which costs $10 Mil-
lion and corresponds to the funding of Round A of this business plan. Under Round A, Stavatti will provide
a $4.65 Million payment to Air USA, Inc of Quincy, IL to purchase their MiG-29UB as well as to serve as an
initial down-payment on the purchase of the company by Stavatti Aerospace. Stavatti will also spend a
total of $200,000 to provide a “demonstrator” level upgrade of the MiG-29UB which will include both the
cockpit display and wheel and brake upgrade. Work will be performed in Quincy, IL. With a total cost of
$10 Million, it is expected that following the completion of the SM-29 Demonstrator upgrade, Stavatti will
most likely host the delegation from the UAF at the Air USA facility in Quincy, IL. Upon review by the dele-
gation and approval from the US State Department Directorate of Defense Trade Controls (DDTC), it is
anticipated that Stavatti will be awarded a $90 Million contract to provide an upgrade of 4 UAF MiG-29s to
the SM-29 configuration. This work will be performed at the USARC facility which will be acquired for $1.5
Million in Round B of the SM-29 Super Fulcrum Business Plan, financed in part upon the award of the UAF
contract. The earnings from this first $90 Million UAF contract will repay and provide a Return on Invest-
ment (ROI) for the initial Round A investment of $10 Million immediately upon contract award.

While conducting the upgrade of the 4 UAF MiG-29s, Stavatti will also implement the Prototype
Phase/Round B of this Business Plan in parallel to the UAF upgrade. Round B will allow Stavatti to com-
plete the upgrade of the SM-29 Demonstrator to the Prototype Level including the Radar, Powerplant and
Electronic Warfare Systems Upgrades. Round B will also support the acquisition of Air USA, Inc. and pro-
vide business operations and working capital. Round B will be funded through additional equity investment
in Stavatti or accounts receivables financing based upon the $90 Million UAF contract.

Upon completing the upgrade of 4 UAF MiG-29s, Stavatti anticipates the award of a second contract to
upgrade an additional 72 UAF MiG-29s valued at $1.62 Billion. Upon contract award Stavatti may secure
additional funding to fund the greater Stavatti Business Plan. Funding will be secured as accounts receiv-
ables debt financing to address the costs of completing the acquisition of Air USA, Inc, completing the pur-
chase of the Bell Aerospace Plant and complete construction of a 100,000 sq ft production facility in
Ukraine to perform the upgrade of the 72 MiG-29s in Ukraine. The combined first and second contracts will
result in the upgrade of 76 MiG-29s to the SM-29 Super Fulcrum configuration at a total contract value of
$1.7 Billion with estimated net earnings after expenses and repayment of Round A & B investment/debt to
investors/lenders of approximately $143.4 Million, providing a net return on investment to all investors.

A table summarizing projected UAF contract revenue and earnings based upon 1st and 2nd contract
awards to upgrade 4 and 72 aircraft respectively is provided. Reviewing the table, it is evident that the 1st
contract valued at $90 Million will repay the total Round A investment of $10 Million while producing net
earnings of over $1 Million. Similarly, the 2nd Contract valued at $1.62 Billion will repay the total Round B
investment/loans of $30 Million while providing net earnings of more than $143 Million.


         SM-29 UKRAINIAN AIR FORCE CONTRACT REVENUE & EARNINGS

   Customer                                    Ukrainian Air Force             Ukrainian Air Force
   Contract Number                                1st Contract                    2nd Contract
   Contract Award Start-Completion                 2022-2023                       2023-2027
   Total Sales (Upgrades)                               4                              72
   Total Revenues                                 $90,000,000                   $1,620,000,000
   Total Gross Margins                            $11,000,000                    $198,000,000
   Operating Expenses                             $4,912,500                      $24,562,500
   Investment Round(s) Repaid                       Round A                         Round B
   Funding Round Repayment                        $5,000,000                      $30,000,000
   Total Net Profit                               $1,087,500                     $143,437,500




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STAVATTI™                                                PROPRIETARY                                              SM-29




Mail: 9400 Porter Road, Niagara Falls, NY 14304                         EXECUTIVE SUMMARY
Tel: 651-238-5369
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SM-29 SUPER FULCRUM
The SM-29 Super Fulcrum is an enhanced performance
MiG-29 Fulcrum aircraft that has been transformationally
upgraded by Stavatti Aerospace. The includes the the
installation of new GEAE F414 EPE af terburning
turbofans, an APG-79 AESA radar, upgraded cockpit avi-
onics and displays, a Large Area Avionics Display (LAAD),
new NATO standard com/nav/IFF and EW systems, NATO
External stores pylons, new wheels, tires, brakes and
antiskid, increased internal fuel and an airframe structural
life enhancement to 6,000 hours.

Aircraft Type: Multi-Role Fighter
Seating: One (SM-29E) to 2 (SM-29F) seats in tandem
Powerplant: 2 x F414 EP AB Turbofan: 26,300 lbs st each
Maximum Takeoff Weight: 52,000 lbs
Typical Aircraft Unit Flyaway Cost: $22.5 Million

Round A: Demonstrator Program: $10 Million
Round B: Prototype Program: $30 Million
Total Development Cost: $40 Million

Total Projected Aircraft Upgrades/Sales: 540+
Projected Number of Production Years: 12 Years
Projected Annual Production Rate: 50 Aircraft/Year
Direct Employment/Production Year: 254+

Projected Annual Sales Revenues: >$1,012.5 Million
Project Annual Net Earnings: >$102.8 Million
Projected Total Program Sales Revenues: >$12.15 Billion
Projected Total Program Net Earnings: >$1.234 Billion
Prototype Program Return on Investment: >3,085%

SM-29 PROGRAM FINANCIAL PROJECTIONS: 2022-2033



         Program Revenue                                                                         $12.15 Billion




     Program Gross Margin                    $1.485 Billion




         Program Net Profit               $1.234 Billion

                                                                     3,085% Return on Investment (30.85 Fold)

Development Program Cost           $40 Million



                              $0    $2B            $4B         $6B      $8B      $10B    $12B     $14B            $16B



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FUNDING REQUIRED & USE-OF-FUNDS

The SM-29 Super Fulcrum Business Plan Requires an initial Round A investment of $10 Million to address
Demonstrator Phase costs followed by $30 Million in Round B funding to address Prototype Phase Costs.
Total program funding is $40 Million for Rounds A and B. Following the $10 Million Demonstrator Phase
Stavatti will secure a contract for the upgrade of MiG-29s for the Ukrainian Air Force (UAF), undertaking
the Prototype Phase in parallel with the upgrade of an initial 4 UAF MiG-29s. The $10 Million Round “A”
Prototype Phase is a mission critical phase that will enable Stavatti to secure a MiG-29 upgrade contract
with the UAF. Round A Funds will be secured through investors or strategic partners. The subsequent $40
Million “B” Funding Round may be funded again through investors or through debt financing of UAF con-
tract associated accounts receivables or as expenses associated with the first 4 SM-29s for the UAF. Once
the Demonstrator and Prototype Phases are completed, the SM-29E program will enter a full rate upgrade
and delivery phase resulting in the upgrade of up to 50 MiG-29 aircraft annually for customers worldwide.
Stavatti will perform all initial work on this contract at the former USARC facility in Niagara Falls which was
acquired by Stavatti on 30 October 2020. MiG-29 demonstrator and prototype aircraft will be acquired from
Air USA as part of the Stavatti acquisition of the business. The MiG-29 will then be upgraded directly by
Stavatti with the support of industry team members including Raytheon, L3Harris and GE. Tables summa-
rizing Business Plan Funding Required and Use-of-Funds are provided:

              SM-29 SUPER FULCRUM BUSINESS PLAN FUNDING REQUIRED

  Round                        Phase                                             Description                                    Cost
                                                            The Round A Demonstrator Phase will result in a cockpit display
                                                            and wheel/brake/tire upgrade of a single MiG-29 Fulcrum A air-
     A                     Demonstrator                     frame as acquired from Air USA, Inc performed at the USARC
                                                            facility in Niagara Falls, NY. Costs are funded directly by an
                                                                                                                              $10,000,000
                                                            investor as an Equity, Royalty and/or Debt Investment.

                                                            The Round B Prototype Phase will result in the complete
                                                            prototyping of a MiG-29 Upgrade as well as the acquisition of
     B                       Prototype                      Air USA Inc and the USARC facility. Round B enables commer-
                                                            cial launch of the upgrade program. Costs are funded through
                                                                                                                              $30,000,000
                                                            UAF Contract Earnings/AR Debt Financing or by investors.




                   SM-29 SUPER FULCRUM BUSINESS PLAN USE-OF-FUNDS

  ROUND                                                                            A                                 B                 A+B

  PHASE                                                           Demonstrator                           Prototype                  TOTAL

  PROGRAM COST

  Acquisition of MiG-29 Aircraft From Air USA                         $4,650,000                       $1,500,000                $6,150,000
  MiG-29 Upgrade                                                      $1,000,000                      $19,000,000               $20,000,000
  Remodeling of USARC Facility                                         $550,000                                $0                 $550,000
  Purchase Bell Plant                                                  $500,000                                $0                 $500,000
  Construction of Ukraine Facility                                     $200,000                        $1,000,000                $1,200,000
  Facility Costs & Utilities                                             $50,000                        $350,000                  $400,000
  Machinery & Equipment                                                       $0                       $3,000,000                $3,000,000
  Software & Workstations                                                $50,000                        $300,000                  $350,000
  Marketing & Advertising                                              $275,000                         $500,000                  $775,000
  Payroll                                                             $1,500,000                       $1,500,000                $3,000,000
  Benefits & Insurance                                                 $475,000                         $450,000                  $925,000
  Flight Test & Demonstration                                          $100,000                         $400,000                  $500,000
  General & Administrative Costs                                       $150,000                         $500,000                  $650,000
  Contingency & Miscellaneous                                          $500,000                        $1,500,000                $2,000,000

  TOTAL COST                                                         $10,000,000                      $30,000,000               $40,000,000

  RUNNING TOTAL                                                      $10,000,000                      $40,000,000               $40,000,000


  PAV: Prototype Air Vehicle; VSS: Vehicle System Simulator; NRE: Non Recurring Engineering




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ROUND A: DEMONSTRATOR PROGRAM

The $10 Million SM-29 Super Fulcrum Demonstrator Program focuses upon the basic upgrade and mod-
ernization of a single MiG-29UB Fulcrum B two-seat fighter to demonstrate to customers, including the
Ukrainian Air Force (UAF), that Stavatti has the capability to perform the comprehensive update of MiG-
29 Aircraft to the proposed SM-29 configuration. Considered “Round A” funding, the Demonstrator pro-
gram has a cost of $10 Million and focuses upon the acquisition of a single MiG-29 airframe from Air USA,
Inc. and the subsequent upgrade of the aircraft’s cockpit through the installation of a single LAAD display
as well as additional displays and avionics as the upgrade budget allows. Also included in the demonstra-
tor upgrade is the complete upgrade of aircraft wheels, brakes and tires to UTC/Goodyear solutions
including 22 x 6.6-10 nose tires and 30 x 11.5-14.5 main gear tires. This phase will demonstrate two criti-
cal upgrades: new aircraft cockpit displays and new wheels, tires and brakes.

The Demonstrator Program will be conducted primarily at the Air USA facility in Quincy, IL per an
arrangement with Air USA, Inc. The MiG-29 is currently owned by Air USA,Inc/Don Kirlin and is a 1986
MiG-29UB. The airframe has 818 hours Total Time Since New and 118 hours since complete airframe
overhaul at Lviv State Aircraft Repair Plant, Ukraine. The Aircraft is Serial Number 80003003127 and it is
FAA certified in the experimental exhibition category with “N” number N129XX. The aircraft will serve as
the basis for the SM-29F Demonstrator upgrade. Upon completion of the upgrade and Round A the MiG-
29 airframe may be transported to the former USARC Facility (Snapper) in Niagara Falls for Round B.

The Demonstrator program will be conducted within a rapid 2 to 4 month time-frame and will culminate in
an hands-on inspection and evaluation of the MiG-29 aircraft as upgraded by UAF senior leadership. Fol-
lowing the positive evaluation of the upgraded aircraft, it is anticipated that the UAF will award Stavatti
with a contract to upgrade an initial 4 MiG-29 aircraft to the SM-29 standard within 12 months to be fol-
lowed by a subsequent contract to upgrade an additional 72 aircraft over 48 to 60 months, resulting in a
total of 76 aircraft upgrades. Additional potential customers may also elect to contract Stavatti to perform
the SM-29 upgrade on their fleets of MiG-29 aircraft upon conclusion of the Demonstrator program.

Round A will result in the launching of Stavatti’s SM-29 upgrade program and a multi-billion dollar aircraft
modernization and retrofit business service. Demonstrating to Air Forces worldwide Stavatti’s unique
capabilities as an upgrade services provider, this initial $10 Million results in a physical demonstrator air-
craft that will be used to market our upgrade services. A Round A Use-of-Funds is provided:


               STAVATTI AEROSPACE 10M INVESTMENT USE-OF-FUNDS

   PROGRAM EXPENSES                                                      COST               PERCENT

   Acquisition of MiG-29 Aircraft From Air USA                      $4,650,000                   46.5%
   MiG-29 Upgrade                                                   $1,000,000                   10.0%
   9400 Porter Road: Facility Remodeling                              $550,000                    5.5%
   Deposit on Bell Plant Purchase                                     $500,000                    5.0%
   Construction of Ukraine Facility                                   $200,000                    2.0%
   Facility Costs & Utilities                                          $50,000                    0.5%
   Machinery & Equipment                                                    $0                    0.0%
   Software & Workstations                                             $50,000                    0.5%
   Marketing & Advertising                                            $275,000                    2.8%
   Payroll                                                          $1,500,000                   15.0%
   Benefits & Insurance                                               $475,000                    4.8%
   Flight Test & Demonstration                                        $100,000                    1.0%
   General & Administrative Costs                                     $150,000                    1.5%
   Contingency & Miscellaneous                                        $500,000                    5.0%

   TOTAL COST                                                      $10,000,000                100.00%




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ROUND B: PROTOTYPE PROGRAM

The $30 Million “Round B” SM-29 Super Fulcrum Prototype Program focuses upon the full and complete
upgrade of a single MiG-29 Fulcrum A (Index 9.12) single seat fighter to serve as a Stavatti Company
SM-29E Super Fulcrum Prototype and Demonstration aircraft. The “Full Upgrade” includes the installa-
tion of new GEAE F414 EP afterburning turbofan powerplants, the Raytheon AN/APG-79 AESA radar, a
cockpit upgrade including the LAAD display as well as the aircraft wheels/brakes/tires upgrade, avionics,
sensors and EW suite upgrade, increased internal fuel, conversation to NATO external stores pylons, air-
craft structural improvements and service life extension to 6,000 hours and all other elements associated
with the SM-29E upgrade. Resulting in the SM-29E prototype, Stavatti will flight demonstrate this aircraft
and use it in stores qualification testing and certification for the SM-29E.

The Prototype Program will be conducted at the USARC facility in Niagara Falls and will be supported by
Stavatti Air USA of Quincy, IL. Stavatti will acquire a second MiG-29 aircraft from Air USA: a MiG-29 Ful-
crum A single seat fighter to serve as the fully upgraded prototype of the SM-29E. Additional costs includ-
ing salary and payroll, facility costs and utilities, initial machinery and equipment, tooling, mock-ups and
models of the SM-29E, marketing and advertising, business travel expenses, engineering software and
workstations, design patents associated with the upgrade program and other costs will be addressed in
this phase.

The Prototype program will be conducted within a rapid 9 to 12 month time-frame and is a direct follow-
on to the Demonstrator Program. Unlike the Demonstrator Program, the Prototype Program is not abso-
lutely necessary for Stavatti to successfully secure a MiG-29 upgrade contract from Stavatti’s anticipated
SM-29 launch customer, the Ukrainian Air Force (UAF). The Prototype Program can, however, dramati-
cally increase the likelihood that Stavatti will be contracted by the UAF to provide the full and complete
SM-29 upgrade that is projected to total 76 aircraft valued at $1.7 Billion.

The Prototype Program may be funded directly by investors as an equity or venture debt investment or its
costs will be funded entirely through UAF contract associated Accounts Receivables (AR) financing asso-
ciated with the SM-29 upgrade of up to 76 MiG-29s of the UAF. The anticipated UAF contract will pay for
100% of the Prototype Program. The successful completion of the Prototype Program will also provide
Stavatti with the facilities and equipment to produce new design Stavatti aircraft and may result in the
production of an SM-31 mock-up also for the UAF. A Round B Use-of-Funds is provided:

               ROUND B: SM-29 PROTOTYPE PROGRAM USE-OF-FUNDS

   PROGRAM EXPENSES                                                     COST               PERCENT

   Acquisition of 1 x MiG-29 Fulcrum A from Air USA                $1,500,000                  5.00%
   MiG-29 Upgrade                                                 $19,000,000                 63.33%
   Remodeling of USARC Facility                                            $0                  0.00%
   Purchase Bell Plant                                                     $0                  0.00%
   Construction of Ukraine Facility                                $1,000,000                  3.33%
   Facility Costs & Utilities                                        $350,000                  1.17%
   Machinery & Equipment                                           $3,000,000                 10.00%
   Software & Workstations                                           $300,000                  1.00%
   Marketing & Advertising                                           $500,000                  1.67%
   Payroll                                                         $1,500,000                  5.00%
   Benefits & Insurance                                              $450,000                  1.50%
   Flight Test & Demonstration                                       $400,000                  1.33%
   General & Administrative Costs                                    $500,000                  1.67%
   Contingency & Miscellaneous                                     $1,500,000                  5.00%

   TOTAL COST                                                     $30,000,000                100.00%




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TOTAL BUSINESS PLAN COSTS

The total cost of the SM-29 Super Fulcrum Business Plan can be considered to be $40 Million if all fund-
ing Rounds (Rounds A and B) are considered. Conceived and proposed by Stavatti Aerospace, the Busi-
ness Plan is divided into two Funding Rounds/Phases which include the $10 Million Round A Demonstra-
tor Phase and a $30 Million Round B Prototype Phase. The combined cost of both Rounds/Phases is
$40 Million. Of the phases, Round A is the most critical as it is this $10 Million Demonstrator phase that
will convince customers to acquire the upgrade package, after which all remaining Rounds/Phases
(Round B) can be paid for through contract earnings.

The SM-29 Business Plan will result in a number of achievements for Stavatti Aerospace with the full
funding of $10 Million going directly to major initiatives that include the basic upgrade of a single MiG-29
airframe from Air USA, Inc. which focuses upon the upgrade of the aircraft’s cockpit through the installa-
tion of a single LAAD display as well as the complete upgrade of aircraft wheels, brakes and tires to
UTC/Goodyear solutions including 22 x 6.6-10 nose tires and 30 x 11.5-14.5 main gear tires. The result-
ing aircraft will serve as the SM-29 Demonstrator of Round A. In Round B, a single seat MiG-29 Fulcrum
A will receive a more comprehensive upgrade and will serve as the SM-29 Prototype, featuring new new
GEAE F414 EP afterburning turbofan powerplants, the Raytheon AN/APG-79 AESA radar and all other
related SM-29 upgrades, including Electronic Warfare Systems. This single seat prototype will then serve
as the flight test article for stores qualification testing as well as the company demo aircraft.

Principal operations for this Business Plan wil be conducted at the former USARC facility (Snapper)
located at the Niagara Falls International Airport. This 173,358 sq ft facility on 20 acres will serve as man-
ufacturing and development center for the SM-29 program. The Business Plan will result in the acquisi-
tion of a total of two MiG-29s, including one two seat MiG-29UB Fulcrum B and a single seat MiG-29 Ful-
crum A and associated spare parts and support equipment from Air USA, Inc. The Business Plan
effectively addresses all costs including salary, payroll and benefits, facility costs and utilities, machinery
and equipment, mock-ups and models of the SM-29E, marketing and advertising, business travel
expenses, engineering software and workstations, design patents associated with the upgrade program
and other costs associated with the advancement of Stavatti Aerospace. The cost of acquiring land at the
Vinnytsia International Airport in support of the future construction of a Stavatti aircraft production,
assembly and maintenance support plant will also be addressed as Stavatti Ukraine Business Develop-
ment Costs. A table summarizing the Total Business Plan Use-of-Funds is provided:


                       SM-29 BUSINESS PLAN TOTAL USE-OF-FUNDS

   PROGRAM EXPENSES                                                       COST               PERCENT

   Acquisition of MiG-29s From Air USA                              $6,150,000                   15.38%
   MiG-29 Upgrade                                                  $20,000,000                   50.00%
   Remodeling of USARC Facility                                       $550,000                    1.38%
   Purchase Bell Plant                                                $500,000                    1.25%
   Ukraine Land and Facility                                        $1,200,000                    3.00%
   Facility Costs & Utilities                                         $400,000                    1.00%
   Machinery & Equipment                                            $3,000,000                    7.50%
   Software & Workstations                                            $350,000                    0.88%
   Marketing & Advertising                                            $775,000                    1.94%
   Payroll                                                          $3,000,000                    7.50%
   Benefits & Insurance                                               $925,000                    2.31%
   Flight Test & Demonstration                                        $500,000                    1.25%
   General & Administrative Costs                                     $650,000                    1.63%
   Contingency & Miscellaneous                                      $2,000,000                    5.00%

   TOTAL COST                                                      $40,000,000                 100.00%




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STAVATTI™                                      PROPRIETARY                                             SM-29


INTRODUCING THE SM-29E SUPER FULCRUM

The SM-29E Super Fulcrum will be an enhanced performance MiG-29 Fulcrum Multi-Role Fighter aircraft
that will be transformationally upgraded by Stavatti Aerospace Ltd to the “Super Fulcrum” configuration,
allowing the aircraft remain a potent and competitive air defense asset through 2040. Conceived by
Stavatti, the SM-29E will combine the superb aerodynamic and performance characteristics of the MiG-29
with the enhanced capabilities, reliability and availability of western powerplants, avionics, sensors, arma-
ment and electronic warfare systems. Focusing on the modernization of MiG-29, MiG-29A, MiG-29S, MiG-
29SE/SM/SMT and MiG-29M Tactical Aircraft, a key motivation of the upgrade is to ensure that the MiG-29
family can remain operational within air forces that face challenges providing parts and support from the
original Russian OEM MiG (now Russian Aircraft Corporation MiG and its parent company United Aircraft
Corporation). Addressing a need to provide interoperability between existing MiG-29s with NATO and US
allied air forces worldwide and to maximize the operational effectiveness of the aircraft, the SM-29E
upgrade is intended to bridge the gap between 4th and 6th generational fighters while allowing the MiG-29
design to remain a viable combat aircraft within the 5th generation fighter space.

The upgrade will begin with the installation of new GEAE F414 EPE afterburning turbofans within Stavatti
re-engineered advanced design engine nacelles. The F414 EPE offers greater thrust (11,938 kgf vs 8,307
kgf), lower specific fuel consumption and far better maintainability than the original RD-33 powerplants.
Stavatti then provides a complete sensor, avionics and cockpit update including the installation of a APG-
79 AESA radar and a L3 20 x 8 Large Area Avionics Display (LAAD). Stavatti may also provide a four
channel digital fly-by-wire flight control system, F-16 style side-stick and throttle HOTAS flight controls.
Providing a redesigned cockpit environment, the SM-29 may feature an updated HUD (including either a
BAe Systems LiteHUD or Esterline SparrowHawk HUD) and/or a Helmet Mounted Display System includ-
ing either the Collins Aerospace Generation III Helmet Mounted Display System (HMDS) or the Joint Hel-
met Mounted Cueing System (JHMCS). The aircraft will also incorporate both standard and cost plus
optional US/NATO communications, navigation and electronic warfare systems. To increase aircraft range,
new fuel tanks will be installed, including conformal tanks within the new engine nacelles, for a total inter-
nal fuel capacity of 1,800 USG (6,914 liters). Major airframe components will be inspected and rebuilt,
while structures that can benefit from advanced materials are replaced, insuring a new total airframe life of
6,000 flight hours. For enhanced mission capability, new design external stores pylons and ejectors will be
installed to allow the delivery of NATO ordnance including the AIM-120, AIM-9, JDAM and JSOW.

Offering a broad array of possible enhancements,
the SM-29E program focuses upon a complete
modernization, enhancement and structural life-
time improvement of MiG-29 airframes and is the
most dramatic, ground-up upgrade of the MiG-29
offered by any aerospace manufacturer. The
upgrade will result in an aircraft that will compete
directly with and in many ways exceed the capabil-
ities of current production MiG-35, MiG-29K and
MiG-29M/M2 fighters. In this sense, an older pro-
duction (Factory Index 9.12/9.13) MiG-29 airframe
can be upgraded to the SM-29E standard allowing
it to remain operational through 2040. Building
upon the MiG-29's aerodynamic assets, the SM-
29E upgrade will allow a beautiful aircraft to retain
its teeth in a dramatically changing world.
The SM-29E upgrade will be performed by Stavatti with the support of a comprehensive industry team
(GEAE, Raytheon, Collins Aerospace, etc.) at new and existing Stavatti facilities in the USA and within
customer nations. Each SM-29E upgrade may be customized to address specific customer needs and
budgets with upgrades ranging from basic (including powerplant and avionics upgrades) to comprehen-
sive (including powerplant, avionics, EW, armament systems, airframe) with a per aircraft upgrade cost of
$22.5 Million to $25 Million. Due to dissimilarities in original production MiG-29 aircraft, each upgrade will
be custom engineered by Stavatti for a specific aircraft to result in a universally standard SM-29E config-
uration that can be readily operated, maintained and supported in the US/NATO operational environment.


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                                                                                                                    Multi-Role Fighter
SM-29E Super Fulcrum                                                                                                 MiG-29 Upgrade

Upgrade Cost: $22.5 Million                                                                                                     Imperial Units

 Accommodation                                                        Avionics & Electronic Warfare
 Crew                       Single Seat                               Radar                  AN/APG-79 AESA
 Seating           K-36DM Ejection Seat                               IRST                              IRST21
                                                                      Controls          Digital FBW (Optional)
                                                                      Databus                 MIL-STD-1553-B
 Powerplant                                                           HMDS            Gen III HMDS or JHMCS
                                                                      HUD             Sparrowhawk or LiteHUD
 Number                                2                              HDD                       20 x 8 in LAAD
 Type              Afterburning Turbofan                              Comm              AN/ARC-210(V) Gen V
 Model                        F414 EPE                                GPS/INS                            FALCN
 Manufacturer                     GEAE                                TACAN                    AN/ARN-154(V)
 Afterburning Thrust          26,300 lbs                              TACAN (Alt)              AN/ARN-153(V)
 Military Thrust              16,800 lbs                              VOR/ILS                  AN/ARN-147(V)
 Total Thrust                 52,600 lbs                              IFF                         AN/APX-126
 Air Inlets         Multi-Segment Ramp                                IFF (Alt)                 AN/APX-125(V)
 Nozzle           LO Variable Geometry                                IFF (Alt)                 AN/APX-113(V)
                                                                      Data Link                    TACR-16DL
                                                                      Data Link (Alt)    AN/URC-138 Link 16
 Dimensions                                                           MMDP                             FV-4000
                                                                      RF ECM                 AN/ALQ-211A(V)4
 Max Wingspan                37 ft 3.25 in
                                                                      RF ECM (Alt)              SPECTROLITE
 Max Length                     53 ft 5 in
                                                                      RWR (Optional?)        AN/ALQ-211A(V)4
 Max Height                  15 ft 6.25 in
                                                                      MAWS (Optional?)             AN/AAR-58
 Wing Area                      409 sq ft
                                                                      SPJ (Optional?)             AN/ALQ-214
 Wing Aspect Ratio                    3.5
                                                                      Chaff/Flare                   AN/ALE-47
 Wing LE Sweep                        42°
                                                                      Chaff/Flare (Alt)           BVP-30-26M
                                                                      Towed Decoy (Optional?)       AN/ALE-50
 Weights                                                              Towed Decoy (Optional?)       AN/ALE-55

 Empty Operating               24,960 lbs
 Max Internal Fuel             12,060 lbs                             Armament
 Max Warload                   14,980 lbs
 Takeoff Weight (TTW)          39,030 lbs                             Fixed Internal         30mm Gsh-301
 Combat Weight (TCW)           33,000 lbs                             Ammunition                    150 rds
 Max Weight (MTOW)             52,000 lbs                             Alternative Internal    20mm M61A2
                                                                      Alternative Ammunition      1,000 rds
                                                                      External Hardpoints                 7
 Loadings                                                             Typical Combat Warload      2,410 lbs
                                                                      Max External Warload       14,980 lbs
 Wing Loading-TCW       95.43 lbs/sq ft
 Thrust/Weight-TCW           1.35 to 1
                                                                                          SM-29E SUPER FULCRUM DESIGN WARLOAD
 Wing Loading-MTOW 127.14 lbs/sq ft
 Thrust/Weight-MTOW          1.01 to 1
 Limit Load Factor-TCW        +10.0 g
 Limit Load Factor-MTOW       +7.50 g                                                                                                                   Gsh- 301 30mm Cannon
                                                                                                                                                                  with 150 Rds




Performance
                                                                      STATION NUMBER            1          2           3           4           5            6            7

 Stall Speed, TTW-SL                                    120 KTAS
 Stall Speed, TLW-SL                                    102 KTAS
                                                                      AIM-9 Sidewinder

                                                                      AIM-120 AMRAAM

 Takeoff Speed, TTW-SL                                  132KTAS       R-27

 Takeoff Speed, MTOW-SL                                 152 KTAS      R-73/K-74


 Approach Speed, TLW-SL                                 123 KTAS      AGM-65 Maverick


 Approach Speed, MTOW-SL                                166 KTAS      GBU-38 JDAM/Mk.82



 Max Level Speed-SL
                                                                      GBU-32 JDAM/MK.83
                                                       1.22 Mach      GBU-31 JDAM/Mk.84

 Max Level Speed-FL360                                 2.55 Mach      GBU-12 PAVEWAY II

 Service Ceiling                                         62,000 ft    GBU-24 PAVEWAY III


 Max ROC, TCW-SL                                     83,400 ft/min    CBU-97/105 SFW


 Tactical Radius, Internal Fuel                            485 nm     AGM-84E SLAM

                                                                      AGM-88C HARM
 Max Range, Internal Fuel                                1,292 nm     AGM-154 JSOW

 Ferry Range (No Inflight Refueling)                     2,096 nm     396 USG External Tank

 Take-off Run, TTW                                           749 ft   304 USG External Tank


 Landing Run, TLW                                          1,972 ft   Rated Load @ 7.5g       990 lbs   2,500 lbs   2,500 lbs   3,000 lbs   2,500 lbs    2,500 lbs     990 lbs




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STAVATTI™                                               PROPRIETARY                                                                                               SM-29


                                                                                                                            Multi-Role Fighter
SM-29E Super Fulcrum                                                                                                         MiG-29 Upgrade

Upgrade Cost: $22.5 Million                                                                                                                   Metric Units

 Accommodation                                                                  Avionics & Electronic Warfare
 Crew                       Single Seat                                         Radar                  AN/APG-79 AESA
 Seating           K-36DM Ejection Seat                                         IRST                              IRST21
                                                                                Controls          Digital FBW (Optional)
                                                                                Databus                 MIL-STD-1553-B
 Powerplant                                                                     HMDS            Gen III HMDS or JHMCS
                                                                                HUD             Sparrowhawk or LiteHUD
 Number                                2                                        HDD                       20 x 8 in LAAD
 Type              Afterburning Turbofan                                        Comm              AN/ARC-210(V) Gen V
 Model                        F414 EPE                                          GPS/INS                            FALCN
 Manufacturer                     GEAE                                          TACAN                    AN/ARN-154(V)
 Afterburning Thrust        11,938 kgf st                                       TACAN (Alt)              AN/ARN-153(V)
 Military Thrust            16,800 kgf st                                       VOR/ILS                  AN/ARN-147(V)
 Total Thrust               23,876 kgf st                                       IFF                         AN/APX-126
 Air Inlets         Multi-Segment Ramp                                          IFF (Alt)                 AN/APX-125(V)
 Nozzle           LO Variable Geometry                                          IFF (Alt)                 AN/APX-113(V)
                                                                                Data Link                    TACR-16DL
                                                                                Data Link (Alt)    AN/URC-138 Link 16
 Dimensions                                                                     MMDP                             FV-4000
                                                                                RF ECM                 AN/ALQ-211A(V)4
 Max Wingspan                    11.36 m
                                                                                RF ECM (Alt)              SPECTROLITE
 Max Length                      16.28 m
                                                                                RWR (Optional?)        AN/ALQ-211A(V)4
 Max Height                        4.73 m
                                                                                MAWS (Optional?)             AN/AAR-58
 Wing Area                        38 sq m
                                                                                SPJ (Optional?)             AN/ALQ-214
 Wing Aspect Ratio                     3.5
                                                                                Chaff/Flare                   AN/ALE-47
 Wing LE Sweep                        42°
                                                                                Chaff/Flare (Alt)           BVP-30-26M
                                                                                Towed Decoy (Optional?)       AN/ALE-50
 Weights                                                                        Towed Decoy (Optional?)       AN/ALE-55

 Empty Operating                11,330 kg
 Max Internal Fuel               5,474 kg                                       Armament
 Max Warload                     6,800 kg
 Takeoff Weight (TTW)           17,717 kg                                       Fixed Internal         30mm Gsh-301
 Combat Weight (TCW)            14,979 kg                                       Ammunition                   150 rds
 Max Weight (MTOW)              23,604 kg                                       Alternative Internal    20mm M61A2
                                                                                Alternative Ammunition     1,000 rds
                                                                                External Hardpoints                7
 Loadings                                                                       Typical Combat Warload      1,093 kg
                                                                                Max External Warload        6,800 kg
 Wing Loading-TCW       394 kg/sq m
 Thrust/Weight-TCW          1.35 to 1
                                                                                                    SM-29E SUPER FULCRUM DESIGN WARLOAD
 Wing Loading-MTOW       621 kg/sq m
 Thrust/Weight-MTOW         1.01 to 1
 Limit Load Factor-TCW       +10.0 g
 Limit Load Factor-MTOW      +7.50 g                                                                                                                         Gsh- 301 30mm Cannon
                                                                                                                                                                       with 150 Rds




Performance
                                                                                STATION NUMBER            1         2          3          4         5            6            7

 Stall Speed, TTW-SL                                                222 km/hr
 Stall Speed, TLW-SL                                                189 km/hr
                                                                                AIM-9 Sidewinder

                                                                                AIM-120 AMRAAM

 Takeoff Speed, TTW-SL                                              244 km/hr   R-27

 Takeoff Speed, MTOW-SL                                             282 km/hr   R-73/K-74


 Approach Speed, TLW-SL                                             228 km/hr   AGM-65 Maverick


 Approach Speed, MTOW-SL                                            287 km/hr   GBU-38 JDAM/Mk.82



 Max Level Speed-SL
                                                                                GBU-32 JDAM/MK.83
                                                                   1.22 Mach    GBU-31 JDAM/Mk.84

 Max Level Speed-FL360                                             2.55 Mach    GBU-12 PAVEWAY II

 Service Ceiling                                                    18,898 m    GBU-24 PAVEWAY III


 Max ROC, TCW-SL                                                  423.7 m/sec   CBU-97/105 SFW


 Tactical Radius, Internal Fuel                                        898 km   AGM-84E SLAM

                                                                                AGM-88C HARM
 Max Range, Internal Fuel                                            2,393 km   AGM-154 JSOW

 Ferry Range (Internal & External Fuel; No Inflight Refueling)       3,882 km   396 USG External Tank

 Take-off Run, TTW                                                      228 m   304 USG External Tank


 Landing Run, TLW                                                       601 m   Rated Load @ 7.5g       449 kg   1,135 kg   1,135 kg   1,362 kg   1,135 kg    1,135 kg      449 kg




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STAVATTI™                       PROPRIETARY                              SM-29



            SM-29E SUPER FULCRUM GENERAL ARRANGEMENT




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STAVATTI™                       PROPRIETARY                              SM-29



             SM-29E SUPER FULCRUM VENTRAL ARRANGEMENT




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STAVATTI™                                    PROPRIETARY                                                   SM-29



                       SM-29E SUPER FULCRUM DESIGN WARLOAD




                                                                                  Gsh- 301 30mm Cannon
                                                                                            with 150 Rds




   STATION NUMBER              1         2          3          4         5            6            7


   AIM-9 Sidewinder

   AIM-120 AMRAAM

   R-27

   R-73/K-74

   AGM-65 Maverick

   GBU-38 JDAM/Mk.82

   GBU-32 JDAM/MK.83

   GBU-31 JDAM/Mk.84

   GBU-12 PAVEWAY II

   GBU-24 PAVEWAY III

   CBU-97/105 SFW

   AGM-84E SLAM

   AGM-88C HARM

   AGM-154 JSOW

   1,500 Ltr External Tank

   1,150 Ltr External Tank



   Rated Load @ 7.5g         449 kg   1,135 kg   1,135 kg   1,362 kg   1,135 kg    1,135 kg      449 kg




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STAVATTI™                           PROPRIETARY                              SM-29




                     Super Fulcrum Cockpit Arrangement
                          Forward Crewstation with HMD and
                       F-16 Style HOTAS Flight and Throttle Grip




                                                                     0   1   2   3   4




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STAVATTI™                                         PROPRIETARY                                          SM-29



                                                                SM-29E Super Fulcrum
Mail: 9400 Porter Road, Niagara Falls, NY 14304
Tel: 651-238-5369
Web: www.stavatti.com
                                                                     UPGRADE COST
UNIT UPGRADE COST
The upgrade cost of MiG-29 Fulcrum aircraft to the SM-29E Super Fulcrum configuration is $22.5 Million
per aircraft. Specific upgrade configurations have unit flyway costs from $16 Million to $25 Million
depending upon customer selected sensors, avionics, ECM and armament. The upgrade cost estimate is
for a GEAE F414 EPE Afterburning Turbofan powered aircraft equipped with APG-79 AESA Radar, an
Electronics and Flight Control Systems Upgrade, a Weapon Systems Upgrade to NATO Standard, a mis-
sion computer upgrade, a stores management systems upgrade, upgrade to a MIL-STD-1553-B data bus,
a Comprehensive Aircraft Structural Service Life Extension to 6,000 flight hours and the cost of Systems
Integration. These costs are ROM estimates only and reflect unit aircraft flyaway costs. Costs do not
include the costs of spares, support equipment or stores/ordnance. To obtain an exact cost, a detailed
price quote must be requested accompanied by a customer Letter of Interest (LOI) indicating the quantity
of aircraft desired and the time-frame of possible procurement. Costs require that Stavatti receives a
donated MiG-29 aircraft or airframe (flyable or non-flyable) suitable for upgrade. Stavatti may supply suit-
able MiG-29 donor airframes at an additional cost. A Unit Upgrade Costs table is provided. All Costs are
in United States Dollars($).


              SM-29E SUPER FULCRUM UNIT AIRCRAFT UPGRADE COST

    UPGRADE COST ELEMENT                                         COST/VALUE                    PERCENT

    Powerplant Upgrade to F414 EPE:                                  $8,000,000                   35.56%
    Radar Upgrade to APG-79 AESA:                                    $3,000,000                   13.33%
    Electronic Warfare Systems Upgrade:                              $4,000,000                   17.78%
    Weapon Systems Upgrade to NATO Standard:                         $1,000,000                    4.44%
    Avionics, Electronics & Flight Control Upgrade:                  $1,000,000                    4.44%
    Comprehensive Structural Service Life Extension:                 $2,500,000                   11.11%

    AIRFRAME COSTS                                                 $19,500,000                    86.67%

    Integration Costs:                                               $3,000,000                   13.33%

    UPGRADE UNIT FLYAWAY COST:                                     $22,500,000                   100.00%


PRODUCTION & AVAILABILITY

The proposed SM-29E Super Fulcrum Upgrade is available immediately and may be applied to any exist-
ing MiG-29 aircraft (including MiG-29, MiG-29A, MiG-29S, MiG-29SE/SM/SMT and MiG-29M) with deliv-
ery of upgraded aircraft within 12 to 18 months of contract signature and receipt of initial contract pay-
ment. The upgrade program will begin with the conversion of 4 initial aircraft in the first year of upgrade
operations. The upgrade process is expected to have the capability to upgrade up to 50 MiG-29 aircraft
annually at a rate of 4 per month by 2023. The SM-29E upgrade will be performed at a dedicated Stavatti
production facility, including but not limited to, Stavatti’s headquarters and production facility at 9400 Por-
ter Road, Niagara Falls, NY 14304 or at an in-country Stavatti or customer facility. Aircraft Upgrades per-
formed for the Ukrainian Air Force will be initially performed in the USA (first 4 aircraft in Niagara Falls,
NY) with subsequent aircraft upgraded at a proposed Stavatti facility in Vinnytsia, Ukraine.


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STAVATTI™                                         PROPRIETARY                                           SM-29



                                                                 SM-29F Super Fulcrum
Mail: 9400 Porter Road, Niagara Falls, NY 14304
Tel: 651-238-5369
Web: www.stavatti.com
                                                                      UPGRADE COST
UNIT UPGRADE COST
The upgrade cost of MiG-29UB Fulcrum B aircraft to the SM-29F Super Fulcrum two seat tandem con-
figuration is $25 Million per aircraft. Specific upgrade configurations have unit flyway costs from $20 Mil-
lion to $30 Million depending upon customer selected sensors, avionics, ECM and armament. The
upgrade cost estimate is for a GEAE F414 EPE Afterburning Turbofan powered aircraft equipped with
APG-79 AESA Radar, an Electronics and Flight Control Systems Upgrade, a Weapon Systems Upgrade
to NATO Standard, a mission computer upgrade, a stores management systems upgrade, upgrade to a
MIL-STD-1553-B data bus, a Comprehensive Aircraft Structural Service Life Extension to 6,000 flight
hours and the cost of Systems Integration. These costs are ROM estimates only and reflect unit aircraft
flyaway costs. Costs do not include the costs of spares, support equipment or stores/ordnance. To obtain
an exact cost, a detailed price quote must be requested accompanied by a customer Letter of Interest
(LOI) indicating the quantity of aircraft desired and the time-frame of possible procurement. Costs require
that Stavatti receives a donated MiG-29UB aircraft or airframe (flyable or non-flyable) suitable for
upgrade. Stavatti may supply suitable MiG-29UB donor airframes at an additional cost. A Unit Upgrade
Costs table is provided. All Costs are in United States Dollars($).


               SM-29F SUPER FULCRUM UNIT AIRCRAFT UPGRADE COST

    UPGRADE COST ELEMENT                                          COST/VALUE                    PERCENT

    Powerplant Upgrade to F414 EPE:                                  $8,000,000                    32.00%
    Radar Upgrade to APG-79 AESA:                                    $3,000,000                    12.00%
    Electronic Warfare Systems Upgrade:                              $4,000,000                    16.00%
    Weapon Systems Upgrade to NATO Standard:                         $1,000,000                     4.00%
    Avionics, Electronics & Flight Control Upgrade:                  $1,500,000                     6.00%
    Comprehensive Structural Service Life Extension:                 $4,000,000                    16.00%

    AIRFRAME COSTS                                                  $21,500,000                    86.00%

    Integration Costs:                                               $3,500,000                    14.00%

    UPGRADE UNIT FLYAWAY COST:                                      $25,000,000                   100.00%


PRODUCTION & AVAILABILITY

The proposed SM-29F Super Fulcrum Upgrade is available immediately and may be applied to any exist-
ing MiG-29UB Fulcrum B aircraft with delivery of upgraded aircraft within 12 to 18 months of contract sig-
nature and receipt of initial contract payment. The upgrade program will begin with the conversion of up
to 2 initial aircraft in the first year of upgrade operations, considered as Low Rate Initial Production (LRIP).
The upgrade process is expected to have the capability to upgrade up to 50 MiG-29 aircraft annually at a
rate of 4 per month by 2023. The SM-29F upgrade may be performed at a dedicated Stavatti production
facility, including but not limited to, Stavatti’s headquarters and production facility at 9400 Porter Road,
Niagara Falls, NY 14304 or at an in-country Stavatti or customer facility. Aircraft Upgrades performed for
the Ukrainian Air Force will be initially performed in the USA (first 4 aircraft in Niagara Falls, NY) with sub-
sequent aircraft upgraded at a proposed Stavatti facility in Vinnytsia, Ukraine.


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STAVATTI™                                                                                 PROPRIETARY                                                                                                         SM-29



 STAVATTI AEROSPACE LTD


 Cost Per Flight Hour (CPFH)
 DATASHEET

 SM-29E Super Fulcrum
 Aircraft Powerplant: GEAE F414 EPE

 This DATASHEET provides ROM (Rough Order Magnitude) Cost Per Flight Hour (CPFH) and Typical Aircraft Squadron Strength (TASS) projec-
 tions for the Stiletto aircraft as prepared by Stavatti Aerospace Ltd. CPFH/TASS projections assume aircraft operation within a typical USAF
 squadron environment, with all cost accounting variables derived from historical USAF operations and readiness statistics. CPFH values will dif-
 fer for non-USAF operational environments, including all service conducted in NATO/allied air forces. CPFH and TASS projections contained
 herein are ROM estimates for Long Range Planning (LRP) purposes and are not contractually binding. CPFH values are subject to change
 based upon FH/PAA, aircrew, fuel, maintenance and additional variable costs.



 SM-29E CPFH: $6,017
 AIRCRAFT: SM-29E Super Fulcrum                                                                          ANNUAL FLIGHT HOURS (FH/PAA): 350
 MISSION: Multi-Role Fighter                                                                             AIRCRAFT PER SQUADRON: 12
 AIRCREW: 1 (Single Seat)                                                                                MMH/FH: 9.2
 POWERPLANT: GEAE F414 EPE                                                                               MEAN FUEL CONSUMPTION (GPH): 556

                    SM-29E Super Fulcrum                                                                                       SM-29E Super Fulcrum
                 Cost Per Flight Hour (CPFH)                                                                    Typical Aircraft Squadron Strength (TASS)

    COST ELEMENT                                                      COST                   PERSONNEL                                                     PER                            PER
                                                                                             DESCRIPTION                                                AIRCRAFT                       SQUADRON
    Aircrew:                                                          $586
    Fuel:                                                            $2,223                  Aircrew:                                                           1                               18
    Direct Maintenance Personnel:                                     $859                   Ground Crew & Maintenance:                                         10                              121
    Consumable Materials:                                             $555                   Squadron Staff:                                                    1                               10
    Indirect Support Personnel:                                       $185                   Weapon System Security:                                            1                               15
    Spares:                                                           $952                   Base Operations Personnel:                                         1                               12
    Depot:                                                            $657
                                                                                             TOTAL PERSONNEL:                                                   14                              176
    TOTAL CPFH:                                                      $6,017
                                                                                             # OF AIRCRAFT:                                                      1                               12

                SM-29E                                                                  SM-29E                                                                          SM-29E
 Cost Per Flight Hour (CPFH) Elements                                    Cost Per Flight Hour (CPFH) Elements                                          Cost Per Flight Hour (CPFH) Comparison
          By Percentage (%)                                                            By USD ($)                                       Non-Stavatti CPFH from FMS User Rates: DoD FY 2015 Reimbursable Rates Fixed Wing



                   3%      10%                                                          $185     $586




                                          37%                                                                    $2,223
   50%                                                                  $3,023


  AIRCREW                  INDIRECT PERSONNEL                            AIRCREW                 INDIRECT PERSONNEL
  FUEL                     MAINTENANCE                                   FUEL                    MAINTENANCE
                                                                                                                                              F-16C            F/A-18E             SM-29E              F-35A
                                                                                                                                            $8,836/HR         $10,181/HR          $6,017/HR          $14,274/HR
 DEFINITIONS & NOTES:
 AIRCREW: Assumes Crew Ratio of 1.5 with FH/PAA=350. Aircrew salary assumes pay rate for USAF O-3 (Captain) with 8 years experience and inclusion of Hazardous Duty Pay, Subsistence and Housing Allotments.
 FUEL: Assumes a mean fuel consumption of 109 Gallons Per Hour (GPH) of JP-8 per mission Flight Hour (FH) at a cost of $4.00/Gallon based upon DoD bulk fuel purchase of $6.95 Billion for 44.45 Million Barrels of
 JP-8 in 2013 adjusted for inflation and rounded-up to the nearest dollar value for cost normalization purposes.
 DIRECT MAINTENANCE PERSONNEL: Assumes a Maintenance Labor Rate of $100.00/Hour.
 MMH/FH: MMH/FH definitions are for Low Rate Initial Production (LRIP) aircraft. Actual MMH/FH may decrease by up to 35% over aircraft operational service life based upon maintenance practices and crew experience.
 TASS: TASS values are based upon a hypothetical USAF ACC typical squadron structure as projected by STAVATTI. Actual TASS may vary by +/-50%, particularly when non-DoD service (allied export) squadron and
 support structures are considered. Actual TASS values are based upon service branch organizational procedures, practices and defense force culture.
 CPFH PRESENTATION: CPFH values are presented in a manner to provide greater specificity with regard to elements of aircraft operations costs in support of export sales to NATO/allied air forces which may engage in
 cost accounting and support practices which differ from those of DoD. CPFH projections include Aircrew Costs, which may be omitted/otherwise considered, in some USAF CPFH models. USAF CPFH cost factors
 including GSD, SDD and DLR are not individually identified. The projected costs often identified with GSD, SDD and DLR are included within the blanket “MAINTENANCE” category. Contractor Logistical Support (CLS)
 which may be provided under particular contract arrangements, are not included with all support assumed by dedicated air force personnel. Ground-crew (including aircraft armament crew) is included as an element of
 MAINTENANCE. All CPFH values presented herein are ROM projections which are subject to alteration and change based upon actual, empirical data to be derived during flight test and initial operations.




JAN 2022                                                                                  PROPRIETARY                                                                                                                  31
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STAVATTI™                                      PROPRIETARY                                             SM-29


MARKET

Introduced in 1977 the first MiG-29 protoype flew on 6 October 1977. Followed by the second prototype in
June 1978, MiG-29 production began in 1982 with deliveries to Soviet Frontal Aviation beginning in 1983.
Primary MiG-29 variants include the MiG-29 Fulcrum-A single seat fighter (Factory Index 9.12 for Frontal
Aviation and 9.12B for export) and the MiG-29UB two seat tandem fighter trainer (Factory Index 9.5).
Additional variants include the MiG-29 Fulcrum-C (Factory Index 9.13), MiG-29S Fulcrum-C (Factory
Index 9.13S), MiG-29SE Fulcrum-C, MiG-29SD Fulcrum-A (Factory Index 9.12), MiG-29M/MiG-33
(Factory Index 9.15), MiG-29ME, MiG-29K (Factory Index 9.31), MiG-29K-2002 (Factory Index 9.41),
MiG-29KUB (Factory Index 9.47), MIG-29M2, MiG-35 and MiG-35D.

Currently in production as the MiG-29 and MiG-35, the MiG-29 family of aircraft has realized total produc-
tion numbers in excess of 1,600 aircraft although the exact number of production aircraft is unknown.
Stavatti estimates a minimum of 1,627 MiG-29s were produced including the MiG-29/MiG-29M with an
additional 81 MiG-29K/KUB and 8 MiG-35 aircraft produced for some 1,716 total aircraft produced in the
MiG-29 family. In service with at least 31 nations including the USA which operates MiG-29s as both mili-
tary Dissimilar Air Combat Training (DACT) and civilian aircraft, it is estimated that the active MiG-29 fleet
totaled 957 aircraft in 2009 but diminished to between 829 and 791 aircraft in 2019 and 2020 respectively.

Of all active MiG-29 aircraft, an estimated 734 aircraft are in service with nations that would be permitted
to be upgraded under Stavatti SM-29E/F Super Fulcrum by the US State Department-Directorate of
Defense Trade Controls (DDTC). Of the 734 aircraft, Stavatti projects an actual 540 aircraft will be
upgraded by Stavatti, accounting for aircraft that have been previously upgraded by competing companies
or can be accessed from active duty fleet aircraft.

                                                         Stavatti envisions the upgrade of 540 MiG-29s
                                                         over a 10 to 12 year time-span. Focused on the
                                                         upgrade of up to 50 aircraft annually, Stavatti is
                                                         planning on performing aircraft upgrades at two
                                                         facilities including our proposed USARC/Bell Aero-
                                                         space facility in Niagara Falls, NY and the pro-
                                                         posed facility in Vinnytsia, Ukraine. Each facility is
                                                         projected to perform up to 25 upgrades annually
                                                         or approximately 2 per month. To facilitate
                                                         upgrades, original customer aircraft will be flown
                                                         or dismantled and shipped to the Stavatti upgrade
                                                         center in either New York or Ukraine where they
                                                         will undergo a complete inspection, structural
                                                         modification and complete upgrade to the SM-
                                                         29E/F configuration.

Valued at approximately $12.15 Billion in total sales with revenues of $1.125 Billion annually, the project-
ed upgrade of 540 MiG-29s will focus solely upon aircraft in the inventories of Air Forces that are consid-
ered friendly to the USA and NATO. Those nations include Algeria, Azerbaijan, Bangladesh, Bulgaria,
Chad, Egypt, Hungary, India, Iraq (New Iraq Air Force), Kazakhstan, Malaysia, Mongolia, Moldova,
Myanmar, Peru, Poland, Romania, Serbia, Slovakia, Ukraine and Uzbekistan. The aircraft to be upgraded
may include both active service aircraft as well as those aircraft that nations place into storage due to
lack of spare parts or inability to support the aircraft. Providing a complete spare parts and logistical sup-
ply chain solution, Stavatti can upgrade MiG-29s that are now in non-flyable storage in air forces world-
wide for direct use by the owner air force or resale to nations that require affordable military aircraft solu-
tions to add to their existing MiG-29 fleets, including Bangladesh and Mongolia. The SM-29E/F upgrade
will allow Air Forces to continue to operate their MiG-29s for an additional 15 to 30 years after which they
may be replaced with next generation Stavatti successor aircraft such as the SM-33, SM-36 or SM-39.

In full compliance with Arm Export and Control Regulations including ITAR and the US State Department
Directorate of Defense Trade Controls (DDTC) Stavatti will not upgrade any MiG-29 aircraft operated by
the Air Forces of sanctioned, prohibited or potential threat nations including but not limited to Belarus,
Cuba, Eritrea, Iran, North Korea, Russia, Sudan, Syria and Yemen.


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STAVATTI™                               PROPRIETARY                                        SM-29



                SM-29 SUPER FULCRUM MARKET FORECAST 2020-2032+

 NATION            UPGRADABLE FLEET      PROJECTED UPGRADES            PROJECTED REVENUES ($)

 Algeria                 32                      32                               $720,000,000
 Azerbaijan              13                      13                               $292,500,000
 Bangladesh               8                      8                                $180,000,000
 Bulgaria                19                      19                               $427,500,000
 Chad                     3                      3                                  $67,500,000
 Egypt                   46                      46                              $1,035,000,000
 Hungary                 20                      20                               $450,000,000
 India                   114                     67                              $1,507,500,000
 Iraq                    18                      18                               $405,000,000
 Kazakhstan              14                      14                               $315,000,000
 Malaysia                16                      16                               $360,000,000
 Mongolia                 2                      2                                  $45,000,000
 Moldova                  6                      6                                $135,000,000
 Myanmar                 31                      31                               $697,500,000
 Peru                    19                      19                               $427,500,000
 Poland                  44                      44                               $990,000,000
 Romania                 18                      18                               $405,000,000
 Serbia                  10                      7                                $157,500,000
 Slovakia                21                      21                               $472,500,000
 Ukraine                 220                     76                              $1,710,000,000
 Uzbekistan              60                      60                              $1,350,000,000

 TOTAL                   734                    540                             $12,150,000,000


  NATION             MiG-29 HISTORICAL FLEET

  Algeria                       32
  Azerbaijan                    13
  Bangladesh                     8
  Belarus                       50
  Bulgaria                      19               REGION                         UNIT SALES
  Chad                           3
  Cuba                          14               Australia & Australasia                  0
  Egypt                         46               Asia                                   211
  Eritrea                        4               Africa                                  81
  Hungary                       20               Caribbean                                0
  India                         114              Central America                          0
  Iran                          44               Europe                                 211
  Iraq                          18               Middle East                             18
  Kazakhstan                    14               North America                            0
  Malaysia                      16               South America                           19
  Mongolia                       2
  Moldova                        6               TOTAL                                  540
  Myanmar                       31
  North Korea                   40
  Peru                          19
                                                 MiG-29 MODELS                       TOTAL
  Poland                        44
  Romania                       18               & VARIANTS                           BUILT
  Russia                       600+
  Serbia                        10               MiG-29/MiG-29M                       1,627
  Slovakia                      21               MiG-29K                                 81
  Sudan                         22               MiG-35                                   8
  Syria                         84
  Ukraine                      220+              TOTAL PRODUCED                       1,716
  USA                           21
  Uzbekistan                    60
  Yemen                         14

  TOTAL                        1,627+




JAN 2022                                PROPRIETARY                                               33
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STAVATTI™                                                     PROPRIETARY                                                                     SM-29


On 19 December 2019 the Ukrainian Air Force (UAF) issued a Protocol of Intent Letter regarding the
modernization of MiG-29 Aircraft of the Air Force of the Armed Forces of Ukraine to Stavatti Aerospace
Ltd. Executed by the Commander of the Air Force of the Armed Forces of Ukraine Colonel General
Sergii Drozdov, the Protocol of Intent corresponds directly to Stavatti’s proposal to the Ukrainian Air Force
for the upgrade of up to 76 MiG-29 aircraft to the SM-29E/F Super Fulcrum configuration. With a per air-
craft unit upgrade cost of $22.5 Million, the estimated value of the corresponding potential contract
exceeds $1.7 Billion. Serving as a “Launch Customer” for the SM-29 program, following the initial
upgrade of 76 UAF MiG-29s, Stavatti may upgrade additional UAF aircraft to the SM-29 standard. Stavat-
ti projects up to 150 or more UAF MiG-29s currently in storage may ultimately be upgraded by Stavatti.
Representing Stavatti’s largest potential customer for the SM-29 upgrade, Ukraine will also serve as a
center for Stavatti MiG-29 modernization in Europe with the anticipate construction of a modification and
support center in Ukraine by Stavatti. Beginning with the upgrade of a Stavatti demonstrator aircraft that
will be presented to and reviewed by UAF representatives, Stavatti anticipates that a contract will be
issued for the upgrade of an initial 4 MiG-29 aircraft at our Niagara Falls, NY facility to be followed by the
subsequent upgrade of 72 aircraft at a new build Stavatti facility and hangar in Ukraine. One of 21 poten-
tial customers for the SM-29 upgrade program, immediately following the upgrade of the initial 4 UAF
MiG-29s Stavatti will secure 540 or more additional upgrade orders from MiG-29 operators worldwide:




                                                                    Europe 211 Upgrades                  Asia
                                                                                                     211 Upgrades
         North America
          0 Upgrades
                                                                                 Middle East 18 Upgrades
                         Central America
                          0 Upgrades                               Africa
                                                                81 Upgrades




                         South America
                          19 Upgrades




                                         Potentially Satisfying the
                                         Needs of More than 21 Countries
                                         Stavatti Projects the Upgrade of....
                                                                                                                    Australia & Australasia
                                         • Over 540 MiG-29 Aircraft to the SM-29E/F Super Fulcrum configuration          0 Upgrades




COMPARISONS

The SM-29 Super Fulcrum upgrade will result in a MiG-29 with extraordinary performance and capability.
Resolving long-standing issues with respect to standard MiG-29 sensors and avionics, powerplant thrust,
fuel economy and reliability as well as overall short range and support supply chain, the SM-29E will
enable the MiG-29 to realize its full potential as a superb tactical fighter. Able to challenge 4th and 5th
generation fighters alike and secure air dominance, the SM-29E will offer an impressive thrust-to-weight
ratio while offering a maximum level speed, maximum rate of climb and maximum AoA that is second to
few if any. With significant improvements to range and endurance the SM-29E will be a fighter that
exceeds the performance and capabilities of most fighters flying today. A viable counter to threat aircraft,
the SM-29 will deliver flight performance and maneuvering characteristics that can rival all models and
variants of the F-16, F/A-18 and F/A-35. With a comprehensive sensor, avionics and EW/ECM suite, the
SM-29E will offer systems capabilities that match or exceed that of the F-16 and F/A-18E/F. Dramatically
exceeding the performance and capabilities of all models of original and current production MiG-29 and
MiG-35 aircraft, the SM-29 upgrade will result in an ultimate performance machine and weapon system. A
comparison of projected SM-29 Super Fulcrum performance with existing combat fighters is provided:


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STAVATTI™                                               PROPRIETARY                                        SM-29



                         SM-29E SUPER FULCRUM AIRCRAFT COMPARISON

 Comparing the MiG-29E
 with Combat Aircraft
 (Images are to Scale)




 Manufacturer                               Stavatti             Boeing           Lockheed         Lockheed
 Aircraft                                   SM-29E               F/A-18E           F-16C            F/A-35A
 Year of First Flight                         2020                1995              1984             2006
 Flight Crew                                    1                    1                 1                1
 Powerplant(s)                           2 x F414-EPE       2 x F414-GE-400   1 x F110-GE-129      1 X F135
 Max Thrust (lbs)                            52,600              44,000            29,588           43,000
 Span (ft)                                    37.27               44.71             31.00            35.00
 Length (ft)                                  53.42               60.29             49.33            51.40
 Height (ft)                                  15.52               16.00             16.71            16.67
 Wing Area (sq ft)                             409                 500               300              460
 Empty Weight (lbs)                          24,960              32,082            19,880           29,300
 Max Internal Fuel (lbs)                     12,060              14,008             7,116           18,250
 Max Fuel Warload (lbs)                      14,980              17,700            19,272           17,950
 Max Warload (lbs)                           14,980              17,700            19,272           18,000
 MTOW (lbs)                                  52,000              66,000            48,000           65,500
 Stall Speed @ SL-MTOW (KTAS)                  138                 132               189              179
 Max Speed @ Altitude (MACH)                  2.55                 1.80              2.00             1.60
 Max Climb Rate @ SL (ft/min)                83,393              44,882            50,000           60,000
 Service Ceiling (ft)                        62,000              50,000            50,000           60,000
 Tactical Radius-Internal Fuel                 485                 474               478              584
 Max Range-Internal Fuel                     1,292                1,275             1,010            1,200
 Ferry Range-With External Fuel              2,096                1,660             2,415            2,000
 Wing Loading (lbs/sq ft)                    127.14                132               160              142
 Thrust to Weight Ratio                       1.01                 0.67             0.62              0.66
 Load Limits (g)                              7.52                 7.50             9.00              9.00
 Takeoff Distance; 50 ft Obstacle (ft)        1,019               2,500             1,500             748
 Landing Distance; 50 ft Obstacle (ft)        2,682               1,740             3,000             952
 Fuel to Cruise 1 nm (lbs)                    9.33                10.99             7.05             15.21

 Comparing the MiG-29E
 with Combat Aircraft
 (Images are to Scale)




 Manufacturer                               Stavatti              MiG               MiG                MiG
 Aircraft                                   SM-29E              MiG-35           MiG-29M        MiG-29 Fulcrum A
 Year of First Flight                         2020               2007              1989               1977
 Flight Crew                                    1                   1                 1                 1
 Powerplant(s)                           2 x F414-EPE       2 x RD-33MKB        2 x RD-33K         2 x RD-33
 Max Thrust (lbs)                            52,600             39,700            38,800             36,600
 Span (ft)                                    37.27              39.33             37.27              37.27
 Length (ft)                                  53.42              56.98             53.42              53.42
 Height (ft)                                  15.52              17.00             15.52              15.52
 Wing Area (sq ft)                             409                452               409                409
 Empty Weight (lbs)                          24,960             24,030            29,498             24,030
 Max Internal Fuel (lbs)                     12,060             11,551            11,062              7,725
 Max Fuel Warload (lbs)                      14,980             12,125             8,824              6,615
 Max Warload (lbs)                           14,980             12,125             9,920              6,615
 MTOW (lbs)                                  52,000             54,013            49,384             40,785
 Stall Speed @ SL-MTOW (KTAS)                  138                134               135                122
 Max Speed @ Altitude (MACH)                  2.55                2.30              2.30              2.30
 Max Climb Rate @ SL (ft/min)                83,393             65,000            65,000             64,950
 Service Ceiling (ft)                        62,000             59,050            59,050             55,775
 Tactical Radius-Internal Fuel                 485                459               329                304
 Max Range-Internal Fuel                     1,292               1,128             1,080               810
 Ferry Range-With External Fuel              2,096               1,889             1,737             1,133
 Wing Loading (lbs/sq ft)                    127.14             119.47            120.74             99.72
 Thrust to Weight Ratio                       1.01                0.74              0.79              0.90
 Load Limits (g)                              7.52                8.00              9.00              9.00
 Takeoff Distance; 50 ft Obstacle (ft)        1,019              1,398             1,400              1,113
 Landing Distance; 50 ft Obstacle (ft)        2,682              2,427             2,679             2,679
 Fuel to Cruise 1 nm (lbs)                    9.33               10.24             10.24              9.54




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Maximum Warload (lbs)                                                                                      Thrust to Weight Ratio
With Partial Internal Fuel                                                                                 MTOW @ Maximum Power




                                                                                                  14,980
   19,272




                                                                            18,000


                                                                                       20,000
                24,500




                                                                  18,000
                                           17,700


                                                      12,125
                               14,500




                                                                                                                                                                                                      1.01
                                                                                                             0.62




                                                                                                                                                                                 0.66


                                                                                                                                                                                           0.84
                                                                                                                         0.72




                                                                                                                                                             0.74


                                                                                                                                                                        0.64
                                                                                                                                                 0.67
                                                                                                                                      0.75
 F-16C         F-15E          F-14D      F/A-18E     MiG-35     F/A-35C F/A-35A       F-22A     SM-29E     F-16C       F-15E         F-14D     F/A-18E     MiG-35     F/A-35C F/A-35A     F-22A     SM-29E




Maximum Level Speed (Mach Number)                                                                          Maximum Climb Rate (ft/min)
Aircraft in Clean Configuration @ Altitude                                                                 Typical Combat Weight @ Sea Level, Standard Day




                                                                                                                                                                                                      83,393
                                                                                                             50,000




                                                                                                                                                                                 60,000


                                                                                                                                                                                           60,000
                                                                                                                         50,000




                                                                                                                                                                        60,000
                                                                                                                                                 44,882


                                                                                                                                                             64,950
                                                                                                                                      45,000
                                                                                                  2.55
                                                                                       2.25
                                           1.8+
                               2.34
   2.0




                                                                            1.6
                2.5




                                                                  1.6
                                                      2.3




 F-16C        F-15E          F-14D      F/A-18E     MiG-35     F/A-35C F/A-35A       F-22A      SM-29E     F-16C       F-15E         F-14D     F/A-18E     MiG-35     F/A-35C F/A-35A     F-22A     SM-29E



Tactical Radius (nm)                                                                                       Ferry Range (nm)
With Maximum Internal Fuel                                                                                 With Maximum Internal + Maximum External Fuel




                                                                                                                                                                                                     2,096
                                                                                                            2,415




                                                                                                                                                                                 2,000


                                                                                                                                                                                           2,000
                                                                                                                         3,100




                                                                                                                                                                        2,000
                                                                                                                                                 1,660


                                                                                                                                                            1,889
                                                                                                                                      1,735
                                                                                                 485
  478




                                                                           584


                                                                                      410
               685




                                                                 615
                                          474


                                                     459
                              531




F-16C        F-15E           F-14D      F/A-18E     MiG-35     F/A-35C F/A-35A       F-22A      SM-29E     F-16C       F-15E         F-14D     F/A-18E    MiG-35      F/A-35C F/A-35A     F-22A     SM-29E



Stall Speed (KTAS)                                                                                         Relative Fuel Burn Ratio
MTOW in Landing Configuration @ Sea Level                                                                  Fuel (lbs) to move 1,000 lbs of Warload 1 nm




                                                                                                                                                                                                     0.62
                                                                                                             0.37




                                                                                                                                                                                 0.85


                                                                                                                                                                                           0.66
                                                                                                                                                            0.85
                                                                                                                         0.45




                                                                                                                                                                        1.15
                                                                                                                                                 0.62
                                                                                                                                      0.64
                                                                                                 138
  189




                                                                           179


                                                                                      154
               191




                                                                 145
                                          132


                                                     134
                              124




F-16C        F-15E           F-14D      F/A-18E     MiG-35     F/A-35C F/A-35A       F-22A      SM-29E     F-16C       F-15E         F-14D     F/A-18E    MiG-35      F/A-35C F/A-35A     F-22A     SM-29E




Takeoff Distance (ft)                                                                                      Landing Distance (ft)
BFL Over 50 ft Obstacle                                                                                    BFL Over 50 ft Obstacle
                                                                                                                                                                                                     2,682
                                                                                                 1,019




                                                                                                             3,000


                                                                                                                         1,476




                                                                                                                                                 1,740


                                                                                                                                                            2,427
  1,500




                                                                                                                                      2,400
                                                                                      1,574
                                          2,500


                                                     1,398
                              2,500




                                                                                                                                                                                 952
                                                                                                                                                                        656
                                                                           748
                                                                 515




                                                                                                                                                                                           656
               984




F-16C        F-15E           F-14D      F/A-18E     MiG-35     F/A-35C F/A-35A       F-22A      SM-29E     F-16C       F-15E         F-14D     F/A-18E    MiG-35      F/A-35C F/A-35A     F-22A     SM-29E




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STAVATTI™                                      PROPRIETARY                                             SM-29


MARKETING

The SM-29E/F Super Fulcrum will be marketed using a comprehensive, pro-active approach which com-
bines a mass media military aircraft marketing with traditional military aircraft and defense product mar-
keting techniques. This active approach to marketing will deliver the exposure necessary to establish a
firm foothold on the market. As a military aircraft, the SM-29E is marketed to a very specific audience: Air
Forces and Air Defense Arms that currently operate or have in their inventories MiG-29 aircraft. Catering
to the needs of US Allies, the SM-29 upgrade will be suitable for at least 21 owner/operator nations.
These nations have existing fleets of MiG-29 aircraft that may need upgrades to satisfy requirements for
national defense as well as to satisfy any coalition obligations. This need to have effective air defense
capability over the next 15 to 20 years as well as requirements to expand and add new capabilities is the
driving factor behind customer upgrade of existing MiG-29s to the SM-29E Super Fulcrum standard.

The first step in marketing is direct customer outreach which begins with an initial survey of needs and
requirements. This survey is conducted through direct engagement with the potential end-user as well as
a survey of available public domain information. The most overt form way in which customer needs are
surveyed is the review and study of outstanding end-user Requests for Information (RFIs) and Requests
For Proposals (RFPs). As a Defense Contractor much of the business of defense work is preparing and
submitting a response to RFIs and RFPs. These two documents state quite plainly the needs of specific
armed forces and what is required to both respond to and potentially satisfy these needs. In so doing, the
principal way of “winning a contract” is to ensure that that Stavatti has the capability, capacity and know-
how to satisfy the requirements of an RFI or RFP. In so doing, an essential part of marketing is ensuring
that Stavatti is adequately positioned in terms of facilities, machinery and equipment, personnel, qualifi-
cations and certifications to win a contract. This requires a direct initial investment to ensure that Stavatti
is adequately equipped and capitalized to be considered a viable candidate to satisfy contracts.

With needs known and capabilities in-place, a core element of marketing is having a sample product to
market. For an aircraft manufacturer, that sample product is either a demo aircraft (Demonstrator) or a
prototype. Prior to creating a prototype Stavatti relies upon marketing literature, marketing videos, aircraft
simulations, models and even full size mock-ups of the Aircraft of its cockpit to introduce the customer to
the product. With these tools, the intent is to secure either an order from a customer (in the form of Pur-
chase Order, Letter of Intent or Letter of Interest), Research and Development (R&D) funding from the
customer or R&D funding in the form of an equity and/or debt investment from a qualified accredited
investor. With an order or R&D funding secured, Stavatti will construct one or more prototype aircraft
(Prototype Air Vehicles or PAVs). These prototypes will be representative of products that will enter pro-
duction. Once a prototype rolls out of the development hanger, a major marketing effort is accelerated as
the revelation of the prototype is a gala aerospace industry media event. From the moment of prototype
roll-out, the marketing department will focus upon the pop-culture media exposure as well as the direct
demonstration of the aircraft and its capabilities to potential customers at airshows and nation specific
military airshows around the world. Having a prototype aircraft “go on tour” to provide demonstrations
worldwide is essential. Once the SM-29 upgrade program enters production active marketing gains
momentum to ensure that contracts are both awarded to and satisfied by Stavatti. In so doing, Stavatti
must exhibit our prototype and our factory demo aircraft at critical airshows and tradeshows including the
Paris Airshow, Farnborough, the UAE Air Show, the Air Force Technology Expo, EAA Oshkosh Air Adven-
ture, NBAA and other air and tradeshows worldwide.

Upon initiating the full rate upgrade and production of the SM-29E, direct and public exposure to custom-
ers is key. Stavatti must engage in multi-media advertising including online (website, facebook, twitter,
linked-in, YouTube, DTIC, etc.), in print ads (Aviation Week & Space Technology, Air International, Jane’s,
Air Force Magazine, etc.) in newsprint (Wall Street Journal) and in appropriate Air Show and Defense
Trade-show advertising. Stavatti must achieve product placement within genre specific television media
as well. To this end Stavatti has already entered into a Shopping Agreement with Ample Entertainment
(the creators/producers of “Coopers Treasure” on the Discovery Channel) to develop and produce a new
cable television series focused upon the SM-29 as a DACT aircraft tentatively titled “Stavatti Top Gun.”
This TV series will provide mass media exposure for Stavatti and our SM-29E program through a recog-
nized cable television network. Concentrating also upon direct marketing such as lobbying and having a
dedicated in-person, in-country marketing team for every potential customer, Stavatti has a clearly
defined marketing and advertising strategy to ensure SM-29E Super Fulcrum program success.


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STAVATTI™                                       PROPRIETARY                                               SM-29


MAINTENANCE AND CONTRACTOR LOGISTICAL SUPPORT

Organizational Level Contractor Logistical Support (CLS) for new Stavatti aircraft can be provided 90
days in advance of first aircraft delivery by either a Stavatti provided team, or a team organized, estab-
lished, contracted and managed by a Stavatti Industry partner, including, but not limited to, organizations
such as DynCorp International. Stavatti will provide on-site 24 to 60 month CLS for the aircraft procured,
with support transitioning to Organic or continued contracted maintenance after 24 months.

Stavatti will be best equipped to provide leading, specialized, warrantied maintenance services for all
Stavatti produced products. Stavatti will provide complete maintenance solutions including:

• Service Inspections and Basic Maintenance                • Powerplant and Flight Controls Upgrades
• 25-Hour, 100-Hour and Annual Inspections                 • Aircraft Rebuild, Reconstruction and Restoration
• Field and Battle Damage Maintenance
• Major Overhaul and Depot Level Maintenance
• Interior/Cockpit Refurbishing
• Avionics, Sensors, Weapon System Upgrades


Concurrent to the establishment of primary aerospace vehicle assembly facilities, Stavatti will establish a
global network of Stavatti Service Locations and Stavatti Technical Service Locations that are owned and
operated by Stavatti. Stavatti Primary Service Centers (PSCs) will include Stavatti aerospace vehicle and
systems assembly facilities. These facilities will not only be home to all new Stavatti aircraft, but also ser-
vice, completion, warranty repair, spare parts production and warehousing/distribution. PSCs will conduct
basic service and depot level support, as well as aircraft RCS measurement and calibration, aircraft battle
damage repair and ground-up restoration, aircraft paint and trim, owner/operator/maintainer education
and training, and internal systems upgrades and modifications. Stavatti projects establishing two PSCs in
the United States and one PSC in Europe, as well as other locations worldwide.

Stavatti Service Locations (SLs) will serve as complete service and warranty repair centers capable of
performing basic service and depot level support. SLs are suitable for battle damage repair, owner/
operator/maintainer education and training, aircraft paint and trim and internal systems upgrades and
modifications. Stavatti SLs will serve as spare parts warehousing and distribution centers. Stavatti proj-
ects the establishment of three SLs on the North American Continent as well as seven or more facilities
worldwide with locations in Asia, Africa, South America, the Middle East, the Pacific Rim and Europe.

Stavatti Technical Service Locations (TSLs) will provide basic system servicing, major overhaul, battle
damage repair and retail spare parts supply. Serving as front-line maintenance facilities, Stavatti TSLs will
provide an equipped, knowledgeable service staff at no less than 20 locations worldwide to provide
immediate systems support during wartime conditions. To further support customers, Stavatti will produce
all necessary spare parts and components to assure complete aircraft supportability. Once an aircraft
enters production, Stavatti will establish a stores base equal to 1/5th of the current, in-service aircraft fleet.
Spares will be available for direct purchase by all Stavatti aircraft owner/operators for direct purchase or
purchase through a customer selected service center/maintenance facility.

Stavatti is currently developing supportability and sustainment plans for NATO/Allied foreign end-users of
the Machete series which center upon a Contractor Logistical Support (CLS) whereby Stavatti and
Stavatti designated ITMs provide total system CLS on a contracted basis.

Stavatti has arrived at the realization that a number of foreign end-users will not be acquiring Stavatti air-
craft as direct procurements but may in fact choose to lease aircraft. Under a leasing structure, Stavatti
and Stavatti ITMS, including Dyncorp International, SDS International and L-3 Link Training would provide
all sustainment and systems supportability.

In the event the UAF desires an organic support and sustainability program, Stavatti will provide airframe
integrated systems maintenance training while relevant primary ITMs will provide maintenance training for
their particular airframe subsystem (GEAE providing powerplant maintenance support, etc.).


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GROUND BASED TRAINING SYSTEM

Stavatti considers Ground Based Training Systems (GBTS) in the form of ground based Aircrew Training
Systems and Flight Simulators to be an implicit, fundamental element that is inherently incorporated into
every Stavatti aircraft program. For the SM-29E Super Fulcrum, Stavatti provides a comprehensive GBTS
solution provided in partnership with dedicated Stavatti Industry Team Members (ITMS).

Providing a very comprehensive, high fidelity GBTS solution for customers worldwide, Stavatti has
teamed with Avia Training and Simulators of Kremenchuk, Ukraine. Founded in 1998, Avia (Scientific and
Production Association Avia, Ltd.) develops, manufacturers, sells and supports aircraft simulators and
training complexes. Providing the premier simulators and training complexes for Mi-8MTV, Mi-171, Mi-172
helicopters, Avia has specialized in solutions for basic training, type conversion and advanced training of
flight personnel and ground engineers of all specialties. Avia will be developing, manufacturing and sup-
porting the Full Flight Simulators (FFS) for the SM-29E Super Fulcrum.

The SM-29E FFS is an integrated system that
incorporates a standard SM-29E cockpit with real
controls equipped with all aircraft controls, instru-
ments and displays, cockpit equipment imitators,
an 8 channel visualization system, a sound envi-
ronment simulator, a digital computer modeling
complex, a 6 degree of freedom electromechani-
cal motion system, instructor workplace with inte-
grated debriefing system and the ventilation and
air-conditioning system. The FSS will train aircraft
flight crews in the full scope of their functional
duties in piloting the aircraft. The FSS provides a
highly accurate simulation of real flight in real time.

Stavatti recommends the acquisition of a minimum of one FSS for each squadron of 12 SM-29E aircraft.
For the proposed procurement of 76 SM-29E aircraft, Stavatti has included the acquisition of four SM-
29E FSS as an essential element of the comprehensive aircraft procurement package. Supporting the
FSS, Stavatti will also provide one Desktop/Laptop Computer Aircraft Orientation Trainer (AOT) with each
aircraft procured. The AOT comes complete with a suitable laptop or desktop workstation computer, sim-
ulator flight grip, throttle grip, rudder pedals and a high fidelity desktop flight simulator model of the SM-
29E for use with a Stavatti contracted FAA Certified X-Plane desktop flight simulator software by Laminar
Research. Developed by Laminar Research in cooperation with Stavatti, Avia and SDS International, the
AOT is a low cost GBTS solution for general aircraft orientation and to reduce training costs in between
FFS simulation and real aircraft flight.

For maintenance and support crew training, Stavatti will also provide a SM-29E Virtual Maintenance
Trainer (VMT) as part of a basic training classroom that includes a Computer Based Training System
(CBTS) as well as physical, hands-on training aids including aircraft functional systems training boards,
aircraft structure training stands and mockups of primary aircraft structures, systems and assemblies.
Advanced Debrief Solution

As an element of the integrated training solution, including GBTS, Stavatti has entered into a teaming
agreement with CUBIC Defense Applications, Inc. to provide a training system for the SM-29E. The
CUBIC airborne Line, Replaceable Unit (LRU), network connectivity, and Advanced Debrief solutions will
be integrated into the SM-29E. The Advanced Debrief Solution monitoring and debriefing software appli-
cation builds on our legacy as the inventor of Air Combat Maneuvering Instrumentation (ACMI). Advanced
Debrief Solution was developed through innovation aimed at advanced parametric assessment and visu-
alization techniques, plus the need for easily tailorable and integrated data merging and reporting. Provid-
ing connectivity between the ground and the airborne aircraft. The airborne system provides a Software-
Defined Radio (SDR) running the 5G ATW for basic operations. A comprehensive summary of the CUBIC
offering for the SM-29E solution is available upon request. The Advanced Debrief Solution is available as
a cost plus optional training component for the SM-29E Super Fulcrum.


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STAVATTI AEROSPACE

Stavatti Aerospace Ltd is an aircraft manufacturer focused on the design and production of military, com-
mercial and general aviation aircraft. Stavatti was formed with a vision to change the way aircraft are
designed and built in order to improve efficiency, quality, safety and performance while reducing the cost
of ownership and operation. Benefitting from designs, methods and approaches that are not evolutionary,
but are instead revolutionary, Stavatti will produce aerospace vehicles that offer greater capabilities,
greater efficiencies and significantly greater levels of affordability. Introducing stunning new aerospace
vehicles, Stavatti is about producing families of advanced aircraft ranging from Sportplanes and Military
Trainers, to Air Superiority Fighters and Commercial Airliners. Stavatti aircraft will be produced in piloted,
remotely piloted or autonomous configurations. Creating new aerospace vehicles as either wholly owned
programs or as joint venture projects with Strategic Partners, aircraft now under development include:

            SM-31 Stiletto                      SM-27 Machete                        SM-28 Machete
   Supersonic Trainer & Light Fighter      Turboprop Close Air Support          Turbofan Close Air Support
    Mach 1.5 with 2,000 nm Range          400 KTAS with 870 nm Radius          Mach 0.85 with 670 nm Radius
       Up to 7,100 lb Warload                   8,000 lb Warload                    12,000 lb Warload
          2022 First Flight                     2022 First Flight                    2023 First Flight




       SM-47 Super Machete                       SM-36 Stalma                         SM-39 Razor
         Air Defense Fighter                   Multi-Role Fighter                Air Dominance Fighter
     Mach 2.2 with 625 nm Radius          Mach 2.6 with 900 nm Radius         Mach 4.0 with 1,300 nm Radius
         12,000 lb Warload                    20,000 lb Warload                    22,000 lb Warload
           2024 First Flight                    2025 First Flight                    2028 First Flight




From the SM-66 which first flew in its original incarnation in 1966, to the SM-39 Razor Air Dominance
Fighter which is planned to fly in 2028, Stavatti has a vision that spans multiple products over many
decades. With a vision that spans multiple products over many decades, these aircraft will be rapidly
developed and produced over the next 25 years in accordance with a comprehensive business plan to
expeditiously grow Stavatti into a major manufacturer of aerospace vehicles for civil, commercial and mili-
tary customers. For each Stavatti aircraft project there is detailed technical information, including
SolidWorks engineering CAD files of airframe structures with FEA analysis, CFD results of the aircraft’s
aerodynamic configuration, stability and control analysis, in-depth projections of the aircraft’s performance
and flight characteristics and detailed, production oriented business plans.

Employing a lean development and manufacturing approach, Stavatti will pioneer, qualify and field new
breakthrough technologies including advanced scandium and aluminum lithium alloys, new foam metal
sandwich structures, new reciprocating and gas turbine powerplants, novel high temperature composites,
high temperature metal ceramics, remarkable crew display, interface and control technologies, advanced
radar and sensor technologies as well as new avionics and airborne computers. A unique technology
enterprise, Stavatti develops aircraft of novel configuration and integrates their propriety airframes with
game-changing technologies to achieve capabilities that will become a new standard for excellence.


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BUSINESS STRUCTURE & ORGANIZATION

Stavatti Aerospace Ltd was founded in Eagan, Minnesota in April 2014 and was reorganized as a Wyo-
ming C Corporation in December 2019. The purpose of Stavatti Aerospace is to design and manufacture
of next generation aircraft and aerospace vehicles. Including military aerospace vehicles, commercial
aerospace vehicles and general aviation aircraft, Stavatti focuses upon the creation of new piloted and
unpiloted transportation and defense systems. Concentrating primarily upon new design products created
as Stavatti initiatives, Stavatti Aerospace can also enhance and modify non-Stavatti aircraft, as well as
produce non-Stavatti designed aircraft as a type certificate holder or a licensee. Stavatti Aerospace also
focuses upon the design of launch vehicles, missile systems, ordnance, aerospace vehicle powerplants
and can provide aerospace design and production related services.

Stavatti Aerospace is organized into seven distinct divisions including Stavatti Military Aerospace
(focused on the design and production of military aerospace vehicles), Stavatti General Aviation (focused
on the design and production of general aviation sport aircraft for private pilots), Stavatti Commercial
Aerospace (focused on the design of commercial airliners and aerospace vehicles for civil transport),
Stavatti Missiles and Ordnance (focused on the design and production of aircraft missiles and ordnance
as well as launch vehicles), Stavatti Interplanetary (focused on the design and production of interplane-
tary aerospace vehicles and spacecraft), Stavatti Interstellar (focused on the design and production of
interstellar aerospace vehicles and spacecraft and Stavatti Aerospace Systems (focused upon the design
and manufacture of aircraft systems including avionics, sensors, actuators, landing gear, electromechani-
cal systems, ejection seats, aircraft armament, etc.).

Stavatti Aerospace is owned by shareholders who include individual equity owners as well as strategic
partners. The shareholder elect and appoint a board of directors which in-turn elects a President, CEO
and all supporting executive staff, including Senior Vice Presidents, CFOs and CIOs. Daily implementa-
tion of Stavatti business activities is managed by Vice Presidents who direct all non-executive personnel.
Stavatti Aerospace builds upon the legacy of Stavatti Corporation from which it inherited a corporate cul-
ture, leadership and intellectual property associated with the SM-26, SM-27 and SM-36 aircraft.

Stavatti Aerospace builds upon the legacy of Stavatti Corporation and is a member of the Stavatti Family
of Companies that includes Stavatti Industries Ltd, Stavatti Corporation, Stavatti Europe, Stavatti Ukraine
and Stavatti Korea. Stavatti Corporation is the original Stavatti C Corporation founded in Minnesota in
July of 1994. The original design company responsible for the engineering of the Stalma, Sleek, Machete
and Aviara families of aircraft, Stavatti Corporation was also engaged in the design of gas dynamic direct-
ed energy weapons and radioisotope powered gas turbine engines. Stavatti Corporation was also the
parent company to the Stavatti Reconnaissance Systems division and all other pre-Stavatti Aerospace
Ltd divisions and subsidiaries. Today Stavatti Corporation serves primarily as a technology management
company responsible for licensing the development and future production of potential product lines to
Stavatti Aerospace Ltd. and other Stavatti business enterprises.

Stavatti Industries Ltd. (Stavatti Industries) is a design and manufacturing company modeled after the
Heavy Industrial Manufacturing concerns of Japan and South Korea. Embracing the model pioneered by
Mitsubishi, Fuji, Samsung, Hyundai and Kawasaki Heavy Industries, Stavatti Industries, Ltd was formed as
a company responsible for the design, development, production and support of future “Heavy Industrial
Products” including powerplants, sensors, avionics, armament systems, cybernetics, naval vessels, electric
boats, rail systems, medical systems and devices, automotive solutions, energy creation, desalination sys-
tems and large civil works projects. Stavatti Industries is also home to Stavatti’s visiual entertainment divi-
sion, Stavatti Pictures. A mechanism for reindustrialization, Stavatti Industries will provide affordable, clean,
environmentally friendly solutions in satisfaction of global demands for a diverse array of high performance
products. Stavatti Industries is structured to enable the expansion of Stavatti into the design and manufac-
ture of products above and beyond aerospace vehicles while providing critical key technologies to those
vehicles in-house. A Wyoming C Corporation founded in 2016, Stavatti Industries Ltd is the successor
company to Stavatti Heavy Industries Ltd established in February 2005. In May of 2016 Stavatti Industries
established a Strategic Partnership with Hybrid Technology Inc. of San Bernardino, CA with an emphasis
upon the production of world leading proprietary cementing heads and related oil tools. In March of 2018
Stavatti Industries received a Certificate of Qualification from the State of California to operate as a For-
eign Corporation in California, establishing principal operations in San Bernardino, CA. Addressing the

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field of advanced Materials, Stavatti Industries focuses upon the development and direct or licensed pro-
duction of advanced materials including Titanium Diboride Cermets, Scandium Aluminum alloys and even
next generation battery technology. In 2017 Stavatti Industries entered the mining industry, first with a part-
nership to commercially develop the placer gold reserves of Cape Yakataga and then with an opportunity
to explore and develop a potential Lithium-Borate mine in Serbia. In so doing, Stavatti Industries is the
diversified industrial and commercial product manufacturing arm of Stavatti capable of developing and pro-
ducing a wide array of products and providing significant services.

Stavatti Europe is a design and manufacturing company headquartered in Belgrade, Serbia to serve as
Stavatti’s European manufacturing and production company. Incorporated on 21 April 2017, Stavati
Europe is an integrated enterprise that will focus upon the design and production of aircraft, aerospace
vehicles and industrial products including oil tools, gas turbines, defense systems and other products.
Stavatti Europe will establish a design and manufacturing presence in both Belgrade as well as conduct
production operations at the Pancevo Aircraft Production Center.

Stavatti Ukraine is a design, manufacturing and defense services company headquartered in Vinnytsia,
Ukraine. Founded in November 2017, Stavatti Ukraine is focused upon coordinating the development and
production of the SM-31 Stiletto to serve as both a supersonic trainer to replace Ukrainian Air Force L-39s
as well as a fifth generation, low observable, supersonic light fighter. Stavatti Ukraine anticipates assem-
bling a variety of aircraft in Ukraine including members of the Machete, Stalma and Razor families specifi-
cally for Ukraine. Expanding into diversified industries, Stavatti also sees the possibility of developing and
producing advanced missiles, rockets, high performance metal alloys including Scandium Aluminium,
Naval Vessel Manufacturing as well as the provision of spares and support equipment for existing military
aircraft to the Ukrainian MoD as a primary business focus of Stavatti Ukraine

To enable the greater participation of strategic partners in specific Stavatti projects, many new Stavatti
products will be produced by stand-alone, joint venture companies owned in part by Stavatti Aerospace
and by strategic partners/investors. The SM-29 aircraft line, for instance, may be produced by a company
known as “Stavatti Super Fulcrum Ltd.” which is jointly owned by Stavatti Aerospace Ltd. and the strategic
partners/investors responsible for providing the capital investment necessary to complete SM-29 program
development, qualification and the initiation of Low Rate Initial Production (LRIP).

Using this model strategic partners may invest directly into specific projects that they have a direct interest
in while Stavatti itself is free to engage in a wide variety of diversified business initiatives. In so doing,
Stavatti is a diversified enterprise that will benefit from a high degree of stability even in times of industry or
market instability. In so doing, Stavatti has a mechanism to incorporate businesses external to Stavatti into
the Stavatti family of companies through business acquisition. This in turn results in Stavatti being concep-
tually similar to General Dynamics. Following the General Dynamics (GD) model, Stavatti itself is a tech-
nology holding company and future conglomerate focused primarily upon aerospace defense. Stavatti
does have specific products which it has developed and will produce in our own facilities (similar to how
the F-111 and F-16 were developed and initially produced by GD). Stavatti will also acquire existing com-
panies that have a direct correspondence to our business focus (much as how General Dynamics acquired
Convair, Chrysler Defense, Gulfstream Aerospace, General Electric Armament Systems, Control Data,
Veridian Corporation and many other companies).

STAVATTI SUPER FULCRUM LTD

Developed by the Military Aerospace Division of Stavatti Aerospace Ltd the SM-29 upgrade program may
be conducted by Stavatti Super Fulcrum Ltd: a new C corporation that will be organized specifically to pro-
vide the SM-29 Super Fulcrum upgrade as developed by Stavatti Aerospace under the Stavatti brand and
trademark. The mission of Stavatti Super Fulcrum Ltd will be to develop and provide the SM-29 upgrade,
including derivatives and variants to customers worldwide. Stavatti Super Fulcrum Ltd will be licensed by
Stavatti Aerospace to provide the upgrade to allied customers worldwide from manufacturing and support
centers both in the USA and worldwide. Stavatti Super Fulcrum Ltd will be owned in-part by Stavatti Aero-
space Ltd and Investors/Strategic Partners who provide direct equity funding or debt financing for new
Stavatti military aircraft development and production launch. Stavatti Stavatti Super Fulcrum Ltd may real-
ize total upgrade sales of 540 or more over program life-span.


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STAVATTI COMPANIES


                                         STAVATTI AEROSPACE LTD.
                                              (Est 2014/2019)




           STAVATTI INDUSTRIES LTD.                                  STAVATTI CORPORATION
                  (Est 2016)                                               (Est 1994)




                                           STAVATTI™


              STAVATTI EUROPE                                            STAVATTI UKRAINE
                 (Est 2017)                                                  (Est 2017




STAVATTI LEADERSHIP


                                            SHAREHOLDERS




                                         BOARD OF DIRECTORS




                         PRESIDENT                                 CEO




                                      EXECUTIVE VICE PRESIDENTS




                      CFO                                                 CTO




                  SECRETARY                       COO              Chief Engineer




                       CIO                                                 FSO




                   ADVISERS                VICE PRESIDENTS               AGENTS




                                      Non-executive personnel




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STAVATTI AEROSPACE ORGANIZATION


                                     STAVATTI AEROSPACE LTD




             STAVATTI MILITARY AEROSPACE                    STAVATTI GENERAL AVIATION




            STAVATTI Commercial AEROSPACE              STAVATTI MISSILES & ORDNANCE




               STAVATTI INTERPLANETARY                       STAVATTI INTERSTELLAR




                                 STAVATTI AEROSPACE SYSTEMS




STAVATTI INDUSTRIES ORGANIZATION


                                     STAVATTI INDUSTRIES LTD




                 STAVATTI NEOTHRUST                     STAVATTI SENSORS & AVIONICS




                   STAVATTI ENERGY                     STAVATTI Advanced MATERIALS




               STAVATTI NAVAL SYSTEMS                         STAVATTI AUTOMOTIVE




                   STAVATTI MINING                             STAVATTI ARMAMENT




                  STAVATTI PICTURES                           STAVATTI CYBERNETICS




                                         STAVATTI MEDICAL




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LEADERSHIP TEAM & EMPLOYMENT

Stavatti Aerospace is led by Chairman and CEO, Christopher R. Beskar. Mr. Beskar is Stavatti’s Strate-
gic Leader and Chief Designer. Mr. Beskar founded Stavatti Aerospace Ltd in 2014. Supporting Mr.
Beskar, Stavatti is guided by a qualified management team and board of directors including:




     Chris Beskar           Bill McEwen          Jeffrey A. Gongoll       John R. Simon          Richard E. Guild
    Chairman & CEO               COO                  Secretary         CEO Stavatti Niagara,         Director of
                                                                         CSD & A Officer &       Military Aerospace
                                                                             Director




  Robert C. Sugarman       David Wilcock       Norman K Edwards          Dimitriy Giebeler       Brian D Colvin
    Chief Scientist &        Director of            Director               Executive VP          Vice President &
     Director of HF     Advanced Technology        of Finance                                    Director of UAS




    Adarsh Deepak          Stuart E. Cart        Wendell Maddox             Jeff Peer            Michael J. Green
      Director of            Director of          Vice President           Director of               Director of
     Aerosciences            Innovation           DoD Marketing           Flight Testing        Next Gen Aerospace




      Rich Knoll          Wyman Howard         Mikhailo Satanivskyi     Vlad Boryshpolov         Sergiy Tsikhotsky
      Consultant               Director of       Director Of Aviation       Director of             Director Of
                          Performance-Leader     For Stavatti Ukraine     Aviation Safety         Stavatti Ukraine
                             Development


Stavatti has an established organization and corporate culture. Stavatti’s leadership approach emphasiz-
es growth and individual achievement. Concentrating upon a leadership driven methodology, that empha-
sizes individual responsibility, Stavatti is focused upon “leadership” rather than “management.” Individuals
employed on Stavatti program teams are of significant talent and ability with substantial industry experi-
ence with prominent aerospace defense prime contractors, the DoD or allied Air Forces. A lean enterprise,
Stavatti benefits from a tightly-knit organization that has a singular goal: produce a fantastic product.


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 Christopher R. Beskar
 Founder & CEO, Stavatti Aerospace

                                           Chris Beskar is the founder and CEO of Stavatti Aerospace, Ltd. The
                                           creative force driving Team Stavatti, Chris is responsible for the design
                                           of its aircraft, as well as the company’s strategic direction.

                                           A father, a thinker, an artist, an aviator, an entrepreneur, an industrialist,
                                           a physicist, a futurist and an engineer, Chris’s workday focuses on the
                                           advancement of aerospace, transportation, defense, powerplants and
                                           propulsion systems, materials and energy technologies. A vocal advo-
                                           cate for Close Air Support (CAS), Chris is responsible for the SM-27
                                           Machete and SM-28 Jet Machete all-weather attack aircraft.

                                           Revolutionizing aerospace, in concert with the Machete family, Chris is
                                           spear-heading next generation projects including the SM-150 Sport Air-
                                           craft, the SM-26 Sleek Sportplane, the SM-36 Stalma Multi-role fighter,
                                           SM-39 Razor Air Dominance Fighter and others. Committed to dramati-
                                           cally reducing the cost of general aviation while increasing aircraft utility
                                           and cabin comfort, Chris is also concentrating upon new sport aircraft
                                           that are affordable to own and operate.

 Flying airplanes since the age of nine, Chris was introduced to aviation by his father, a commercially rated flight
 instructor and Alaskan Bush Pilot. Designing his first airplane while in the eighth grade, by the tenth grade Chris
 had submitted an unsolicited proposal for an advanced fifth generation fighter aircraft to a DoD user agency. The
 positive reception and subsequent project development funding resulting from that proposal launched his career
 in the field of military aircraft design before he graduated high school. Culminating in a classified demonstrator
 project, this effort formed the foundation for future Stavatti combat aircraft designs.

 Chris attended the University of Wisconsin-River Falls where he earned a BS in Physics and a Minor in History.
 While a sophomore he founded Stavatti Corporation to design and produce tomorrow’s military, commercial, and
 general aviation aircraft as well as manned space vehicles. In 1995 while a junior in college he established a
 division of Stavatti called Stavatti Reconnaissance Systems (SRS) to satisfy special access/compartmentalized
 contracts focused on Intelligence Surveillance Reconnaissance (ISR) aircraft to support a defense intelligence
 customer. In 1996, while a senior, Chris was the Grand Prize Winner for the NASA TechBriefs Technology Trans-
 fer-Letter Writing Contest which focused upon the transfer of NASA spin-off technology to private industry.

 Upon graduation, Chris joined Stavatti full-time. In April of 2014 Chris reorganized the company, founding Stavat-
 ti Aerospace Ltd. Chris is currently the CEO and Chief Designer for Stavatti Aerospace. Initially concentrating
 upon air defense fighters, Stavatti’s focus has broadened to include the diverse array of new designs now under
 development today forming the basis of an enterprise that will last generations to come.

 Chris has also served on the Boards of a variety of other companies including Hybrid Technology (a manufactur-
 er of Oil Industry equipment), the Yakataga Mining Company and from 2008 until 2014, Skytruck, Inc, a new air-
 craft company based in New Orleans, LA. Actively pursuing a variety of new technology and business endeavors,
 Chris has developed proprietary high performance alloys for aerospace structural and military ballistic protection
 applications, has pioneering innovative approaches to controlled high temperature Hydrogen-Boron fusion and is
 laying the foundation to establish enterprises to produce manned interplanetary and interstellar spacecraft.

 With respect to professional associations, Chris has been a member of the American Institute for Aeronautics
 and Astronautics (AIAA) where he was the youngest member to ever serve on the Technical Management Com-
 mittee where he served as the Chairman of the Awards Subcommittee for the Hap Arnold and Von Braun
 Awards for Excellence in Aerospace Program Management from 2003 through 2013. Chris has also been a
 member of the AFA, EAA, AOPA, Society of Physics Students and other associations.

 As a private pilot, Chris has over 2,000 hours in various aircraft.




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LEAN DEVELOPMENT CYCLE

The aircraft development and business activities of Stavatti Aerospace as summarized will be conducted
using “Lean” practices that follow a business model known as the “Stavatti Approach.” The Stavatti
Approach applies lessons learned from highly effective and historically successful aircraft development
and production organizations to result in an operational model to rapidly develop and produce innovative,
game changing aircraft at minimum cost. The Stavatti Approach borrows from the methodologies
employed by Lockheed Skunk Works, North American Aircraft, McDonnell Aircraft, Dassault and
Gulfstream Aerospace to result in a hybrid advanced development and manufacturing company that can
realize the rapid and low cost development of extraordinary aircraft and products.

This model is a direct reflection of the development approach that resulted in successful aircraft pro-
grams including the B-17, U-2, Mirage IV, P-51, XF-80/P-80, Lockheed Jetstar, B-25 and B-29 all of
which required fewer than 10 engineering hours per pound of aircraft empty weight to design develop and
prototype prior to prototype first flight. Reviewing specific aircraft, the Lockheed XP-80 was designed by
23 engineers in 143 days while the Lockheed Jetstar was designed by a team of 41 in 241 days. Similarly,
the sophisticated twin engine Mach 2.4 Dassault Mirage IV was designed by a team of 85 engineers in 11
months. This model is a counter to the development models of the last 30 years that resulted in exces-
sively expensive aircraft development and procurement programs including the Northrop B-2 Bomber, the
Lockheed Martin F-22 and F/A-13 and the cancelled A-12 Avenger II.

Focused on shortening the design cycle, Stavatti’s
lean approach utilizes “Skunk Works” inspired               HISTORICAL AIRCRAFT ENGINEERING HOURS
techniques whereby a tight-knit group of talented
engineers focus upon the development of an air-             Aircraft         Engineering             Empty            Engineering
craft for which there are explicitly defined require-                             Hours          Weight (lbs)       Hour Multiplier

ments. Combining advanced computer aided                    B-17                   85,000              36,135                     2.35
design and analysis tools, Stavatti’s use of                U-2
                                                            P-51
                                                                                   36,755              13,870                     2.65
                                                                                   41,880               7,635                     5.49
SolidWorks CAD in conjunction with both native              XF-80                  59,202               9,420                     6.28
and stand-alone CFD, FEA, flight dynamics and               Jetstar               177,858              24,740                     7.19
                                                            Mirage IV             280,500              31,967                     8.77
RCS modeling software effectively reduces the               XB-25                 200,000              21,120                     9.47
engineering hours associated with traditional air-          XB-29               1,433,026              74,500                    19.24
                                                            B-52                4,000,000             185,000                    21.62
craft design by a factor of 50% to 80%. Coupled             A-12 (SR-71)        1,920,000              54,600                    35.16
with Stavatti’s advanced knowledge of aerodynam-            B-47                3,464,000              79,074                    43.81
                                                            DC-10              12,000,000             240,171                    49.96
ics and materials science, Stavatti has the ability to      XB-70              15,000,000             253,600                    59.15
design a modern aircraft two to five times faster           YF-17               1,400,000              21,000                    66.67
than was possible 40+ years ago when the F-14,              F-15A               2,500,000              28,000                    89.29

F-15, F-16 and A-10 were designed.                         Engineering Hour Multiplier (EHM) = Engineering Hours/Empty Weight



Implementing an approach that parallels the rapid engineering and development cycles of aircraft including
the B-17, U-2, P-51, P-80, Jetstar and Mirage IV, Stavatti employs two distinct development models: One
for the prototyping of an aircraft during Demonstration and Validation (Dem/Val) and a second used in the
Full Scale Development (FSD) of a new aircraft. The first model, used to calculate Dem/Val development
costs, focuses upon the design of all proposed Stavatti aircraft assuming an Engineering Hour Multiplier
(EHM) of 9.0 Engineering Hours per pound of aircraft empty weight. This assumes that all Stavatti aircraft
will be developed and engineered in a manner that is effectively equivalent to the design process used to
develop and prototype the Mirage IV bomber. Including an estimated 50% increase in productivity due to
SolidWorks and CATIA CAD systems of the engineering design tools of 1959 when the Mirage IV first flew,
Stavatti’s actual design methodology is effectively similar to that used in B-52 engineering design. The
result is a fully operational prototype aircraft that can enter flight testing and certification within 12 to 24
months of program launch, depending upon design complexity. For FSD, Stavatti assumes an EHM of
90.0 which is greater than that of the F-15A, YF-17, DC-10, B-47, XB-70 or A-12/SR-71. This ten-fold
increase in EHM provides a more conservative engineering cycle to ensure production engineering is com-
pleted to a greater level of detail and quality as the highly successful F-15 program. Recognizing that the
F-15A was designed in an era before CATIA, SolidWorks or CFD/FEA, Stavatti’s commitment to F-15A or
greater engineering levels while including these tools in the engineering cycle ensures that a new design
will be fully engineered and validated to a level sufficient to result in an excellent, world premier aircraft.


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MANUFACTURING TECHNOLOGY

Stavatti Aerospace prides itself on the utilization of the most advanced manufacturing technologies avail-
able to produce new design as well as legacy aircraft. To create the most advanced aerospace vehicles
imaginable, the manufacturing technology must be equally sophisticated. Stavatti marries the latest engi-
neering and design tools with next generation manufacturing and production systems to arrive at a syner-
gistic solution to enable the production of highly complex parts produced from high performance and
exotic materials.

Stavatti Aircraft benefit from unprecedented shapes and configurations, highly advanced materials and
breakthrough structural arrangements and assembly techniques. Featuring eloquent and complex shapes,
the physical configurations of Stavatti aircraft incorporate significant levels of compound curvature.
Exceeding the compound curvature found in the Dassault Mirage 2000 and Rafale fighters that lead to
the creation of CAD software such as CATIA, Stavatti aircraft require very advanced computer modeling
to engineer and very advanced computer controlled production and manufacturing technologies to create.
Combining breathtaking shape and form with advanced metal alloys requires very advanced manufactur-
ing technologies. To create aircraft fuselage, wing and tail skins Stavatti turns to advanced forms of
hydroforming, laser forming, robot forming and even explosive forming in addition to traditional stretch-
forming techniques. These techniques allow Stavatti to form both exotic alloy sheet material, including
titanium and scandium aluminium, as well as complex structural forms including foam metal sandwich
and honeycomb sandwich skins.

Embracing the widespread use of high perfor-
mance materials, Stavatti is a pioneer in the use
of proprietary materials including titanium diboride
ceramic metals, scandium alloys, tungsten alloys
and iridium alloys. Off-the-Shelf materials supplied
by leading industry team members such as
Arconic include aluminium lithiums such as 2090
and 2099. Benefiting from high strength titaniums,
stainless steels and industry unique materials
including Inconel and Elgiloy, Stavatti focuses
upon metals and ceramic metals for aircraft prima-
ry structures. Stavatti also focuses upon the
development and production of proprietary foam
metal sandwich structures, including aluminum
and titanium foam metal sandwich skins, bulk-
heads, frames, wings and empennage structures.

Production of Stavatti aircraft concentrates heavily upon the use of robotic systems to perform laser weld-
ing, friction stir welding, cutting, machining and highly duplicative assembly processes. Stavatti is concen-
trating upon the use of Additive Manufacturing including 3D Printing, very high density Directed Light Fab-
rication (DLF) and H-Electron Beam Melting (HBM) for the production of unique structural components
that are too complex for traditional machining. Use of robotic forming, cutting, welding and assembly dra-
matically reduces aircraft production times by a factor of three or more. Applying automotive style manu-
facturing technologies and techniques, Stavatti is a production-line centric organization that embraces
robotics and robotic welding as an alternative and successor to traditional riveted skins construction.

With an emphasis upon cutting using waterjets and lasers as well as hydroforming, robotic metal forming,
laser forming hydroforming, additive manufacturing, CNC machining, Electron Beam Welding, EDM,
Stavatti’s production line will derive substantial benefit from the deployment of highly advanced manufac-
turing approaches, reducing both production and assembly time as well as cost while dramatically
improving quality. Focusing upon the application of foam metal sandwich structures, advanced high tem-
perature cermets, aluminium and titanium scandium alloys and many more proprietary materials and
structural methodologies to aerospace, the Stavatti manufacturing floor will present a near clean-room
level environment as components are integrated with greater tolerance levels than most aircraft manufac-
tures can achieve. Applying these techniques to both new design and Stavatti legacy aircraft, ranging
from the SM-66 to the SM-29, Stavatti will pioneer, prove and benefit from the aircraft factory of the future.


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PROGRAM APPROACH

Stavatti aircraft are developed and produced by a specific Stavatti program/project team that draws from
the strategic leadership, management and enterprise assets of Stavatti Aerospace Ltd. From a business
perspective, each project is undertaken as a stand-alone, independently incorporated business that is
owned in-part by Stavatti Aerospace and in-part by a joint venture Strategic Partner. Organized to enable
each aircraft program to be independently managed and financed while isolating the greater Stavatti Aero-
space enterprise from liability exposure, all aircraft projects will involve engineering, development and pro-
duction elements contributed by partners throughout the aerospace enterprise. Drawing from the capabili-
ties of established engineering development partners, Stavatti is able to undertake multiple advanced
aircraft development and production projects simultaneously through the orchestration and proper deploy-
ment of capable teams. Stavatti has significant capabilities to draw from and well over 1,500 qualified per-
sons throughout the US and worldwide to immediately implement our vision.

ENGINEERING & DESIGN

Stavatti conducts the complete engineering design and development of new aircraft beginning with con-
cept development, through advanced and detail design phases. Engineering includes completion of con-
cept and feasibility studies, business planning, Computational Fluid Dynamics (CFD) and Finite Element
Analysis (FEA), engineering and detail parts design using tools including SolidWorks Premium and CATIA.
Wind tunnel testing will likely be contracted to centers including Calspan, NASA Langley, NASA Ames and
NASA Glenn. Wind tunnel testing may also be conducted at university wind tunnels including those of
Witchita State, the Air Force Academy and others. Stavatti is responsible for all aspects of engineering and
serves as program lead for all projects. Stavatti currently has engineering teams at locations worldwide
and can delegate engineering activities per strategic partnership agreements. Stavatti’s engineering philos-
ophy emphasizes the importance of superior concept design married to sound business plans that address
valuable niche markets or clearly apparent commercial opportunities. From a solid concept, advanced and
detailed engineering is conducted using a Skunk Works style integrated project team.

FLIGHT TEST & CERTIFICATION

Stavatti Aerospace will conduct Flight Testing using contracted flight test centers including the Air Force
Flight Test Center (AFFTC) at Edwards AFB. Stavatti naval aircraft may be flight tested at NAS Pax River.
Stavatti can also perform flight testing at dedicated facilities throughout the USA and New Zealand. Stavat-
ti may contract Calspan to provide In-Flight Simulation of aircraft flight control laws prior to first flight.
Stavatti’s benefits from in-house DERs for certification with an emphasis upon certifying aircraft to the FAA
FAR Part 23 and FAR Part 25 standard as required. Military aircraft are certified to Military 516B standards.
Stavatti has teamed with Aerospace Engineering Solutions International (AESI) of Phoenix, AZ to manage
and perform FAA flight test and certification of new design Stavatti as well as legacy aircraft.

PROTOTYPING

Stavatti Aerospace will produce all prototype aircraft in-house from systems, components and major sub-
assemblies produced by qualified industry team members. Stavatti benefits from a 100+ member industry
team to supply the highest quality systems for final in-house integration and assembly. Stavatti will perform
primary assembly, systems integration and flight check of all production aircraft at a Stavatti Final Assem-
bly Plant. Immediate prototyping and production work will be conducted primarily at facilities in New York,
California and Virginia with full scale production conducted in the USA and other sites, in particular strate-
gic partner nations. Stavatti conducts all prototyping using low cost, flexible tooling and rapid prototyping
methods, including laser metal sintering for low volume prototyping.

PRODUCTION CENTERS

Initial Stavatti prototype aircraft production is anticipated to be conducted at an aircraft production center in
Niagara Falls, NY and at other locations. Final assembly of aircraft will occur at either existing or new build
manufacturing and assembly plants at present or alternative locations. Stavatti will establish primary pro-
duction facilities in the USA. An overview of current and planned production centers is provided:


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STAVATTI™                                            PROPRIETARY                                                  SM-29



                                                                                                    9400 Porter Road
                                                                                                        Niagara Falls
                                                                                                           NY, 14304
HEADQUARTERS &
PROTOTYPING CENTER

On 30 October 2020 Stavatti acquired the former US Army Reserve Center (USARC) to serve as both an interim
headquarters as well as a Prototype Development Center (PDC) and a manufacturing facility that can support,
prototyping, engineering development, flight test, special projects, DACT programs and Low Rate Initial Production
(LRIP). Located at 9400 Porter Road, Niagara Falls, NY 14304, the USARC facility is located at the Niagara Falls
International Airport (KIAG) and has direct access to the airport runway. The USARC facility, also known as Area
Maintenance Center #76, was declared surplus Federal property in 2011 by the Department of Defense under the
Base Realignment and Closure (BRAC) process after which it was acquired by the Town of Niagara, NY. In April 2019,
the Town of Niagara sold the vacant USARC to a private party. Stavatti entered into a Purchase Agreement to acquire
the facility in June 2020 and achieved the rezoning of the 19.8 acre property to Heavy Industrial in September 2020.

The USARC totals more than 173,358 sq ft including Building 4 which is in excess of 47,000 sq ft of aircraft hangar.
One of the largest hangars in North America, the hangar has in excess of 190 feet clear span, east and west, and
hangar doors with a center height of 52 ft. Offering over 33,000 sq ft of attached office space on the north side and
the south side of the hanger, with a heated hangar floor, a 5 ton loading crane and numerous offices, Building 4 pro-
vides Stavatti with numerous engineering, prototyping options. This ceiling height and clear span hangar doors of
over 150 ft will allow Building 4 to serve as a superior prototyping center for large Stavatti aircraft including the SM-
100 and SM-920. Building 4 may also serve as a special operations center in support of future Stavatti Dissimilar Air
Combat Training (DACT) as well as potential home for the SM-29 Super Fulcrum upgrade program.

In addition to the main Building 4, the USARC facility              PRODUCTION FACILITY SPECIFICATIONS
also features Building 4S which is a two-story building of
approximately 47,000 sq ft attached to the south of the         FACILITY NAME:          Former US Army Reserve Center
hangar. Building 4N is a 19,000 sq ft building that is          ADDRESS:                                9400 Porter Road
attached to the north of the hangar. Both Building 4S           CITY                                         Niagara Falls
and 4N contain classrooms, offices, common areas and            STATE, ZIP                               New York, 14304
                                                                FACILITY SIZE (Sq Ft)                             173,358
security vaults. With extensive fenced and paved out-                                                                 19.8
                                                                LAND AREA (Acres)
door storage facilities and areas, the site also has a          ZONING                      Commercial Heavy Industrial
10,000 sq ft former military vehicle maintenance and            OWNERSHIP                               Owned by Stavatti
repair facility as well as additional buildings that range in   OCCUPY                                                2020
size from 2,400 sq ft to 25,000 sq ft. Numerous air and         LOCATED AT AIRPORT                                     Yes
ground transport maintenance and garage facilities are          RUNWAY ACCESS                                          Yes
on site as well as office, fabrication, storage, warehous-      AIRPORT NAME            Niagara Falls International (KIAG)
ing, laboratory and machine shop facilities.




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 Potential Aircraft Production Site
 Niagara Falls International Airport (KIAG)
 Bell Plant & SNAPPER

 NAME: Niagara Falls International Airport

 SITE: Former Bell Aircraft Plant & SNAPPER

 LOCATION: 4 nm E of Niagara Falls, NY

 ADDRESS: 72221 Niagara Falls Blvd, Niagara Falls, NY 14304

 FACILITY: The Niagara Falls International Airport is home to the
 Former Bell Aircraft Plant, now known as the Wheatfield Business
 Park (WBP), as well as SNAPPER (Stavatti Niagara Aeronautical
 Prototype Production Engineering & Research) Center. The WBP
 has 1,772,559 sq ft of aircraft production, warehouse and office
 space located on 93.8 acres. In addition to the WBP, Stavatti
 acquired the 150,000 sq ft SNAPPER facility located on 19.8
 acres to serve as a headquarters and prototyping facility on 30
 October 2020. In addition to these existing facilities over 300 acres
 of airport adjacent land is available for development by Stavatti.

 HISTORY: The Niagara Falls International Airport was established
 in 1928 as a city-owned municipal airport. During World War II, the
 United States Army Air Forces assumed control of the airport and
 upgraded its facilities to be used as an Army Air Force base. In
 1940 the Bell Aircraft plat was built. The plant produced 9,588 P-
 39 Airacobras until production ended in 1944. The plant produced
 over 3,600 P-63 Kingcobras as well with peak employment of
 36,000 during WW II. The plant also produced the P-59 Airacomet,
 the 47B helicopter, the X-1, X-2, X-5 and many other aircraft
 including the X-22. Textron purchased Bell Aerospace in 1960,
 moving principal helicopter production to Texas. Bell Aerospace
 Textron continued to operate the facility well into the 1980s. The
 Facility is currently leased as a multi-tenant facility with tenants
 including Lockheed Martin. The WBP may be acquired by Stavatti.

 AIRFIELD: The airport is positively controlled with a control tower.
 The airport property is 1,067 acres with three hard-surface run-
 ways. With facilities to support 747 aircraft, the airport can handle
 both commercial passenger and cargo traffic. The airport was
 home to the Niagara Falls Air Reserve Station including the 914th
 Airlift Wing (C-130s) and the NYANG 107th Air Refueling Wing
 (KC-135).

 Airport Type: Public

 Elevation: 589 ft MSL

 Runways: 6/24 at 5,189 ft x 150 ft
          10L/28R at 10,825 ft x 150 ft
          10R/28L at 3,973 ft x 75 ft

 Aircraft Operations (2006): 45,512

 Sectional Chart: Detroit




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                                                                                                            Stavatti Ukraine
                                                                                                           Kyivs’ka Street 4
                                                                                                                  Suite 217
STAVATTI UKRAINE                                                                                           Vinnytsia, 21000
                                                                                                                     Ukraine
PROPOSED VINNYTSIA PLANT
Stavatti has committed to the production of the SM-29 Super Fulcrum as well as the SM-31S/T Stiletto in Ukraine for
the majority of aircraft delivered to the Ukrainian Air Force (UAF). The production of the SM-29 will focus on the
upgrade of existing UAF MiG-29s in Ukraine using integrated systems and upgrade kits provided by Stavatti in the
USA. The production of the Stiletto will focus upon the final assembly of the aircraft in Ukraine with the production of
the airframe structure, in whole or in part, in Ukraine. Stavatti recognizes that many critical aircraft systems, including
powerplant and APU, can be produced for the Stiletto in Ukraine. Stavatti is engineering the SM-31 to benefit from
the Motor Sich AI-322F family of powerplants and the aircraft may also incorporate a Motor Sich APU. Additional sys-
tems including aircraft ejection seat, primary structures, electrical systems, gun armament and even air-to-air mis-
siles may be produced in Ukraine. To facilitate production of the Stiletto in Ukraine, Stavatti is now committed to pro-
duce the SM-29 and SM-31 at a new aircraft factory established and managed by Stavatti Ukraine.

STAVATTI UKRAINE

On 14 November 2017 Stavatti Ukraine was founded in
Vinnytsia, Ukraine by Stavatti representatives. Serving
as a Ukrainian Subsidiary, Stavatti Ukraine is a Ukraini-
an company organized under the laws of Ukraine.
Focused upon serving as a Stavatti Aerospace Defense
manufacturer orientated towards satisfying the needs of
the Ukrainian Ministry of Defense, Stavatti Ukraine will
operate as a diversified defense enterprise. Focused on
advancing the SM-31 program, Stavatti Ukraine will
undertake the production and assembly of the SM-31 in
Ukraine. In so doing, Stavatti Ukraine will become a
Ukrainian Aircraft Manufacturer committed to the pro-
duction of Stavatti military and civil aircraft. Focused pri-
marily upon satisfying the domestic needs of the Ukrai-
nian Air Force, Stavatti Ukraine will produce the SM-31
and other Stavatti aircraft for customers throughout
Europe, Asia, the Middle East and Africa.

Part of the global Stavatti enterprise, Stavatti will integrate new production aircraft with components and systems pro-
duced in the United States (by Stavatti Aerospace, Ltd) and by suppliers worldwide into production assemblies built
in Ukraine to result in a finished production aircraft that is assembled in Ukraine.

PROPOSED VINNYTSIA PLANT

After a comprehensive internal research and evaluation process, Stavatti has selected the Havryshivka Vinnytsia
International Airport (Vinnytsia) as a potential future site for the establishment of a Stavatti Ukraine aircraft manufac-
turing plant and assembly campus dedicated to the production of the SM-31 aircraft. Benefiting from an 8,202 ft hard
surface runway, ample available development land for commercial operations and both commercial airline and mili-
tary flight operations, the Vinnytsia airport has been identified as an excellent site at which to establish a new factory.

The Vinnytisa Plant will consist of a three building campus including one Administrative, Engineering and Support
Center (totalling 100,000 sq ft) that is physically connected to a dedicated Aircraft Manufacturing and Final Assembly
Plant (totalling 560,000 sq ft) resulting in a facility with a total combined floor area of 250,000 sq ft. The third building
for the center is the Maintenance and Support Center which will total 103,500 sq ft resulting in a total production
campus that measures 763,000 sq ft. Designed for future growth, the Final Assembly plant as planned will measure
1,400 ft long and 400 feet wide with a main hanger door that measures 250 ft wide and 75 ft tall, allowing for the pro-
duction of future larger cargo and transport aircraft. Planned for growth, the plant has clear spans of approximately
250 ft allowing for the production of long wingspan aircraft. Dedicated to manufacturing, the Vinnytsia Plant will be
equipped with the latest abrasive water jet, laser cutting, laser welding, friction stir welding, robotic production, foam
metal sandwich production, composites fabrication and systems integration technologies to result in a factory that
can produce the most state of the art aircraft. Employing between 400 and 1,000 individuals, the Vinnytsia plant will
produce 50 to 100 aircraft annually. Construction of the proposed Vinnytsia Plant will be funded through financing
associated with SM-29 and SM-31 orders and contracts through the Ukrainian Air Force.


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           PROPOSED VINNYTSIA AIRCRAFT PRODUCTION PLANT LAYOUT




                                                                                              Suitable For the Production
                                                                                              Of A Variety of Aircraft
                                                                                              In Ukraine including

                                                                                              SM-31 Stiletto
                                                                                              SM-27 Machete
                                                                                              SM-28 Machete
                                                                                              SM-29 Super Fulcrum
                                                                                              SM-36 Stalma
                                                                                              SM-39 Razor
                   1                             2                                            SM-70 Transport
                                                                                              SM-72 Transport
                                                                                              SM-920 Airliner
                                                                                              SM-930 Airliner

                                                                                              And Antonov Aircraft Including...

                                                                                              An-124
                                                                                              An-132
                                                                                              An-140
                                                                                              An-148
                                                                                              An-158
                                                                                              An-174
                                                                                              An-188




                                          660K AIRCRAFT MANUFACTURING & ASSEMBLY PLANT

                                     PLANT:                                       660K Aircraft Manufacturing Plant
        3                            PUBLISHED SIZE (sq ft):                                               660,000

                                     MAXIMUM LENTH (ft):                                                      1,400
                                     MAXIMUM WIDTH (ft):                                                        400
                                     MAXIMUM HEIGHT (ft):                                                        95
    4
                                     PLANT FOOTPRINT (sq ft)                                               682,746
                                     PLANT FOOTPRINT (Acres)                                                 15.67

                                     AIRCRAFT PRODUCTION & ASSEMBLY AREA (sq ft):                          663,500
                                     OFFICE AREA (sq ft):                                                  100,000

                                     TOTAL USEABLE FLOOR AREA (sq ft):                                     763,500

                                     STANDARD LOADING DOCKS:                                                     10

                                      ASSEMBLY           DIMENSIONS              FLOOR AREA           DOOR
                                      HANGER              (L x W x H)               (Sq Ft)        DIMENSIONS

                                      1              1,400 ft x 400 ft x 95 ft     560,000          250 ft x 75 ft

                                      5                345 ft x 300 ft x 95 ft     103,500          200 ft x 75 ft

                                      TOTAL                                        663,500




                                    1 Assembly Hanger 1 (for SM-31 Production)

                                    2 Completion, Paint & Maintenance Hangar

                                    3 Engineering, Manufacturing & Leadership Office

                                    4 Main Entrance & Reception

                                    5 Loading Dock
                   5




                                                                                                                             400 ft

                                                                                             Drawing Scale: 1/3,500




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 Potential Aircraft Production Site
 Vinnytsia International Airport (UKWW)
 Havryshivka/Vinnytsia Region, Ukraine

 NAME: Vinnytsia

 SITE: New Build Facilities (300,000 sq ft to 700,000 sq ft)

 LOCATION: 1 km Southwest of the village of Havryshivka

 ADDRESS: T0231. Vinnyts’ka Oblast, Ukraine

 FACILITY: Stavatti will be building a new production facility at the
 Vinnytisa International Airport known as the Vinnytisa Plant. The
 plant will consist of a three building campus including one Admin-
 istrative, Engineering and Support Center that is physically con-
 nected to a dedicated Aircraft Manufacturing and Final Assembly
 Plant. The third building for the center is a Completion and Main-
 tenance, Repair and Overhaul (MRO) Center. Conceived to serve
 as a Stavatti aircraft manufacturing and assembly plant, second-
 ary functions of the facility may be to serve as an MRO center for
 the support of Ukrainian military aircraft under contract as well as
 the assembly and production of Antonov aircraft under contract.
 Designed for future growth, the Vinnytisa plant may measure from
 300,000 to over 500,000 sq ft allowing for the production of future
 larger cargo and transport aircraft. The plant will have wide clear
 spans allowing for the production of long wingspan aircraft.

 HISTORY: The Vinnytisa International Airport was established in
 the early 1950s. Serving as both a military and civil airport, in
 1952 the airport handled 2,000 passengers and 160 tons of mail
 and cargo. In 1954 the 94th military aircraft squadron became
 based at the airport and between 1952 and 1962 a terminal com-
 plex was built. In 1976 construction of a 2,200 meter long runway
 was completed to allow the operation of IL-18 aircraft. In the late
 seventies, the runway was extended to 2,500 meters. The airport
 became a central transportation hub offering direct flights to Mos-
 c o w, K ie v, Min s k , Riga , Do n e t s k , L u ga n s k , Ch e rn ivt s i,
 Zaporizhzhya and other cities. In 1993, the airport became an
 independent legal entity. At the end of 2001 the airport transferred
 from state ownership to regional ownership.

 AIRFIELD: The airport is positively controlled with a control tower.
 The airport property is 556 acres with one hard-surface runway.
 Airfield characteristics include:

 Airport Type: Public

 Elevation: 3,196 ft MSL

 Runways: 13/31 at 8,202 ft

 Annual Passengers (2017): 52,000

 Website: www.airvinnitsa.com




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TEAM STAVATTI

Success of Stavatti aircraft, from prototype to production, will result from the combined efforts of Team
Stavatti and its Industry Team Members (ITMS). As the Prime Contractor and Systems Integrator, Stavatti
is responsible for the design, qualification, final assembly and support of the all Stavatti aircraft. The
design, manufacturing and production of airframes will be performed largely in-house by Stavatti. Major
aircraft components, including specific wing and fuselage modules, aircraft powerplant, landing gear,
wheels and brakes, armament systems, avionics, canopy, flight control systems, electronic warfare sys-
tems, etc. will be designed and produced by the proven contractors on Team Stavatti

Leading ITMs will include General Electric Aircraft Engines, Raytheon Technologies (including Collins
Aerospace and United Technologies), L3Harris, Arconic, Lockheed Martin, Carlton, BAE Systems, Spirit
Aerostructures, General Dynamics, Northrop Grumman, Martin Baker, Texstars, CAE USA, ITT, Esterline,
Triumph and others. Stavatti will contract over 200 different ITMs located in over 20 states An internation-
al program, Stavatti ITMs will include resident businesses of more than 7 allied nations. Stavatti industry
team members are ISO 9000/9001/9002 certified and will meet the AS/EN/JISQ9100 standard.

               SM-29 SUPER FULCRUM ABRIDGED INDUSTRY TEAM (A-D)

  TEAM MEMBER                                  COMPONENTS                                 LOCATION

  Aero Gear Inc.                               Aerospace Gears                            Connecticut
  AeroControlex                                Heated Pitot                               Ohio
  Aero Design & Manufacturing, Inc.            Aeroequipment Machining & Assembly         Arizona
  Aerotronics                                  Simulation Systems                         Ohio
  AGC Acquisition LLC                          Airframe Components                        Connecticut
  Alcoa                                        Aluminum                                   Pennsylvania
  Alliance Machine, Inc.                       Machined Components                        Minnesota
  Andrea Electronics Corporation               Intercom                                   New York
  Arconic                                      Aerospace Metals                           Pennsylvania
  Astro Spar Arden                             High Speed Machining & Assembly            California
  ATI                                          Metals                                     Pennsylvania
  BAE Systems-Sensor Systems                   ALQ-239 DEWS                               New Hampshire
  BAE Systems                                  ECM; AN/ALE-47 TACDS                       Texas
  BAE Systems                                  IFF; Flight Control System                 New York
  Ball Aerospace                               Aerospace Components & Systems             Colorado
  Bandy Manufacturing                          Aerospace Hinges                           California
  BASF Aerospace Materials and Technologies    Aerospace Materials                        Michigan
  Beaver Aerospace                             Actuators                                  Michigan
  Belden Universal                             Aerospace Universal Joints                 Illinois
  Bell-Memphis                                 Control Hardware                           Tennessee
  Benecor, Inc.                                Honeycomb Structures                       Ohio
  Boeing                                       Aerospace Structures                       Washington
  Bristol                                      Aerospace Fasteners                        California
  Cadence Aerospace                            Aerostructures & Aeroequipment             California
  CAE USA                                      Full Flight Simulator (FFS)                Florida
  Calspan                                      Wind Tunnel Testing/Simulation             New York
  Carlton Life Support                         OBIGGS & OBOGS                             Iowa
  CMC Electronics                              Displays & HUD                             Illinois
  Crane Aerospace & Electronics                Landing & Power Systems                    California
  CMT Inc.                                     Precision Manufacturing                    Arkansas
  Cobham Advanced Electronic Solutions         Radar Countermeasures                      Virginia
  Cobham Mission Systems                       Munitions Carriage Systems                 New York
  Collins Aerospace Avionics                   Sensors & Avionics                         Iowa
  Collins Aerospace Aerostructures             Aerospace Structures & Systems             California
  Collins Aerospace Mechanical Systems         Aerospace Mechanical Systems               North Carolina
  Collins Aerospace Mission Systems            Military Avionics & Communications         Iowa
  Collins Aerospace Power & Controls           Aerospace Electrical Systems               Connecticut
  Concord Battery Corporation                  Aircraft Batteries                         California
  Cubic                                        Training Solutions                         California
  Curtiss-Wright Corporation                   Aerospace Systems & Components             North Carolina
  Cyril Bath Company                           Aerospace Metal Forming                    North Carolina
  Cytec Industries, Inc                        Composite Resins                           New Jersey
  Dassault Systems                             SolidWorks & CATIA                         Massachusetts
  Davtron                                      Digital Avionics                           California




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              SM-29 SUPER FULCRUM ABRIDGED INDUSTRY TEAM (D-S)

 TEAM MEMBER                                      COMPONENTS                                  LOCATION

 DLS Data Link Solutions                          AN/URC-138 Link 16                          Iowa
 Leonardo DRS                                     Aerospace Electronics and Structures        California
 Dupont                                           Kevlar®                                     Delaware
 DynCorp International                            Aviation Services                           Virginia
 Eaton Corporation                                Switches & Aerospace Systems                New Jersey
 Enprotech                                        Stampings & Forgings                        Ohio
 Esterline Technologies Corporation               Avionics, Controls, Sensors and Materials   Washington
 GE Aviation                                      F414 Powerplant                             Ohio
 General Dynamics Ordnance and Tactical Systems   20mm Cannon System & Ammunition             Vermont
 Gentex                                           Flight Crew Helmets                         Florida
 Giddens Industries                               High Speed Machining                        Pennsylvania
 GKN Aerospace-Camarillo                          Aerospace Structures & Systems              California
 GKN Aerospace-South Carolina                     Aerospace Structures & Systems              South Carolina
 GKN Aerospace-Arizona                            Aerospace Structures & Systems              Arizona
 Goodyear                                         Tires                                       Ohio
 Hexcel                                           Composite Materials and Assemblies          Connecticut
 Honeywell                                        Avionics, Powerplants, APU                  Arizona
 Howmet Aerospace Inc                             Fasteners                                   Pennsylvania
 Hutchinson, Inc.                                 Shock, Vibration & Motion Controls          California
 Huck International, Inc                           Fasteners                                  California
 Hydraulics International, Inc.                   Stores Handling/Loaders                     California
 IDD Aerospace                                    Integrated Switch Panels                    Washington
 Ion Corporation                                  Integrated Electrical Systems               Minnesota
 ITT Aerospace                                    Aerospace Controls                          California
 Jamco Aerospace, Inc                             Aerospace Electronics & Assemblies          New York
 JCR Industries LLC                               Aerospace Structures & Manufacturing        California
 Jedco, Inc.                                      Aerospace Structural Forming                Michigan
 Kollmorgen Corp                                  Motion Controls                             Virginia
 Korry                                            Cockpit Systems                             Washington
 L3Harris Technologies                            Displays, ECM, EW, TACAN, MX-10D            Florida
 Lockheed Martin Missiles and Fire Control        IRST21                                      Texas
 MarathonNorco Aerospace                          Aerospace Batteries                         Texas
 Mason Controls                                   Flight & Throttle Grip                      California
 Martin-Baker America                             Ejection Seats                              Pennsylvania
 Maverick                                         Polyimide Composite Resins                  Ohio
 Moog, Inc.                                       Actuators, Instruments                      New York
 Mold Masters International                       Precision Aerospace Parts                   Ohio
 Moeller                                          Aerospace Washers & Hardware                California
 Monroe Aerospace                                 Aerospace Hardware                          Florida
 Woodward                                         Aircraft Flight Control Sytems              Colorado
 Neill Aircraft Company                           Aircraft & Aerospace Structures             California
 Northrop Grumman                                 Aircraft and Aerospace Defense Systems      California
 Northrop Grumman Mission Systems                 Radar and Sensors                           Maryland
 North Atlantic Industries                        Aerospace Electronic Components             New York
 Omada International                              Aerospace Structural Forming                Oklahoma
 PacSci EMC                                       Energetic Materials                         Arizona
 Parker Aerospace                                 Hydraulic Systems                            Michigan
 PCC Schlosser                                    Titanium Investment Casting                 Oregon
 PDI Ground Support Systems                       Munitions Trailers/Transports               Ohio
 Perfekta, Inc                                    Aluminum Structures & Forging               Kansas
 Precision Cast Parts                             Aerospace Structures                        Oregon
 Precision Machine Works                          Aerostructure Machining and Assembly        Washington
 Prikos & Becker                                  Landing Wheel Components                    Illinois
 Quality Forming, Inc.                            Titanium Hot Forming                        California
 Quartus Engineering                              Aerospace Engineering Services              California
 Raytheon                                         Avionics, Sensors, Powerplants, Missiles    Massachusetts
 Raytheon Intelligence & Space                    Radar, Electronic Warfare, EO/IR            Virginia
 Raytheon Missiles & Defense                      AGMs and AAMs                               Arizona
 RCS Performance Systems                          Training Systems                             New York
 Rex Systems Inc.                                 IFF Transponder                             Wisconsin
 RTI International Metals                         Titanium Components                         Pennsylvania
 Rolls Royce North America                        AE2100 Derivative Alternative Powerplant    Indiana
 Saint-Gobain Aerospace                           Radome & Composites                         Ohio
 Saratech                                         Engineering and Additive Manufacturing      California
 Sargent Fletcher: Cobham Mission Systems         External Tanks/In-Flight Refueling          Iowa




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                   SM-29 SUPER FULCRUM ABRIDGED INDUSTRY TEAM (S-Z)

 TEAM MEMBER                                          COMPONENTS                                         LOCATION

 Scaled Composites                                    Composite Structures & Aircraft                    California
 Science & Technology Corporation                     Source Codes/Integration                           Virginia
 SDS International, Inc.                              Simulation & Training                              Virginia
 Senior Flexonics                                     Pneumatics                                         California
 Sierracin                                            Canopies                                           California
 SpectrumFX                                           Non-Halon Fire Suppression                         Oklahoma
 Spirit Aerosystems, Inc.                             Primary Airframe Structure                         Kansas
 Standard Wire & Cable                                Cable                                              California
 Staco Systems                                        Aerospace Switches                                 California
 Stretch Forming Corp.                                Aerospace Stretch Forming                          California
 Symetrics Industries                                 Electronic Warfare                                 Florida
 Techniform                                           Stretch Form Components                            Texas
 Tell Tool                                            Complex Machining                                  Massachusetts
 Texas Instruments                                    Electronics                                        Texas
 Texstars                                             Canopy                                             Texas
 Timet                                                Titanium Components                                Texas
 3M Aerospace                                         Composites/Electronics                             Minnesota
 TransDigm Group Inc.                                 Actuators and Aerospace Systems                    Ohio
 Triumph Group Inc                                    Aerospace Structures & Systems                     Pennsylvania
 Tronair                                              Ground Support Equipment                           Ohio
 True Blue Power                                      Advanced Lithium Ion Battery                       Kansas
 Ulbrich Stainless Steels                             Stainless Steel                                    Connecticut
 Ultimate Hyroforming Inc                             Aerospace Hydroforming                             Michigan
 Universal Alloy Corp.                                Extrusions                                         California
 University of Washington                             Wind Tunnel                                        Washington
 Voss                                                 Aerospace Clamps and Couplings                     Ohio
 Voss Manufacturing Inc.                              Engineering Manufacturing Solutions                New York
 Whelen Engineering                                   Strobes & Lighting                                 Connecticut
 Xar Industries                                       Aircraft Parts and Equipment                       California




             Avionics        Displays         Ejection Seats           OBOGS                Structures




                                                                                                           Engines


     Radar




                                                                                                                  Structures




 Avionics




                                           Landing Gear

        Avionics
                                                                                                                       EW/ECM
                                          Cannon


        Sensors




             Avionics                   Wheels & Brakes                        Tires                       Actuators




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BUSINESS PLAN DEVELOPMENT & PROGRAM SUMMARY

The purpose of this business plan is to provide an overview of both the business case and pathway by
which Stavatti Aerospace will develop, produce and provide a unique and competitive, comprehensive and
complete upgrade and modernization package for allied MiG-29 fighter aircraft. The MiG-29 is the 5th
most popular fighter aircraft in the world accounting for 5% of all fighter aircraft currently in service, which
is a greater share than that of the F-22, F/A-35, Rafale or Typhoon. Many nations desire to continue flying
the MiG-29 for 10 or 20 more years but their aircraft require new avionics, powerplants, weapon systems
and airframe improvements to ensure the aircraft is both tactically valuable and economically viable.
Through the SM-29 upgrade program, Stavatti can ensure nations can continue to operate their MiG-29s
for 2 or more decades while maintaining the aircraft’s combat effectiveness and potency.

Stavatti has already designed the SM-29E upgrade package and presented the project to a launch cus-
tomer, the Ukrainian Air Force (UAF), which has issued Stavatti a Protocol of Intent indicating their com-
mitted desire to procure up to 76 SM-29E upgrades valued at $1.7 Billion. This committed interest is the
impetus for Stavatti to undertake the demonstration and prototyping of the SM-29 Super Fulcrum upgrade
program for the MiG-29 with the understanding that the overall potential global market exceeds 464 air-
craft in addition to the UAF opportunity.

To secure the UAF contract, Stavatti must first provide evidence of the companies capability to perform
basic aspects of the proposed upgrade to a designated UAF review board. Those basic aspects include
an upgrade of a MiG-29s cockpit displays as well as wheels, brakes and tires and some additional avion-
ics. Designated the SM-29 “Demonstrator” aircraft, the performance of this upgrade at a Stavatti leased
facility (USARC) in Niagara Falls, NY. With a total cost of $10 Million, the Demonstrator program is Round
A of this business plan and will provide a Demonstrator aircraft for the UAF to review. Upon completion of
their review, Stavatti will be issued a contract valued at $90 Million to upgrade the first 4 UAF MiG-29 air-
craft to the SM-29E Super Fulcrum Configuration.

                                                          With the award of the $90 Million contract Stavatti
                                                          will begin the upgrade of 4 UAF MiG-29s while
                                                          simultaneously funding the $30 Million Round B
                                                          Prototype Phase based upon accounts receivable
                                                          financing or investor or strategic partner invest-
                                                          ment. Round B will convert the SM-29E “Demon-
                                                          strator” of Round A into the “Prototype” of Round B
                                                          through the installation of F414 engines, the APG-
                                                          79 radar and implementation of all other aspects of
                                                          the SM-29E upgrade program. This aircraft will
                                                          serve as Stavatti’s SM-29E company demonstrator
                                                          aircraft. Round B will also result in Stavatti’s acqui-
                                                          sition of the USARC facility and the initiation of the
                                                          purchase of Air USA to form “Stavatti Air USA.”

With the successful upgrade of the first four MiG-29s, Stavatti will secure a follow-on contract to upgrade
an additional 72 UAF aircraft to the SM-29E configuration. Upon securing this contract Stavatti will begin
the upgrade process and may implement a $60 Million Round C Production Phase based upon both earn-
ings from the upgrade of the first four aircraft as well as accounts receivable financing and possible addi-
tional investor/strategic partner investment. Round C will result in Stavatti’s acquisition of the Bell Aero-
space Plant in Niagara Falls, NY as well as the construction of a dedicated 100K sq ft hangar and aircraft
manufacturing facility in Ukraine to support the SM-29 upgrade program in Ukraine. Stavatti will also com-
plete the acquisition of Air USA and fund general business expansion expenses through Round C.

The profits associated with the upgrade of the 76 UAF MiG-29 aircraft will recover up to a $100 Million
investment by Stavatti and investors associated with Rounds A, B and C of this business plan while also
generating a net profit of over $75 Million. Subsequent upgrades of additional aircraft will result in appre-
ciable net profits. Combined with the net earnings associated with Stavatti’s ownership of Air USA Inc, the
implementation of this business plan results in two distinct revenue streams of significant earning potential.
A summary of Total Business Plan costs and Financial Forecasts are provided in subsequent pages.


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TOTAL DEVELOPMENT PROGRAM COSTS: ROUNDS A & B

The total cost of the SM-29 Super Fulcrum Business Plan can be considered to be $40 Million if all fund-
ing Rounds (Rounds A and B) are considered. Conceived and proposed by Stavatti Aerospace, the Busi-
ness Plan is divided into two Funding Rounds/Phases which include the $10 Million Round A Demonstra-
tor Phase and a $30 Million Round B Prototype Phase. The combined cost of both Rounds/Phases is
$40 Million. Of the phases, Round A is the most critical as it is this $10 Million Demonstrator phase that
will convince customers to acquire the upgrade package, after which all remaining Rounds/Phases
(Round B) can be paid for through contract earnings.

The SM-29 Business Plan will result in a number of achievements for Stavatti Aerospace with the full
funding of $5 Million going directly to major initiatives that include the basic upgrade of a single MiG-29
airframe from Air USA, Inc. which focuses upon the upgrade of the aircraft’s cockpit through the installa-
tion of a single LAAD display as well as the complete upgrade of aircraft wheels, brakes and tires to
UTC/Goodyear solutions including 22 x 6.6-10 nose tires and 30 x 11.5-14.5 main gear tires. The result-
ing aircraft will serve as the SM-29 Demonstrator of Round A. In Round B, a single seat MiG-29 Fulcrum
A will receive a more comprehensive upgrade and will serve as the SM-29 Prototype, featuring new new
GEAE F414 EP afterburning turbofan powerplants, the Raytheon AN/APG-79 AESA radar and all other
related SM-29 upgrades, including Electronic Warfare Systems. This single seat prototype will then serve
as the flight test article for stores qualification testing as well as the company demo aircraft.

This business plan will result upgrade of the USARC facility located at the Niagara Falls International Air-
port. This 173,358 sq ft facility on 19.8 acres was acquired by Stavatti on 30 October 2020 and will serve
as manufacturing and development center for the SM-29 program. The Business Plan will result in the
acquisition of a total of two MiG-29s, including one two seat MiG-29UB Fulcrum B and a single seat MiG-
29 Fulcrum A and associated spare parts and support equipment from Air USA, Inc. The Business Plan
effectively addresses all costs including salary, payroll and benefits, facility costs and utilities, machinery
and equipment, mock-ups and models of the SM-29E, marketing and advertising, business travel
expenses, engineering software and workstations, design patents associated with the upgrade program
and other costs associated with the advancement of Stavatti Aerospace. The cost of acquiring land at the
Vinnytsia International Airport in support of the future construction of a Stavatti aircraft production,
assembly and maintenance support plant will also be addressed as Stavatti Ukraine Business Develop-
ment Costs. A table summarizing the Total Business Plan Use-of-Funds is provided:


                       SM-29 BUSINESS PLAN TOTAL USE-OF-FUNDS

   PROGRAM EXPENSES                                                       COST               PERCENT

   Acquisition of MiG-29s From Air USA                              $6,150,000                  15.38%
   MiG-29 Upgrade                                                  $20,000,000                  50.00%
   Remodeling of USARC Facility                                       $550,000                   1.38%
   Purchase Bell Plant                                                $500,000                   1.25%
   Ukraine Land and Facility                                        $1,200,000                   3.00%
   Facility Costs & Utilities                                         $400,000                   1.00%
   Machinery & Equipment                                            $3,000,000                   7.50%
   Software & Workstations                                            $350,000                   0.88%
   Marketing & Advertising                                            $775,000                   1.94%
   Payroll                                                          $3,000,000                   7.50%
   Benefits & Insurance                                               $925,000                   2.31%
   Flight Test & Demonstration                                        $500,000                   1.25%
   General & Administrative Costs                                     $650,000                   1.63%
   Contingency & Miscellaneous                                      $2,000,000                   5.00%

   TOTAL COST                                                      $40,000,000                 100.00%




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FINANCIAL PROJECTIONS

Stavatti predicts sales of over 540 SM-29E/F Super Fulcrum aircraft upgrades worldwide. Those sales
will produce approximately $12.15 Billion in revenue and net earnings after expenses and before taxes of
over $1.174 Billion over 10 to 12 production years. With a total development cost of approximately $40
Million, the net Return On Investment (ROI) for the SM-29 Super Fulcrum Development Program is esti-
mated at 3,085% (30.85 fold).

Total direct employment associated with SM-29 upgrade program will realize over 254, including approxi-
mately 50 salaried aerospace professionals during peak production and over 204 aerospace machinists
and assembly workers during full rate production. Although projections focus on production through 2035,
if the program is very successful, the SM-29 upgrade service could be provided for 20 years resulting in
the upgrade of 1,000 aircraft out of the over 1,600 originally produced. The SM-29 upgrade program
could realize total revenues of over $15 Billion from upgrade services alone.

Financial projections for the development and production years 2022-2033 are presented in $ USD. Pro-
jections include a summary chart, summary tables, and projected Income and Balance Sheets. Also
included is a summary projection of annual program employment. The projections focus primarily on what
Stavatti considers as the “Probable Case” corresponding to the sale of 540 aircraft over the first 10 pro-
duction years. Projections do not account for advance payments on air vehicle systems ordered during
development years that will manifest a backlog. Financial projections consider only generation of revenue
through aircraft sales. Reaching beyond production, additional long-term revenue will be generated
through the provision of SM-29 Super Fulcrum, support equipment, training, ordnance, ammunition,
munitions and contractor logistical support. Revenues and earnings associated with the provision of
spares and customer support to all SM-29 customers over the course of SM-29 operational life are not
included in the projections. Additional forms of revenue, including the provision of Dissimilar Air Combat
Training (DACT) services through Stavatti Air USA using Stavatti owned SM-29 aircraft is not considered.

All financial projections represent earnings before taxes and without depreciation. As an upgrade pro-
gram for aircraft operated by Air Forces throughout the world, the SM-29 upgrade may be performed in a
variety of nations including Ukraine, Poland, India and other countries that operate the MiG-29. As the
corporate tax structures and business development incentives vary from state-to-state and nation-to-
nation, no single specific tax rate upon earnings has been applied to the given projections. All projections
assume a production rate based upon Stavatti’s SM-29 market projections based upon global MiG-29
inventories as reported by Flight Global, Jane’s, the Teal Group and other sources. Income Statement
and Balance Sheet forecasts combine all Demonstrator, Prototype and Production Program Costs into
First Year costs thus consolidating total development and extended production expense costs.

SM-29 PROGRAM FINANCIAL PROJECTIONS: 2022-2033



        Program Revenue                                                                        $12.15 Billion




    Program Gross Margin                   $1.485 Billion




       Program Net Profit               $1.234 Billion

                                                                   3,085% Return on Investment (30.85 Fold)

Development Program Cost         $40 Million



                            $0    $2B            $4B         $6B      $8B      $10B    $12B     $14B            $16B



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                SM-29 SUPER FULCRUM PRODUCTION PROJECTIONS

   PRODUCTION PROJECTION ELEMENT                                                    VALUE

   Demonstration Time-Frame:                                                     2022-2023
   Prototype Time-Frame:                                                         2022-2023
   Low Rate Initial Production Time-Frame:                                       2024-2025
   Full-Rate Production Time-Frame:                                              2025-2033
   Minimum Number of Full-Rate Production Years:                                        12

   Annual Full-Rate Production Rate:                                                    50
   Total Number of Aircraft Produced at Full Rate Production:                          540
   Mean Number of Salaried Personnel Employed at Full-Production:                       50
   Mean Number of Hourly Production Personnel at Full-Production:                      204
   Mean Direct Employment at Full-Rate Production:                                     254
   Mean Indirect Employment at Full-Rate Production:                                 1,271

   Total Aircraft Sold/Delivered to End Users:                                         540
   Total Program Revenues (Based on Total Aircraft Sold):                  $12,150,000,000
   Total Program Gross Margin (Before Expenses):                            $1,485,000,000
   Total Production Expenses:                                                $251,000,000
   Total Program Net Earnings (EBIT)                                        $1,234,000,000

   Demonstrator Program Cost (Round A):                                        $10,000,000
   Prototype Program Cost (Round B):                                           $30,000,000
   Total Development Program Cost:                                             $40,000,000
   Return-On-Investment (ROI):                                          30.85-Fold (3,085%)



           SM-29 SUPER FULCRUM UNIT AIRCRAFT UPGRADE FORECASTS

     YEAR          ANNUAL UPGRADES                 TOTAL UPGRADES   DIRECT EMPLOYMENT

      2022                  5                                5             54
      2023                  35                              40             176
      2024                  50                              90             229
      2025                  50                              140            254
      2026                  50                              190            254
      2027                  50                              240            254
      2028                  50                              290            254
      2029                  50                              340            254
      2030                  50                              390            254
      2031                  50                              440            254
      2032                  50                              490            254
      2033                  50                              540            254
      2034                  0                                0              0
      2035                  0                                0              0
      2036                  0                                0              0
      2037                  0                                0              0
      2038                  0                                0              0
      2039                  0                                0              0
      2040                  0                                0              0
      2041                  0                                0              0
      2042                  0                                0              0
      2043                  0                                0              0
      2044                  0                                0              0
      2045                  0                                0              0
      2046                  0                                0              0

    TOTAL                   540                             540            254




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            SM-29 PROGRAM PROBABLE CASE FINANCIAL FORECASTS

  YEAR            REVENUE       NET INCOME            ASSETS        EXPENSES      LIABILITIES

  2022          $112,500,000     $13,750,000       $31,324,999              $0    $26,250,000
  2023         $787,500,000      $83,250,000       $88,574,998     $13,000,000             $0
  2024        $1,125,000,000    $124,500,000     $213,324,997      $13,000,000             $0
  2025        $1,125,000,000    $112,500,000     $326,074,996      $25,000,000             $0
  2026        $1,125,000,000    $112,500,000     $438,824,995      $25,000,000             $0
  2027        $1,125,000,000    $112,500,000     $551,574,994      $25,000,000             $0
  2028        $1,125,000,000    $112,500,000     $664,324,993      $25,000,000             $0
  2029        $1,125,000,000    $112,500,000     $777,074,992      $25,000,000             $0
  2030        $1,125,000,000    $112,500,000     $889,824,991      $25,000,000             $0
  2031        $1,125,000,000    $112,500,000    $1,002,574,990     $25,000,000             $0
  2032        $1,125,000,000    $112,500,000    $1,115,324,989     $25,000,000             $0
  2033        $1,125,000,000    $112,500,000    $1,228,074,988     $25,000,000             $0
  2034                    $0              $0                $0              $0             $0
  2035                    $0              $0                $0              $0             $0
  2036                    $0              $0                $0              $0             $0
  2037                    $0              $0                $0              $0             $0
  2038                    $0              $0                $0              $0             $0
  2039                    $0              $0                $0              $0             $0
  2040                    $0              $0                $0              $0             $0
  2041                    $0              $0                $0              $0             $0
  2042                    $0              $0                $0              $0             $0
  2043                    $0              $0                $0              $0             $0
  2044                    $0              $0                $0              $0             $0
  2045                    $0              $0                $0              $0             $0
  2046                    $0              $0                $0              $0             $0

  TOTAL      $12,150,000,000   $1,234,000,000   $1,228,074,988    $251,000,000            $0

  YEAR      GROSS MARGIN        NET WORTH        ANNUAL EBIT     ACCUM. EBIT             ROI

  2022          $13,750,000        $5,074,999     $13,750,000       $13,750,000          34%
  2023          $96,250,000       $88,574,998     $83,250,000       $97,000,000         243%
  2024         $137,500,000     $213,324,997     $124,500,000     $221,500,000          554%
  2025         $137,500,000     $326,074,996     $112,500,000     $334,000,000          835%
  2026         $137,500,000     $438,824,995     $112,500,000     $446,500,000        1,116%
  2027         $137,500,000     $551,574,994     $112,500,000     $559,000,000        1,398%
  2028         $137,500,000     $664,324,993     $112,500,000     $671,500,000        1,679%
  2029         $137,500,000     $777,074,992     $112,500,000     $784,000,000        1,960%
  2030         $137,500,000     $889,824,991     $112,500,000     $896,500,000        2,241%
  2031         $137,500,000    $1,002,574,990    $112,500,000    $1,009,000,000       2,523%
  2032         $137,500,000    $1,115,324,989    $112,500,000    $1,121,500,000       2,804%
  2033         $137,500,000    $1,228,074,988    $112,500,000    $1,234,000,000       3,085%
  2034                   $0                $0              $0                $0           0%
  2035                   $0                $0              $0                $0            $0
  2036                   $0                $0              $0                $0            $0
  2037                   $0                $0              $0                $0            $0
  2038                   $0                $0              $0                $0            $0
  2039                   $0                $0              $0                $0            $0
  2040                   $0                $0              $0                $0            $0
  2041                   $0                $0              $0                $0            $0
  2042                   $0                $0              $0                $0            $0
  2043                   $0                $0              $0                $0            $0
  2044                   $0                $0              $0                $0            $0
  2045                   $0                $0              $0                $0            $0
  2046                   $0                $0              $0                $0            $0

  TOTAL       $1,485,000,000   $1,228,074,988   $1,234,000,000   $1,234,000,000       3,085%



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                  SM-29 CONSOLIDATED INCOME STATEMENT FORECAST

  YEAR ENDED                                   YR 1                   YR 2                YR 3             YR 4

  REVENUES
  Revenue From Sales                 $112,500,000           $787,500,000         $1,125,000,000   $1,125,000,000
  Other Revenue                                $0                     $0                     $0               $0

  Cost of Sales                        $98,750,000          $691,250,000          $987,500,000     $987,500,000

  GROSS MARGIN                         $13,750,000            $96,250,000         $137,500,000     $137,500,000

  EXPENSES
  Research & Development               $26,600,000              $500,000             $500,000         $750,000
  Salaries & Benefits                   $3,900,000             $4,912,500           $4,912,500       $9,825,000
  Utilities                             $1,000,000              $262,500             $262,500         $262,500
  Machinery & Equipment                 $4,925,000             $5,615,385           $5,615,385      $11,000,000
  Marketing & Advertising               $1,025,000              $700,000             $700,000        $1,000,000
  General & Administrative              $2,550,000             $1,009,615           $1,009,615       $2,162,500

  TOTAL EXPENSES                       $40,000,000            $13,000,000          $13,000,000      $25,000,000

  Earnings Before Taxes              ($26,250,000)            $83,250,000         $124,500,000     $112,500,000
  DY: Development Year; LRIP: Low Rate Initial Production; YR: Production Year




                   SM-29 CONSOLIDATED BALANCE SHEET FORECAST

  YEAR ENDED                                   YR 1                   YR 2                YR 3             YR 4

  ASSETS

  Cash and Equivalents                 $35,075,000            $42,459,615          $49,844,230      $63,844,230
  Accounts Receivable                           $0                     $0                   $0               $0
  Inventory                                     $0                     $0                   $0               $0
  Prepaid Expenses                              $0                     $0                   $0               $0

  Fixed & Tangible Assets               $4,925,000            $10,540,385          $16,155,770      $27,155,770

  TOTAL ASSETS                         $40,000,000            $53,000,000          $66,000,000      $91,000,000

  LIABILITIES & EQUITY

  Liabilities
  Accounts Payable                   ($85,000,000)         ($595,000,000)        ($850,000,000)   ($850,000,000)
  Short & Long Term Debt                        $0                     $0                    $0               $0
  Other Liabilities                             $0                     $0                    $0               $0

  TOTAL LIABILITIES                  ($85,000,000)         ($595,000,000)        ($850,000,000)   ($850,000,000)

  Shareholder’s Equity
  Capital Stock                      $125,000,000           $564,750,000          $708,250,000     $620,750,000
  Retained Earnings                            $0            $83,250,000          $207,750,000     $320,250,000

  TOTAL EQUITY                       $125,000,000           $648,000,000          $916,000,000     $941,000,000

  TOTAL LIAB & EQUITY                  $40,000,000            $53,000,000          $66,000,000      $91,000,000

  DY: Development Year; LRIP: Low Rate Initial Production; YR: Production Year




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                  SM-29 CONSOLIDATED INCOME STATEMENT FORECAST

  YEAR ENDED                                   YR 5                   YR 6                YR 7             YR 8

  REVENUES
  Revenue From Sales               $1,125,000,000         $1,125,000,000         $1,125,000,000   $1,125,000,000
  Other Revenue                                $0                     $0                     $0               $0

  Cost of Sales                      $987,500,000           $987,500,000          $987,500,000     $987,500,000

  GROSS MARGIN                       $137,500,000           $137,500,000          $137,500,000     $137,500,000

  EXPENSES
  Research & Development                 $750,000               $750,000             $750,000         $750,000
  Salaries & Benefits                   $9,825,000             $9,825,000           $9,825,000       $9,825,000
  Utilities                              $262,500               $262,500             $262,500         $262,500
  Machinery & Equipment                $11,000,000            $11,000,000          $11,000,000      $11,000,000
  Marketing & Advertising               $1,000,000             $1,000,000           $1,000,000       $1,000,000
  General & Administrative              $2,162,500             $2,162,500           $2,162,500       $2,162,500

  TOTAL EXPENSES                       $25,000,000            $25,000,000          $25,000,000      $25,000,000

  Earnings Before Taxes              $112,500,000           $112,500,000          $112,500,000     $112,500,000
  DY: Development Year; LRIP: Low Rate Initial Production; YR: Production Year




                   SM-29 CONSOLIDATED BALANCE SHEET FORECAST

  YEAR ENDED                                   YR 5                   YR 6                YR 7             YR 8

  ASSETS

  Cash and Equivalents                 $77,844,230            $91,844,230         $105,844,230     $119,844,230
  Accounts Receivable                           $0                     $0                   $0               $0
  Inventory                                     $0                     $0                   $0               $0
  Prepaid Expenses                              $0                     $0                   $0               $0

  Fixed & Tangible Assets              $38,155,770            $49,155,770          $60,155,770      $71,155,770

  TOTAL ASSETS                       $116,000,000           $141,000,000          $166,000,000     $191,000,000

  LIABILITIES & EQUITY

  Liabilities
  Accounts Payable                  ($850,000,000)         ($850,000,000)        ($850,000,000)   ($850,000,000)
  Short & Long Term Debt                        $0                     $0                    $0               $0
  Other Liabilities                             $0                     $0                    $0               $0

  TOTAL LIABILITIES                 ($850,000,000)         ($850,000,000)        ($850,000,000)   ($850,000,000)

  Shareholder’s Equity
  Capital Stock                      $533,250,000           $445,750,000          $358,250,000     $270,750,000
  Retained Earnings                  $432,750,000           $545,250,000          $657,750,000     $770,250,000

  TOTAL EQUITY                       $966,000,000           $991,000,000         $1,016,000,000   $1,041,000,000

  TOTAL LIAB & EQUITY                $116,000,000           $141,000,000          $166,000,000     $191,000,000

  DY: Development Year; LRIP: Low Rate Initial Production; YR: Production Year




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STAVATTI™                                           PROPRIETARY                                             SM-29



                  SM-29 CONSOLIDATED INCOME STATEMENT FORECAST

  YEAR ENDED                                   YR 9                 YR 10                YR 11            YR 12

  REVENUES
  Revenue From Sales               $1,125,000,000         $1,125,000,000         $1,125,000,000   $1,125,000,000
  Other Revenue                                $0                     $0                     $0               $0

  Cost of Sales                      $987,500,000           $987,500,000          $987,500,000     $987,500,000

  GROSS MARGIN                       $137,500,000           $137,500,000          $137,500,000     $137,500,000

  EXPENSES
  Research & Development                 $750,000               $750,000             $750,000         $750,000
  Salaries & Benefits                   $9,825,000             $9,825,000           $9,825,000       $9,825,000
  Utilities                              $262,500               $262,500             $262,500         $262,500
  Machinery & Equipment                $11,000,000            $11,000,000          $11,000,000      $11,000,000
  Marketing & Advertising               $1,000,000             $1,000,000           $1,000,000       $1,000,000
  General & Administrative              $2,162,500             $2,162,500           $2,162,500       $2,162,500

  TOTAL EXPENSES                       $25,000,000            $25,000,000          $25,000,000      $25,000,000

  Earnings Before Taxes              $112,500,000           $112,500,000          $112,500,000     $112,500,000
  DY: Development Year; LRIP: Low Rate Initial Production; YR: Production Year




                   SM-29 CONSOLIDATED BALANCE SHEET FORECAST

  YEAR ENDED                                   YR 9                  YR 10               YR 11            YR 12

  ASSETS

  Cash and Equivalents               $133,844,230           $147,844,230          $161,844,230     $175,844,230
  Accounts Receivable                          $0                     $0                    $0               $0
  Inventory                                    $0                     $0                    $0               $0
  Prepaid Expenses                             $0                     $0                    $0               $0

  Fixed & Tangible Assets              $82,155,770            $93,155,770         $104,155,770     $115,155,770

  TOTAL ASSETS                       $216,000,000           $241,000,000          $266,000,000     $291,000,000

  LIABILITIES & EQUITY

  Liabilities
  Accounts Payable                  ($850,000,000)         ($850,000,000)        ($850,000,000)   ($850,000,000)
  Short & Long Term Debt                        $0                     $0                    $0               $0
  Other Liabilities                             $0                     $0                    $0               $0

  TOTAL LIABILITIES                 ($850,000,000)         ($850,000,000)        ($850,000,000)   ($850,000,000)

  Shareholder’s Equity
  Capital Stock                      $183,250,000            $95,750,000             $8,250,000    ($79,250,000)
  Retained Earnings                  $882,750,000           $995,250,000         $1,107,750,000   $1,220,250,000

  TOTAL EQUITY                     $1,066,000,000         $1,091,000,000         $1,116,000,000   $1,141,000,000

  TOTAL LIAB & EQUITY                $216,000,000           $241,000,000          $266,000,000     $291,000,000

  DY: Development Year; LRIP: Low Rate Initial Production; YR: Production Year




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                                  SM-29 DIRECT LABOR FORECASTS

 YEAR      MANAGEMENT        ENGINEER       FLIGHT       ADMIN      SALES        CLS      PRODUCTION       TOTAL
              TEAM             TEAM          TEST        TEAM       TEAM        TEAM         TEAM       EMPLOYMENT
                                                                                                             54
 2022             5              5            5            3           2          5             29          176
 2023             5              5            5            3           2          5             151         229
 2024             5              5            5            3           2          5             204         254
 2025             5              10           10           10          5          10            204         254
 2026             5              10           10           10          5          10            204         254
 2027             5              10           10           10          5          10            204         254
 2028             5              10           10           10          5          10            204         254
 2029             5              10           10           10          5          10            204         254
 2030             5              10           10           10          5          10            204         254
 2031             5              10           10           10          5          10            204         254
 2032             5              10           10           10          5          10            204         254
 2033             5              10           10           10          5          10            204          0
 2034             0              0            0            0           0          0              0           0
 2035             0              0            0            0           0          0              0           0
 2036             0              0            0            0           0          0              0           0
 2037             0              0            0            0           0          0              0           0
 2038             0              0            0            0           0          0              0           0
 2039             0              0            0            0           0          0              0           0
 2040             0              0            0            0           0          0              0           0
 2041             0              0            0            0           0          0              0           0
 2042             0              0            0            0           0          0              0           0
 2043             0              0            0            0           0          0              0           0
 2044             0              0            0            0           0          0              0           0
 2045             0              0            0            0           0          0              0           0
 2046             0              0            0            0           0          0              0

 Employment Projections assume that aircraft upgrades corresponds with unit upgrade forecasts


                               SM-29 UPGRADE LABOR BY FUNCTION

 YEAR       AIRCRAFT        AIRCRAFT        AIRCRAFT         SYSTEMS           PAINT &          OTHER     TOTAL
            ASSEMBLY        MACHINIST       MECHANIC        TECHNICIAN       COMPLETION         LABOR   PRODUCTION

 2022            11              5                 4              3                3             2          29
 2023            60              27                23             18               14            9         151
 2024            82              37                31             25               18            12        204
 2025            82              37                31             25               18            12        204
 2026            82              37                31             25               18            12        204
 2027            82              37                31             25               18            12        204
 2028            82              37                31             25               18            12        204
 2029            82              37                31             25               18            12        204
 2030            82              37                31             25               18            12        204
 2031            82              37                31             25               18            12        204
 2032            82              37                31             25               18            12        204
 2033            82              37                31             25               18            12        204
 2034            0               0                 0              0                0             0          0
 2035            0               0                 0              0                0             0          0
 2036            0               0                 0              0                0             0          0
 2037            0               0                 0              0                0             0          0
 2038            0               0                 0              0                0             0          0
 2039            0               0                 0              0                0             0          0
 2040            0               0                 0              0                0             0          0
 2041            0               0                 0              0                0             0          0
 2042            0               0                 0              0                0             0          0
 2043            0               0                 0              0                0             0          0
 2044            0               0                 0              0                0             0          0
 2045            0               0                 0              0                0             0          0
 2046            0               0                 0              0                0             0          0


 Employment Projections assume that aircraft upgrades corresponds with unit upgrade forecasts




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FUNDING AND CAPITALIZATION

Stavatti is offering investors the opportunity to participate in the funding of Rounds A and B of this Busi-
ness Plan by offering two classes of royalty/equity investment interests in the company and project. The
Class A Offering will fund the $10 Million Round A Demonstrator Phase. The Class B Offering will fund
the $30 Million Round B Prototype Phase.

All Offerings will assign the investor(s) a percent royalty in the Revenues associated with the Sales and
Earnings of SM-29 Super Fulcrum MiG-29 upgrades and any and all subsequent spare parts and support
equipment thereof. The royalty will be a direct percentage position corresponding to the Gross Revenues
(“Revenues”) of the provision of SM-29 Super Fulcrum upgrades associated with any Stavatti SM-29 spe-
cific production operations company (“Stavatti Super Fulcrum Ltd or similar). The Offering may also
assign, with no additional cost, an equity ownership position in Stavatti Aerospace Ltd and/or any busi-
ness operations company (“Stavatti Super Fulcrum Ltd”) for the production and/or sale of the SM-29
Upgrade. This structure allows investors to receive a Return On Investment (ROI) in the form of a royalty
from the provision of SM-29 upgrades regardless of their equity ownership in Stavatti or if production is
performed by an alternate Stavatti company.

Under the proposed offering plan plan, Investors in each Funding Round will receive a Percent Royalty
position earning them Royalties from the Gross Revenues associated with each aircraft sold. Round A
investors will collectively receive a 2.03% Royalty on all Revenues associated with SM-29 upgrades as
well as up to 20% equity ownership of the hypothetical new company tentatively called “Stavatti Super
Fulcrum Ltd,” if organized. Round B investors will collectively receive a 2.54% Royalty on all Revenues
associated with SM-29 upgrades as well as up to 25% equity ownership of the hypothetical new company
tentatively called “Stavatti Super Fulcrum Ltd,” if organized. In the event the project is conducted entirely
as a wholly owned division of Stavatti Aerospace Ltd, Investors will receive a Royalty derived specifically
from, and limited to, the Revenues of the SM-29 Super Fulcrum Division of Stavatti Aerospace Ltd. Inves-
tors may also receive an equity ownership position in Stavatti Aerospace Ltd, however, that position must
be negotiated based upon an evaluation of the corresponding revenues of Stavatti that are beyond the
scope of SM-29 upgrades. A table presenting the proposed Business Capitalization Structure is provided:


         SM-29 SUPER FULCRUM BUSINESS CAPITALIZATION STRUCTURE

                                         Percent       Percent           Investor Royalty &          ROI
 Class     Category      Investment
                                         Equity        Royalty       Return On Investment (ROI)      Fold


   A      1st Round                                                                                 24.68 x
                        $10,000,000       20.0%        2.03%               $246,800,000
          Investors                                                                               Investment


   B      2nd Round                                                                                 10.28 x
                        $30,000,000       25.0%        2.54%               $308,500,000
           Investors                                                                              Investment


                                                                                                    13.88 x
 A& B       TOTAL       $40,000,000       45.0%        4.57%               $555,300,000
                                                                                                  Investment


RETURN ON INVESTMENT

As a for-profit, commercial enterprise, Stavatti is focused upon providing a competitive ROI to all inves-
tors. Stavatti designed, developed and produced products that benefit from a lean program while employ-
ing commercial practices are engineered on a program level to provide competitive ROIs over production
life. For the SM-29 program, ROIs are derived directly from percent Royalties paid on the Revenues
associated with SM-29 upgrades or the Revenues associated with Stavatti Super Fulcrum Ltd as a Reve-
nue generating, for-profit corporation. Providing projections of anticipated Financial Distributions and
Returns on Investment (ROIs) for Investor/Shareholders, Return on Investment Tables for the provision
of 76 SM-29 aircraft upgrades to the Ukrainian Air Force (UAF) as well as 5 years (corresponding to 490
aircraft upgrades worldwide) and 12 years (corresponding to 540 upgrades worldwide) are provided:


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           RETURN ON INVESTMENT: 3 YEARS (76 UAF SM-29 UPGRADES)
                      SM-29 Upgrade      Percent   Percent       Investor Royalty &         ROI
Class   Category
                     Revenues (Accum.)   Equity    Royalty   Return On Investment (ROI)     Fold

        1st Round                                                                            3.29 x
  A                    $1,620,000,000     20%       2.03%             $32,906,667
        Investors                                                                         Investment

        2nd Round                                                                            1.37 x
  B                    $1,620,000,000     25%       2.54%             $41,133,333
         Investors                                                                        Investment

                                                                                             1.85 x
A& B       TOTAL       $1,620,000,000     45%       4.57%             $74,040,000
                                                                                          Investment




             RETURN ON INVESTMENT: 5 YEARS (140 SM-29 UPGRADES)
                      SM-29 Upgrade      Percent   Percent       Investor Royalty &         ROI
Class   Category
                     Revenues (Accum.)   Equity    Royalty   Return On Investment (ROI)     Fold

        1st Round                                                                            8.68 x
  A                    $4,275,000,000     20%       2.03%             $86,837,037
        Investors                                                                         Investment

        2nd Round                                                                            3.62 x
  B                    $4,275,000,000     25%       2.54%            $108,546,296
         Investors                                                                        Investment

                                                                                             4.88 x
A& B       TOTAL       $4,275,000,000     45%       4.57%            $195,383,333
                                                                                          Investment



            RETURN ON INVESTMENT: 10 YEARS (390 SM-29 UPGRADES)
                      SM-29 Upgrade      Percent   Percent       Investor Royalty &         ROI
Class   Category
                     Revenues (Accum.)   Equity    Royalty   Return On Investment (ROI)     Fold

        1st Round                                                                           20.11 x
  A                    $9,900,000,000     20%       2.03%           $201,096,296
        Investors                                                                         Investment

        2nd Round                                                                            8.38 x
  B                    $9,900,000,000     25%       2.54%            $251,370,370
         Investors                                                                        Investment

                                                                                            11.31 x
A& B       TOTAL       $9,900,000,000     45%       4.57%            $452,466,667
                                                                                          Investment



            RETURN ON INVESTMENT: 13 YEARS (540 SM-29 UPGRADES)
                      SM-29 Upgrade      Percent   Percent       Investor Royalty &         ROI
Class   Category
                     Revenues (Accum.)   Equity    Royalty   Return On Investment (ROI)     Fold

        1st Round                                                                           24.68 x
  A                   $12,150,000,000     20%       2.03%           $246,800,000
        Investors                                                                         Investment

        2nd Round                                                                           10.28 x
  B                   $12,150,000,000     25%       2.54%            $308,500,000
         Investors                                                                        Investment

                                                                                            13.88 x
A& B       TOTAL      $12,150,000,000     45%       4.57%            $555,300,000
                                                                                          Investment




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ROYALTIES

Stavatti is offering Royalties to be earned from the Gross Revenues (Revenues) from the sale of prod-
ucts and provision of services associated with this business plan. The Royalties may be associated
directly with the Revenues of a specific product line or the Revenues of Stavatti Aerospace Ltd as a cor-
porate entity. The Royalty structure provides a direct link between the revenues of the program, product
or company and investor Return on Investment (ROI). The Royalty structure is governed by a Royalty
Agreement. Royalty Certificates may be issued in accordance with the Royalty Agreement. Royalty certifi-
cates may potentially be transferable to external third parties in accordance with the terms of a Royalty
Agreement and the regional laws governing the agreement, serving as a possible investor exit strategy.
Such an exit strategy may ultimately be provided through a Royalty Exchange which in principal may
function as a brokerage/exchange for business and project Royalty Earnings Certificates.

DIVIDENDS

The Stavatti Board of Directors may elect to issue and distribute dividends as a mechanism to provide a
direct ROI to shareholders in lieu of a Royalty. Dividends may be issued to shareholders from the non-
retained earnings of the company. The manner of payment of Dividends will be structured by the board of
directors. Dividends will be paid based directly upon the proportion of equity ownership owned by a
shareholder. Dividends will be paid in cash, by either check or direct deposit, or in a manner as desired,
specified and negotiated by the shareholder. Stavatti may issue dividend payments to shareholders for
as long as shareholders remain shareholders of the corporation. In the event shareholders wish to divest
or otherwise sell their stock or equity position with the expectation of a satisfactory ROI, non-retained
earnings may be used to buy-back the shareholder equity. This buy-back would likely occur in the form of
either a lump-sum payment or for shareholders seeking greater earnings, a structured buy-out whereby
the equity would be purchased by Stavatti at an agreed to or negotiated value. From the standpoint of
taxation, Stavatti and shareholders alike to have a comprehensive knowledge of the taxation associated
with dividends and the most appropriate way for Stavatti to manage retained earnings, net profits and div-
idends within local tax environments.

PRIME CONTRACTOR ACQUISITION OF STAVATTI

After a Stavatti aerospace vehicle enters production and establishes a consistent revenue stream, that
project or division of Stavatti will likely become an attractive target for acquisition by a larger, established
aerospace defense prime contractor such as Lockheed Martin, Northrop Grumman, Boeing, General
Dynamics or the Carlyle Group. All of these large aerospace defense conglomerates are known for buy-
ing and selling aircraft and airframe manufacturers. The successful production of a Stavatti product could
lend itself to an acquisition that would provide the ROI which investors desire. In so doing, that product
line, or division or perhaps even Stavatti company could be acquired by the external buyer for a purchase
price that is considered acceptable to Stavatti shareholders and strategic partners.

INITIAL PUBLIC OFFERING (IPO)

Combining an ROI with an investor exit strategy, Stavatti Aerospace Ltd or a Stavatti joint venture enter-
prise may “Go Public” by conducting an Initial Public Offering (IPO). After a Stavatti aerospace vehicle
enters production and establishes a consistent revenue stream, Stavatti would be positioned to become a
Publicly Traded Company, in whole or in-part. Stavatti Aerospace Ltd. could potentially serve as the Pub-
licly Traded Stavatti enterprise, trading on the NYSE, or alternatively only a specific manufacturing divi-
sion of the Stavatti enterprise, may “go public.” Becoming a publicly traded company would provide a
direct mechanism by which investors, shareholders and strategic partners could obtain a definite ROI.

ROI SUMMARY

There are a variety of mechanisms by which Stavatti can provide a clearly defined and highly competitive
Return on Investment to investors, shareholders or strategic partners. Stavatti has the advantage of
being both open and flexible with regard to working with investors and strategic partners to provide an
ROI mechanism that meets their financial goals. In so doing, Stavatti will not only be a manufacturer of
some of the best aircraft, but one of the world’s best investment opportunities.


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Aircraft: SM-29 Super Fulcrum                                                               SM-29 SUPER FULCRUM
Company: Stavatti Super Fulcrum Ltd
Parent Company: Stavatti Aerospace Ltd                                                     RETURN ON INVESTMENT
$40 Million Investment = $12.15 Billion in Revenues = 13.8 x Return
The SM-29 Super Fulcrum will be developed by Stavatti as a comprehensive upgrade to
existing MiG-29 Fulcrum Aircraft worldwide. Performed by Stavatti Aerospace Ltd or a
new joint-venture aerospace company known as “Stavatti Super Fulcrum Ltd” that will be
owned in-part by investor/strategic partners and in-part by Stavatti Aerospace, Stavatti is
offering Equity Ownership as well as Percent Royalties to be paid from Project Gross
Revenues to provide a Return On Investment (ROI) to project/company investors. ROI
projections associated with proposed equity ownership for specific investment amounts
are provided. All ROI projections are, non-binding speculative estimates and have not
been subject to 3rd party external valuation. Final Equity Ownership and Royalty values
will be specified as Negotiated and Agreed-To within a project Funding Agreement.

INVESTMENT                       EQUITY       ROYALTY         RETURN ($)          ROI (Times)                    YEAR #       20% Equity Return     45% Equity Return

$1,000,000                        2.00%          0.20%       $24,680,000                24.68 x                  1                   $2,285,185            $5,141,667
$5,000,000                       10.00%          1.02%      $123,400,000                24.68 x                  2                  $18,281,481           $41,133,333
$10,000,000                      20.00%          2.03%      $246,800,000                24.68 x                  3                  $41,133,333           $92,550,000
$15,000,000                      24.17%          2.45%      $298,216,667                19.88 x                  4                  $63,985,185          $143,966,667
$20,000,000                      28.33%          2.88%      $349,633,333                17.48 x                  5                  $86,837,037          $195,383,333
$25,000,000                      32.50%          3.30%      $401,050,000                16.04 x                  7                 $132,540,741          $298,216,667
$30,000,000                      36.67%          3.72%      $452,466,667                15.08 x                  10                $201,096,296          $452,466,667
$35,000,000                      40.83%          4.15%      $503,883,333                14.40 x                  12                $246,800,000          $555,300,000
$40,000,000                      45.00%          4.57%      $555,300,000                13.88 x

                             STAVATTI SM-29 EQUITY OWNERSHIP                                                      STAVATTI SM-29 RETURN ON INVESTMENT
                             Investment to 45% Equity Ownership                                                      For An Investment Up To $40 Million
            50%                                                                                     $600M

            45%
                                                                                                    $500M
            40%

            35%
                                                                                                    $400M
            30%
                                                                                        RETURN($)
EQUITY(%)




            25%                                                                                     $300M

            20%
                                                                                                    $200M
            15%

            10%
                                                                                                    $100M
                5%

                0%                                                                                     $0
                     $0    $5M   $10M $15M   $20M $25M $30M $35M      $40M $45M                             $0    $5M     $10M $15M $20M $25M     $30M $35M $40M    $45M

                                          INVESTMENT($)                                                                           INVESTMENT($)



                          SM-29 SUPER FULCRUM BUSINESS CAPITALIZATION STRUCTURE

      Class                                                     Percent          Cumulative                 Percent           Investor Royalty &             ROI
                           Category          Investment                                                     Royalty                                          Fold
                                                                Equity             Equity                                            ROI

                           1st Round                                                                                                                        24.68 x
            A                                 $10,000,000        20.0%               15.0%                   2.03%                  $246,800,000
                           Investors                                                                                                                      Investment

                          2nd Round                                                                          2.54%                                          10.28 x
            B                                 $30,000,000        25.0%               45.0%                                           $308,500,00
                           Investors                                                                                                                      Investment

                                                                                                                                    $555,300,000           13.88 x
      A& B                  TOTAL             $40,000,000        45.0%              45.0%                    4.57%
                                                                                                                                                         Investment

NOTE: Equity & Royalty will be in/from Stavatti Super Fulcrum Ltd (a to be organized C corporation)




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                                             X. RISK FACTORS


AN INVESTMENT IN STAVATTI IS SPECULATIVE AND INVOLVES A HIGH DEGREE OF FINANCIAL
RISK. ACCORDINGLY, PROSPECTIVE INVESTORS SHOULD CONSIDER ALL OF THE RISK FAC-
TORS DESCRIBED. IF YOU INVEST IN STAVATTI, YOU MAY LOSE ALL OF YOUR MONEY AS ASSO-
CIATED WITH THIS INVESTMENT.

AIRCRAFT MANUFACTURING OPERATIONS

The creation of a new aircraft manufacturer is a highly speculative activity that may be marred by numer-
ous unproductive efforts. The Research, Development, Testing and Evaluation associated with the cre-
ation of prototype, state-of-the-art military and civil aircraft entails extreme risk and enormous associated
cost and time requirements. Aircraft prototypes may not perform as designed, nor demonstrate the
design requirements as specified. Aircraft prototypes may crash or otherwise be destroyed, causing injury
or death to its operator and/or bystanders and new aircraft types may be subject to extreme delays, if not
inability, to attain FAA type and production certification.

Large levels of funds may be allocated to a prototype development program that results in a nonfunction-
al aircraft type. In the event a prototype evolves to become a production ready, qualified and certified
configuration, the cost associated with the production and/or associated production costs (including
assembly wages, product liability insurance, etc.) may preclude the profitable production of any sellable
units. In the event an aircraft is ready and able for sale, there exists no guarantee that a significant vol-
ume of interested customers exists to purchase the product in the volumes necessary to facilitate the
generation of net profits.

The production of an aircraft does not necessarily assure the recovery of the costs expended in develop-
ing that aircraft. Due to the highly regulated nature of the aircraft industry, there is no guarantee that a
producer will be granted an export license, permanent or temporary, from the U.S. Department of State to
export the said product. Furthermore, political action undertaken by governments and government agen-
cies both foreign and domestic may establish an environment that is not conducive to new or continued
operations within the aerospace industry. A potential for significant political risk exists with this invest-
ment. There is no guarantee that pilots and other customers will be interested in specific products or
select to purchase examples of specific products. The aircraft manufacturing industry involves a high
degree of risk and a potential for loss.

RESTRICTIONS ON TRANSFERABILITY OF UNITS

No market for the Units of Common Stock, nor for any securities of Stavatti, presently exists or is expect-
ed to develop. Units are only suitable for purchase as a long term investment, and a purchaser of Units
offered pursuant to this offering must bear the economic risk of the investment for an indefinite period of
time. The Units represent shares of private equity stock in Stavatti which may or may not be subject to an
Initial Public Offering (IPO) resulting in the public offering and trade of Stavatti stock on a recognized
exchange, including, but not limited to the New York Stock Exchange at an indeterminable, future date.
Stavatti neither implies, nor makes any indication that Stavatti Units and/or securities will ever be avail-
able for public exchange, purchase or transferability. The Units offered are offered as a private placement
under Rule 506 of Regulation D of the Securities and Exchange Commission and are subject to restric-
tions upon sale or other transfer as provided within the Stavatti Shareholders Agreement.

ABSENCE OF IMMEDIATE REVENUE

The SM-29 upgrade is not currently generating sales, revenues or net profits and has not yet entered
production. Stavatti will not begin generating revenues until the aircraft project proposed in this Offering
enters production and begin generating sales. Stavatti will not begin delivery aircraft until satisfying a 6 to
18 month development and production launch period. Stavatti anticipates $10 Million to $40 million in
operating losses over the duration of SM-29 development and the subsequent duration of the 12 to 24
month business plan in correspondence to the research, development, testing, evaluation, qualification
and any qualification/certification process, along with the marketing, general and administrative and


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machinery and equipment expenses associated with aircraft development. Investors must realize that the
value associated with operating losses may increase, as may the total program duration due to risks
associated with aerospace defense. Investors must realize that they cannot expect a return on their
investment for no less than 24 months upon date of original investment and all investment returns, net
profits and dividends are reliant upon the completion of the business plan and the introduction of new air-
craft to the aircraft marketplace. There can be no assurance that Stavatti will generate military, commer-
cial or general aviation aircraft sales and/or attain levels of fiscal profitability.

POSSIBLE ALTERATIONS IN THE MARKET FOR MILITARY AND CIVIL AIRCRAFT

The global and domestic demand for both military and general aviation aircraft have realized significant
variations in recent decades. Traditionally military aircraft maintain line production and active service lives
of 20 to 30 years while general aviation aircraft may remain in continuous production for 10 to 60 years.
In the course of aircraft production, vast disparities in sales exist such that significant backlogs or com-
plete absence of sales for periods of one year or longer are common occurrences.

In general, military aircraft and general aviation sales suffer widespread fluxuations that render entry into
the marketplace an extremely high risk initiative. The profitability of Stavatti is tied directly to market
demand for both military and general aviation aircraft and Stavatti’s ability to penetrate the market with
the aircraft proposed in this offering. Investors must realize that there is no assurance that Stavatti will
secure a profitable market position or find success in entering the aircraft marketplace or the aerospace
defense marketplace.

COMPETITION, MARKET AND REGULATION

The aerospace defense industry is extremely competitive. Stavatti will be competing with numerous
established prime contractors, including Boeing, British Aerospace, Dassault, Lockheed Martin, Northrop
Grumman, Saab and United (Sukhoi & MiG), having greater financial resources beyond those of Stavatti.

Stavatti may be involved in intense competition, both at-home and abroad, for production contracts and
sales from governments and government user agencies (air forces, naval air arms, etc.). Stavatti may be
involved in intense competition, at home and abroad, for sales to the general flying public, particularly
from leading competitors including Cessna (Textron), Beechcraft (Textron), Piper, Pilatus, Maule, Cirrus,
Lancair, etc. in regard to general aviation. Furthermore, numerous additional competitors, including KAI,
have entered the military and general aviation aerospace industries respectively.

Although the market for both military and civil aircraft is clearly defined and growing, continued growth
and value of the market cannot be guaranteed. Due to wide variations in market demand on a year by
year basis, Stavatti cannot guarantee that a market for any of our military or civil aircraft will exist at the
time of product manufacture and introduction.

The aerospace defense industry and business of aircraft manufacture is heavily regulated and subject to
intense federal and government requirements, licenses, certifications and qualifications. Stavatti Corpora-
tion is a registered Aerospace Defense Prime Contractor maintaining a Class VIII registration as a
defense articles manufacturer with the US Department of State-Directorate of Defense Trade Controls.
Furthermore, Stavatti maintains the necessary licensing and qualification to serve as an aircraft manufac-
turer and defense prime contractor. To enter into aircraft production, all Stavatti products must be tested
and certified by the Federal Aviation Administration and/or meet Mil-Spec qualifications. Upon entering
production, all Stavatti products must maintain rigorous quality control and inspection requirements,
necessitating the establishment of a bona fide customer service and post-production, total lifetime prod-
uct service continuation system and dealer/distributor/factory representative network.

Stavatti will be continuously subject to regulations involving the export of aerospace defense products
and military critical technical data. Stavatti will be continually subject to OSHA and EPA compliancy and
all other labor, environmental and industrial regulations associated with a manufacturing business and all
corporations. Stavatti will be subject to regulations imposed by the Federal Aviation Administration, the
United States Department of State, and the Bureau of Alcohol, Tobacco and Firearms. Due to the intense
regulation involved in the aerospace defense industry, Stavatti may be subject to extreme delays in pro


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schedule and may, in the circumstance of State Department or DoD intervention, be prevented from
exporting specific products to specific customers for specific reasons. Investors must recognize that
Stavatti participation and success in the aerospace defense industry is subject to and reliant upon regula-
tory compliance. Stavatti will adhere to all Federal, State and Local laws at all times.

DEPENDENCE UPON KEY PERSONNEL

The ultimate success of Stavatti is materially dependent upon the services and efforts of its founder,
Christopher R. Beskar and additional members of its executive management team. Specifically, Mr.
Beskar has served as Program Manager for all Stavatti programs and is responsible for the organization,
structure, approach and technological edge of Stavatti. As a developing corporation and expanding busi-
ness entity, Stavatti has experienced, and expects to experience, a reorganization of executive manage-
ment and management turnover as the Stavatti executive management team sustains operations. The
unavailability and loss of the services of Mr. Beskar, and additional individual members of the executive
management team could adversely affect the ultimate success of Stavatti. Stavatti is currently engaged in
filling key management offices/positions. Stavatti does not maintain any employment or non-competition
agreements with any members of the executive management teams, although industrial security agree-
ments have been established between all members. Stavatti intends to maintain life insurance policies on
specific members of its executive management team including the President & CEO, Senior Vice Presi-
dent & Chief Financial Officer and further executives at such time as permitted by Stavatti financing.

MANAGEMENT OF CORPORATE EXPANSION

As Stavatti pursues its business plan and moves toward production civil and military aircraft, there will
arise increased demands upon Stavatti executive management, operational and financial resources. Suc-
cessful growth management will be required to accommodate the near exponential expansion of Stavatti.
Stavatti will be required to continually improve its process and management abilities and there can be no
assurance that Stavatti will be able to manage the anticipated rate and level of growth effectively. In addi-
tion, the development, prototyping, flight testing/qualification/certification and mass production of the pro-
posed aircraft is dependent upon the ability of Stavatti to hire additional qualified personnel and the ability
of Stavatti executive management to integrate the said individuals into Stavatti. There exists significant
competition for highly skilled employees and there can be no assurance that Stavatti will be successful in
attracting, training and retaining such personnel.

MANUFACTURING HISTORY

Production of military and civil aircraft any additional aerospace defense system Stavatti may produce is
dependent upon the successful establishment of Stavatti development and production facilities and cen-
ters both within the United States (California, Virginia, etc.) and abroad (Serbia, Ukraine, etc.) as well as
the selection and hiring of qualified administrative, engineering, marketing, production and support per-
sonnel; completion of aircraft design; the prototyping, flight testing and certification/qualification of air-
craft; the establishing of production lines and the marketing, distribution, service and support of aircraft.

Factors that may effect the successful completion of such milestones include the inability to establish
production centers, the inability to hire qualified personnel, the inability to complete the said aircraft
designs, the inability to successfully prototype, test, certify/qualify the said aircraft, the inability to estab-
lish aircraft production lines and the inability to successfully market, distribute, service and support the
said aircraft. Stavatti has never attempted to manufacture aircraft in significant quantities. The production
of prototypes and the transition to the mass production of certified/qualified conformal articles will involve
risks and uncertainties that may remain unapparent at this time. There is no assurance that Stavatti will
be capable of successfully reacting to unanticipated difficulties.

QUALITY CONTROL AND RISK OF DEFECTS

Stavatti products may encounter unanticipated quality and quality control problems and/or inherent
design or production defects. Such defects or quality realization problems may result in recalls and/or the
distribution of Stavatti/FAA driven Airworthiness Directives (ADs) of Stavatti products that may subse-
quently result in Stavatti market appeal. Recalls and ADs will be of great cost to Stavatti and may have a


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material effect on Stavatti’s brand and trademarks, future financial conditions and business operations.
Stavatti intends on maintaining marked, industry leading quality initiatives, including ISO certification, etc.
as well as the pursuit and attainment of the Malcolm Baldrige criteria.

CIVIL PRODUCT LIABILITY

Stavatti may be subject to potential product liability claims stemming from product failure-in-use, product
quality and/or operator failure. These potential suits, in the absence of adequate insurance coverage,
bear adverse material consequences upon Stavatti. Stavatti intends to maintain adequate insurance cov-
erage prior to initiation of either military or general aviation aircraft production and/or distribution of prod-
ucts to customers, however, there can be no assurance that Stavatti will secure adequate liability cover-
age to address all product liability claims. A large array of liability suits may significantly affect Stavatti’s
ability to continue production and marketing of specific and/or all aerospace defense products.

Due to the nature of customers associated with the purchase of military aircraft (mainly government user
agencies) military aircraft will remain largely unaffected by product liability claims. Although the injuries
and deaths associated with general aviation aircraft are extremely limited, general aviation aircraft manu-
facturers have historically been subject to liability suits of extremely detrimental nature. To limit the prod-
uct liability risk associated with light aircraft production, Congress passed the General Aviation Revitaliza-
tion Act in 1994. Although further legislative action is under implementation to assure the future growth of
the aerospace industry in respect to the aspect of product liability, Stavatti cannot guarantee that produc-
tion and marketing of aircraft will not be subject to intense adversity due to product liability claims.

DEPENDENCE UPON SUBCONTRACTORS

Stavatti will rely upon outside prime contractors, vendors and subcontractors for a large array of proprie-
tary and non-proprietary, Military Off-The-Shelf (MOTS) and Commercial Off-The-Shelf (COTS) and new
and original, Stavatti design specific components and systems employed in the design and manufacture
of aircraft and aerospace defense systems. Design critical components, including powerplants, avionics,
flight control and armament systems, landing gear, wheels and breaks, lights, ejection seats, hardware
and airframe components including extruded, stamped and certain co-cured composite laminates will be
supplied in full or in part and/or produced under license from Stavatti by qualified prime contractors, ven-
dors and subcontractors.

The reliance placed upon components produced and provided by prime contractors, vendors and sub-
contractors involves a potential for significant risk including long associated lead and delivery times;
design, production and manufacturing delays; fluxuations in the quality and price of components. Any sig-
nificant adverse variation in quality, cost, volume or lead/delivery time in components supplied by prime
contractors, vendors and subcontractors, particularly single-source components, could adversely affect
Stavatti operations.

Stavatti business depends on maintaining a sufficient supply of various products to meet our customers’
demands. We have long-standing relationships with key suppliers but these relationships generally are
non-exclusive and could be terminated by either party. If we were to lose a key supplier, or were unable
to obtain the same levels of deliveries from these suppliers and were unable to supplement those pur-
chases with products obtained from other suppliers, it could have a material adverse effect on our busi-
ness. Additionally, we rely on foreign and domestic suppliers and commodity markets to secure raw mate-
rials used in many of the products we manufacture. This exposes Stavatti to volatility in the price and
availability of raw materials. Supply interruptions could arise from shortages of raw materials, labor dis-
putes or weather conditions affecting suppliers’ production, transportation disruptions, or other reasons
beyond our control. High demand for certain products may result in Stavatti being unable to meet our
customers’ demands, which could put us at a competitive disadvantage. Additionally, our key suppliers
could also increase the pricing of their products, which would negatively affect our operating results if we
were not able to pass these price increases through to our customers. We base our supply management
process on an appropriate balancing of the foreseeable risks and the costs of alternative practices. To
manage such risks, Stavatti will engage in strategic inventory purchases during the year, negotiate long-
term vendor supply agreements and monitor our inventory levels to ensure that we have the appropriate
inventory on hand to meet our customers’ requirements.


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NEED FOR ADDITIONAL FUNDING AND FUNDING RISK

Stavatti expects that the proceeds from this Offering, even if fully subscribed, will not necessarily be suffi-
cient for the company to certify and begin production of the aircraft. Subscribers to this Offering are
investing in the First Round financing of the Demonstrator Phase of the aircraft development program.
The aircraft development project has three phases of funding including a $10 Million Demonstrator Phase
and a $30 Million Prototype Phase. Total development program costs are estimated at $40 Million.
Stavatti assumes that an additional $30 Million or more will need to be raised from equity investment or
debt financing sources to certify the aircraft and begin production. The Company’s current financing plan
has scheduled an additional Class B equity offerings to raise additional capital.

Stavatti is dependent upon obtaining significant amounts of funding from a number of sources, both pub-
lic and private, to finance its business plan and operations. There is no assurance that Stavatti will obtain
the required financing in-full as associated with this Offering or as associated with the 12 to 24 month
business plan and associated fundraising costs, in its entirety or that the said financing, if obtained, will
be on terms acceptable to all shareholders. Significant equity dilution may be incurred by shareholders
through this offering as a result of further equity financing. Future investors may demand significantly
improved terms then those granted to present investors. Any absence in adequate funds,
undercapitalization or delay in financing can significantly affect the production and sale of aircraft. The
Company cannot assure that it will have the necessary funds to complete the development of the aircraft
within the proposed budget or at all, in which case the investors are likely to lose all of their investment.

Based upon current estimates, Stavatti believes the proceeds of this offering will be adequate to fund the
projected capital requirements for a period of 12 to 24 months. In the event costs are incorrect due to
unanticipated problems in increased expenses, increased rate of consumption of available capital
resources or further unanticipated events, Stavatti may be required to obtain additional equity, contract or
debt financing in excess of the proceeds of this offering.

RELIANCE UPON SKILLED EMPLOYEES

Stavatti required a highly skilled workforce with both experience and industry specific expertise to develop,
prototype, produce and support our high technology aerospace defense products that include aircraft and
aerospace vehicles. Stavatti’s future success will depend largely upon our ability to attract and retain
highly skilled technical, operational, administrative and marketing personnel. There is significant competi-
tion for such personnel in the aerospace defense industry. Stavatti will ensure to offer competitive com-
pensation and benefits as well as opportunities for continued development, and will continually strive to
recruit and train qualified personnel and retain key employees. There can be no assurance, however, that
Stavatti will continue to be successful in attracting and retaining the personnel we require to develop new
and enhanced products and to continue to grow and operate profitably.

DILUTION

In the event Stavatti elects to extend this offering amount by permitting the sale of additional Units of
Stavatti equity for the purpose of increased financing, each investor may suffer a dilution of their interest
in Stavatti as negotiated with subsequent investors and the Shareholders of Stavatti.

FEDERAL INCOME TAX CONSEQUENCES

STAVATTI IS TAXED AS A ‘C’ CORPORATION. EACH PROSPECTIVE INVESTOR IS URGED TO
CONSULT WITH THEIR OWN TAX ADVISOR WITH RESPECT TO THE FEDERAL INCOME TAX
CONSEQUENCES ASSOCIATED WITH THEIR INVESTMENT IN STAVATTI CORPORATION. THE
FEDERAL TAX CONSIDERATIONS DEPEND UPON EACH INDIVIDUAL INVESTORS OWN CIRCUM-
STANCES AND STAVATTI MAKES NO CLAIM, EITHER IMPLIED OR INTENDED, TO ADDRESS THE
PARTICULAR FEDERAL INCOME TAX CONSEQUENCES OF THE STAVATTI INVESTMENT FOR ANY
AND ALL PROSPECTIVE INVESTORS. ANY OR ALL TAX BENEFITS POTENTIALLY ASSOCIATED
WITH INVESTMENT IN STAVATTI CORPORATION MAY BE LOST TO AN INVESTOR DUE TO CIR-
CUMSTANCES BEYOND THEIR CONTROL OR THE CONTROL OF STAVATTI.
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                APPENDIX I
            PROPOSAL TO UKRAINE
Appendix I includes 7 sample pages from the Stavatti SM-29 Super Fulcrum Aircraft Technical Briefing & Proposal
For the Ukrainian Air Force as provided to the Ukrainian Air Force in November 2019. The 7 pages included are page
numbers 4, 6, 7, 8, 9, 22 and 23. A copy of the complete proposal is available for review upon request.


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PROPOSAL SUMMARY

Stavatti Aerospace Ltd. (Stavatti) is pleased to submit this proposal for the upgrade of existing Ukrainian
Air Force MiG-29 Fulcrum Multi-Role Fighter (MRF) aircraft to the SM-29E Super Fulcrum configuration.
Stavatti hereby proposes the upgrade of 4 initial aircraft over a 12 to 18 month period to be followed by
up to an additional 72 aircraft over a 60 month period for a total of up to 76 aircraft over 72 months. The
upgrade of the proposed aircraft many consist only of an aircraft upgrade and delivery or a comprehen-
sive solution that includes upgraded aircraft, spares, ground support and handling equipment, external
stores, Contractor Logistical Support (CLS) and training.

The SM-29E Super Fulcrum upgrade will result in
a broad spectrum of enhancements to dramatical-
ly improve Ukrainian Air Force MiG-29s including:

• GEAE F414 EPE Afterburning Turbofans
• Raytheon AN/APG-79 AESA Radar
• Four Channel Digital Fly-By-Wire
• F-16C Style Sidestick and Throttle with HOTAS
• SparrowHawk HUD or LiteHUD
• L3 20 x 8 in Large Area Avionics Display (LAAD)
• New Design External Pylons with LAU-129 MRLs
• Increased Fuel Capacity and External Warload
• Retractable In-Flight Refueling Probe
• Optional Comprehensive Integrated ECM Suite

The proposed upgrade of Ukrainian Air Force MiG-29s to the SM-29E Super Fulcrum configuration
includes an initial Lot of 4 aircraft to be optionally followed by an additional 72 aircraft for a total of 76
upgraded aircraft. Delivery of the first 4 aircraft will begin in 2022-2023 with Ukraine receiving the full 76
aircraft within 72 months or by the end of 2027 provided a contract was awarded in the first quarter of
2022. The cost of the first 4 aircraft will be $90 Million with the cost of the additional 72 aircraft being
$1.62 Billion for a total aircraft upgrade cost of $1.71 Billion for 76 aircraft. The aircraft may be accompa-
nied by a support package including Full Flight Simulators (FFS), training aircraft spares, ground support
equipment, external ordnance and stores and initial Contractor Logistical Support (CLS). Total proposed
cost of the 76 aircraft SM-29E fleet with the support package is approximately $3.328 Billion. 72 of the 76
aircraft will be produced/assembled in Ukraine. The proposed offer is summarized in the following table:


           SM-29E SUPER FULCRUM PROPOSAL SUMMARY FOR UKRAINE

  The Rough Order Magnitude (ROM) Total Proposal Cost for SM-29E Super Fulcrum aircraft is as summarized:

  Upgrade Provider                                                                    Stavatti Aerospace Ltd
  Aircraft                                                                           SM-29E Super Fulcrum
  Upgrade Of                                                             MiG-29; MiG-29A/S/SE/SM/M/SMT
  Original Manufacturer:                                                                                 MiG
  Aircraft Type                                                                            Multi-Role Fighter
  Aircraft Powerplant                                                     GEAE F414 Afterburning Turbofan
  Aircraft Accommodation                                               Single Pilot on K-36DM Ejection Seat
  Aircraft Unit Upgrade Cost                                                                     $22,500,000
  Initial Number of Aircraft Upgraded (Lot 1)                                                               4
  Total Cost of Initial Aircraft Upgrade (Lot 1)                                                 $90,000,000
  Total Time to Deliver All Upgraded Aircraft (Lot 1)                                       12 to 18 Months
  Additional Aircraft to be Upgraded (Lot 2-6)                                                            72
  Total Cost of Additional Aircraft Upgraded (Lot 2-6)                                       $1,620,000,000
  Total Time to Deliver Additional Upgraded Aircraft (Lot 2-6)                                     60 Months
  Total Number of Aircraft to be Upgraded (Lots 1-6)                                                      76
  Total Cost of Aircraft to be Upgraded (Lots 1-6)                                           $1,710,000,000
  Total Time to Deliver All Upgraded Aircraft (Lots 1-6)                                           72 Months




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THE SM-29E FOR UKRAINE

The proposed upgrade of Ukrainian Air Force MiG-29s to the SM-29E Super Fulcrum configuration will
focus on the initial upgrade of 4 aircraft over a 12 to 18 month period to be followed, upon approval, with
the upgrade of an additional 72 aircraft over 60 months for a total of 76 aircraft upgraded and delivered
within 72 months. The upgrade will focus upon the modernization of existing single seat MiG-29 Fulcrum
A fighter airframes of either flyable or non-flyable condition as provided by the Ukrainian Air Force from
both active fighter inventories and from storage and “bone yards” in Ukraine. Two seat tandem MiG-29UB
Fulcrum B aircraft may also be upgraded with new powerplants but would require a significant redesign of
the forward fuselage/radome to incorporate the APG-79 AESA radar and additional avionics, sensor and
EW upgrades. This forward fuselage modification would result in a configuration similar to that of the
MiG-29KUB. Estimated cost of a comprehensive upgrade of MiG-29UB aircraft to the two seat SM-29F
configuration is approximately $25 Million.

                                                         The MiG-29 aircraft upgrade process will begin
                                                         when Stavatti receives an Executed Purchase
                                                         Contract from the Government of Ukraine for the
                                                         first 4 aircraft. Upon receipt Stavatti will submit an
                                                         export license application to the State Department-
                                                         Directorate of Defense Trade Controls (DDTC) to
                                                         secure appropriate export licenses and approvals.
                                                         Once export approval is awarded for the proposed
                                                         upgrade, a final Contract Agreement that includes
                                                         a detailed final Technical Proposal and Statement
                                                         of Work (SOW) that has been approved by DDTC
                                                         will be submitted to the Ukrainian Air Force along
                                                         with a contract payment schedule. The upgrade of
                                                         the first 4 aircraft will then begin following Stavatti
                                                         receipt of the Executed Contract and an Initial
                                                         Contract Payment from the Ukrainian Government.

The first 4 aircraft to be upgraded will consist of 4 flyable or non-flyable aircraft selected from Ukrainian
Air Force inventory/storage and delivered to the United States by air (ferry flight or shipment of disassem-
bled aircraft by contracted Antonov Airlines An-124-100 or An-225) or intermodally by land-sea-land. The
first 4 aircraft will be upgraded at a Stavatti facility in the United States. Principal work is expected to be
performed in Niagara Falls, NY at the Wheatfield Business Park/Former Bell Aerospace Plant located at
the Niagara Falls International Airport (KIAG). Work may also be performed at anticipated Stavatti Air
USA facilities in Quincy, IL which is the current home to 4 MiG-29s (two MiG-29 Fulcrum As and two MiG-
29UB Fulcrum Bs) that are operated in a Dissimilar Air Combat Training (DACT) and “Red Air” tactical
training role. Specific aspects of work including any qualification flight testing to meet DoD/NATO inter
operability standards may also be conducted in California including Stavatti faculties in San Bernardino
(including anticipated production hangars at the San Bernardino International Airport/KSDB) and at the
Air Force Flight Test Center (AFFTC) at Edwards AFB. All work performed will be conducted under strict
security and confidentiality and will be held at the equivalent of a US DoD Confidential/Secret standard
for the security of the Ukrainian Air Force and Ukraine.

Work will be performed directly by Stavatti and principal Stavatti Industry Team Members including GE
Aircraft Engines, Raytheon, Collins Aerospace, BAE Systems, Esterline, L3, etc. with Stavatti serving as
the Prime Contractor. To ensure the upgrade program is completed on-time and within budget with zero
cost overruns, Stavatti will contract all suppliers and Industry Team Members on the basis of an upgrade
of 76 aircraft over 72 months resulting in cost savings through quantity orders and uninterrupted engine,
radar, systems and parts production. This will result in greater affordability to ensure Stavatti can provide
all upgraded systems at the prices as contracted. Stavatti will work very closely with Industry Team Mem-
bers to integrate off-the-shelf solutions that are customized for specific SM-29E needs to result in a fully
integrated fighter solution. Stavatti will limit the development of new systems or customized systems
wherever possible and concentrate upon the selection of affordable, compact, high reliability systems,
avionics and EW systems to result in a highly maintainable aircraft. Focused on interoperability, the SM-
29E will have avionics that enable full integration into the NATO air defense structure.


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The upgrade process will consist of selection and ordering of all high lead time components (powerplants,
radar, etc.) to ensure their delivery within 6 to 12 months. Each individual aircraft to be upgraded shall be
stripped of paint, fully inspected with critical parts disassembled, cataloged and 3D scanned to result in a
digital CAD library of aircraft parts specific to individual airframes. A precise SolidWorks 3D CAD model
for each individual aircraft will be created that will correspond directly to a master SolidWorks model of
our “baseline SM-29E.” The inspection/review process will be handled on a USAF Depot Level Mainte-
nance level with useful parts being remanufactured and non-usable or obsolete parts being replaced with
new Stavatti produced parts. Each individual aircraft will undergo a significant structural overall to ensure
that aircraft skins, spars, ribs, stringers, frames, bulkheads and longerons have a minimum service life of
6,000 hours under typical aircraft flight operations with the entire aircraft as delivered protected by a
comprehensive Stavatti limited lifetime Warranty.

Major airframe structural members that are replaced will feature new design parts produced from certified
titanium, aluminum lithium and advanced composite materials as well as the specific application of limit-
ed aluminum honeycomb sandwich and aluminum foam metal sandwich structures. Stavatti will be direct-
ly responsible for the engineering design, integration and where applicable, custom software coding for
sensors, avionics, EW and flight controls. New parts will be manufactured by Stavatti or under contract to
leading certified Industry Team production subcontractors. Stavatti will control all engineering drawings
and 3D CAD models. A wide array of new parts, including primary structural components, will be engi-
neered including new design engine nacelles to accommodate the F414 powerplant, new design external
stores pylons, new design replacement wing spars, new design cockpit and cockpit interior structure, new
design fuel tanks, new design radar and avionics racks and a reconfiguration and repurposing of aircraft
internal structure to accommodate increases in fuel volume as well as interior fuselage volume for inter-
nal avionics and electronic warfare systems.

Each MiG-29 upgraded will be individually modi-
fied to receive the standard upgrade package.
This is to address the known inconsistencies
associated with original aircraft production. Once
the aircraft’s airframe is upgraded to meet addi-
tional service life and new systems integration
requirements, the aircraft will receive the installa-
tion of new wiring harnesses and a new MIL-STD-
1553B systems architecture. The aircraft will be
equipped as necessary with a new digital flight
control system, new flight control actuators, new
fuel lines, new fuel tanks, a new APU and custom
engine nacelles with conformal fuel tanks. Addi-
tional conformal fuel tanks may be installed to
meet range requirements on specific aircraft. The
aircraft will be equipped with a custom in-flight
refueling probe as well as the new F414
Enhanced Performance Engine, APG-79 AESA
Radar, as well as new customer selected Avionics,
Displays and Electronic Warfare Systems. Aircraft
will receive corrosion protection and a custom
paint scheme prior to flight check and evaluation.

Prior to the upgrade of the initial 4 MiG-29s, Stavatti will identify and select a parcel of land on which to
build a dedicated aircraft production facility in Ukraine. This facility will be operated by Stavatti Ukraine
and will be responsible for the subsequent upgrade of up to 72 additional MiG-29s as well as the produc-
tion and support of future Stavatti aircraft including the SM-31, SM-36 and SM-39. This facility will be
designed within the first six months of contract award with ground breaking for construction beginning in
month seven. It is anticipated that the facility will be established at the Vinnytsia International Airport
(UKWW) located in Harvryshivka/Vinnystia Region, Ukraine. Stavatti expects to build a new 61,316 sq m
(660,000 sq ft) aircraft manufacturing and assembly plant. This plant will consist of two large manufactur-
ing facilities including a 52,205 sq m (560,000 sq ft) Manufacturing and Assembly Plant and a 9,290 sq
m (100,000 sq ft) Completion, Paint and Maintenance Hangar. To enable rapid facility use the Completion,


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Paint and Maintenance Hangar may be constructed first to allow the rapid completion of the first SM-29E
aicraft in Ukraine while the larger primary facility remains under construction. Stavatti projects that this
new facility will open by 2023-2024 to allow the upgrade of 72 additional MiG-29s.

To secure DoD qualification for the SM-29 configuration, Stavatti will invest in the upgrade of a single
Stavatti owned MiG-29 Fulcrum A to the SM-29 configuration in 2021-2023. Upgraded in parallel to the
upgrade the of initial 4 Ukrainian MiG-29s, this MiG-29 is currently in the USA and will be sent to the
AFFTC, Edwards AFB upon upgrade completion for flight testing, evaluation and certification in by the
end of 2021. Setting the standard for the SM-29E, all subsequent SM-29E conversions will follow the cer-
tification standards set forth in the evaluation of this specific aircraft. Following the upgrade of the Stavatti
owned MiG-29 to the SM-29E configuration, Stavatti may also convert a MiG-29UB Fulcrum B to the SM-
29F standard, resulting in a Stavatti owned, company demonstrator aircraft. Part of the Air USA Dissimilar
Air Combat Training (DACT) fleet, these aircraft will be included with the acquisition of Air USA by Stavatti
to form Stavatti Air USA. Adding dynamic capability to the DACT fleet, Stavatti will be capable of provid-
ing both MiG-29 and SM-29 flight and combat training with these four company owned aircraft.

Stavatti anticipates the completion of the upgrade of the first 4 MiG-29s in 2022-2023. These completed
aircraft will be transported from the USA to Stavatti’s manufacturing facility in Ukraine for transfer and
acceptance by the Ukrainian Air Force complete with Fuel, Warranty and customer selected Helmet
Mounted Display System (HMDS). Once the SM-29Es enter Ukrainian Air Force service Stavatti can pro-
vide comprehensive maintenance and support of the aircraft with initial conversion training of SM-29E
pilots beginning three months before expected aircraft delivery date. With the delivery and acceptance of
the 4 SM-29Es, Stavatti will submit a license application for the export of SM-29E aircraft, powerplants,
avionics and systems from the Directorate of Defense Trade Controls. Upon approval of the export
license, Stavatti can enter into a Contract to upgrade an additional 72 MiG-29s to the SM-29E configura-
tion. Upon initial contract award upgrade of the MiG-29s can begin with aircraft being selected from
Ukrainian Air Force inventory (storage or active service airframes) and delivered to the Stavatti produc-
tion facility in Ukraine. It is expected that all 72 aircraft will be completed in 72 months adhering to a
schedule that consists of the production of 8 aircraft per year initially and ramping up to 18 aircraft per
year in the final production year. Stavatti expects that up to 125 persons will be directly employed by the
SM-29E upgrade program during the peak upgrade rate of 18 aircraft per year. A table summarizing the
projected SM-29E delivery and cost schedule is provided:


                             SM-29E DELIVERY & COST SCHEDULE

    PROGRAM                              CALENDER                AIRCRAFT                      EXTENDED
    MILESTONE                              YEAR                  DELIVERED                         COST

    LRIP (Lot 1 Completion)                  2022                     4                        $90,000,000
    FRP (Lot 2 Completion)                   2023                     8                       $180,000,000
    FRP (Lot 3 Completion)                   2024                     12                      $270,000,000
    FRP (Lot 4 Completion)                   2025                     16                      $360,000,000
    FRP (Lot 5 Completion)                   2026                     18                      $405,000,000
    FRP (Lot 6 Completion)                   2027                     18                      $405,000,000

    TOTAL                                                             76                    $1,710,000,000


To provide a more comprehensive understanding of the SM-29E upgrade process, an Upgrade Schedule
is provided in the accompanying table. This upgrade schedule concentrates upon major milestones in the
MiG-29 to SM-29E upgrade program. Focused on 50 key activities, the schedule provides a summary of
specific upgrade steps followed by a description of the time-frame in which these steps may be duplicat-
ed to result in the production of the additional aircraft in the time-frames described in the above delivery
and cost schedule. A dynamic schedule, many of the milestones may overlap or span a time-frame that is
dependent upon external factors including powerplant and radar delivery lead-times as well as delays
caused by DDTC approval schedules and even the completion of the Stavatti factory in Ukraine.


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                                    STAVATTI SM-29E UPGRADE SCHEDULE


  ACTIVITY #        ACTIVITY DESCRIPTION                                                          MONTH #    YEAR

     1              Receive Executed Contract/Purchase Order From Ukrainian Air Force                 0      2022
     2              Submit Export License Application to DDTC                                         0      2022
     3              Receive Export Approval From DDTC                                                 0      2022
     4              Submit Final Proposal and Contract Agreement to Ukraine                           0      2022
     5              Receive Executed Contract and Initial Payment for 4 Aircraft Upgrade              1      2022
     6              Stavatti Purchases Expanded Office/Hangar in Ukraine for Initial Operations       1      2022
     7              Select and Purchase Land in Ukraine to Build New Aircraft Factory                 1      2022
     8              Industry Team is Contacted: Orders Placed with GEAE, Raytheon, etc.               1      2022
     9              Sensors and Avionics Architecture Designed                                     1 to 6    2022
     10             Design of new Aircraft Factory in Ukraine begins                               1 to 6    2022
     11             4 MiG-29s are Selected and Shipped to Niagara Falls, NY For Upgrade            1 to 2    2022
     12             4 MiG-29s are Prepared, Dissembled with Unique Parts SolidWorks modeled        1 to 2    2022
     13             Parallel Upgrade of Stavatti Owned MiG-29 as a Certification Article Begins    1 to 2    2022
     14             New Replacement Airframe Structures are Manufactured (Skins, Spars, Frames)    1 to 6    2022
     15             New Design Engine Nacelles Are Manufactured for F414 Powerplants               1 to 6    2022
     16             New Internal Fuel Tanks and In-Flight Refueling System are Manufactured        1 to 6    2022
     17             New External Weapons Pylons with Launchers are Manufactured                    1 to 6    2022
     18             New Cockpit Interior and Panel is Manufactured and Installed                   1 to 6    2022
     19             New MIL-STD-1553B Architecture and Wiring Harnesses are Installed              1 to 6    2022
     20             New Airframe Structures are Installed                                          7 to 9    2022
     21             New Flight Control Actuators and Flight Control Computers are Installed        7 to 9    2022
     22             New Fuel Lines, Fuel Tanks, new APU and Engine Nacelles are Installed          7 to 9    2022
     23             New F414 EPE Afterburning Powerplants are installed                           9 to 10    2022
     24             New APG-79 AESA Radar, Avionics and EW Systems are Installed                  9 to 10    2022
     25             New Aircraft Weapon Systems and External Pylons are Installed                 9 to 10    2022
     26             New Cockpit Avionics and Flight Controls Are Installed                        9 to 10    2022
     27             Ukraine Flight Crews Begin Type Training and Orientation                      9 to 12    2022
     28             Final Integration of All Aircraft Components                                  9 to 12    2022
     29             Aircraft Powerplant and Systems Ground Test and Verification                  11 to 12   2022
     30             Aircraft is Painted and Flight Tested                                         11 to 12   2022
     31             Aircraft Receives Flight Check and Evaluation                                 11 to 12   2022
     32             Stavatti SM-29E Begins Certification and Qualification Testing at AFFTC          11      2022
     33             First 4 SM-29E Aircraft are Delivered with Fuel, Warranty and HMDS            12 to 13   2022
     34             Stavatti Aircraft Factory in Ukraine is Completed and Opens                   12 to 18   2023
     35             Receive DDTC Approval for Upgrade and Export of 72 Additional Aircraft        11 to 13   2023
     36             Receive Executed Contract and Initial Payment for Upgrade of 72 MiG-29s       11 to 13   2023
     37             Stavatti Begins Providing Training, Maintenance and Support of SM-29Es        12 to 13   2023
     38             8 MiG-29s are Selected and Delivered to Stavatti Plant in Ukraine             12 to 18   2023
     39             Stavatti SM-29E Completes Qualification Testing and is Certified                 24      2023
     40             8 MiG-29s undergo Activities 14-31; 8 Aircraft are Delivered as SM-29Es          24      2023
     41             12 MiG-29s are Selected and Delivered to Stavatti Plant in Ukraine               24      2024
     42             12 MiG-29s undergo Activities 14-31; 12 Aircraft are Delivered as SM-29Es        36      2024
     43             16 MiG-29s are Selected and Delivered to Stavatti Plant in Ukraine               36      2025
     44             16 MiG-29s undergo Activities 14-31; 16 Aircraft are Delivered as SM-29Es        48      2025
     45             18 MiG-29s are Selected and Delivered to Stavatti Plant in Ukraine               48      2026
     46             18 MiG-29s undergo Activities 14-31; 18 Aircraft are Delivered as SM-29Es        60      2026
     47             18 MiG-29s are Selected and Delivered to Stavatti Plant in Ukraine               60      2027
     48             18 MiG-29s undergo Activities 14-31; 18 Aircraft are Delivered as SM-29Es        60      2027
     49             Stavatti Completes the Delivery of 76 SM-29Es to the Ukrainian Air Force      60 to 72   2027
     50             Production of Next Generation Fighters (SM-31, SM-36, SM-39) in Ukraine       48 to 72   2028




     AESA: Actively Electronically Scanned Array   EPE: Enhanced Performance Engine
     AFFTC: Air Force Flight Test Center           EW: Electronic Warfare
     DDTC: Directorate of Defense Trade Controls   HMDS: Helmet Mounted Display System




JAN 2022                                                PROPRIETARY                                                 81
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STAVATTI™                                         PROPRIETARY                                       SM-29



                                                                SM-29E Super Fulcrum
Mail: 9400 Porter Road, Niagara Falls, NY 14304
Tel: 651-238-5369
Web: www.stavatti.com
                                                                 COST PROPOSAL
COST PROPOSAL
Stavatti Aerospace Ltd. hereby proposes the upgrade of 76 Ukrainian Air Force MiG-29s to the SM-29E
Super Fulcrum configuration. The aircraft will be delivered in an initial Lot of 4 aircraft within 12 to 18
months to be followed by a second Lot of 72 aircraft within 48 months for a total of 76 aircraft delivered
over 60 months. Aircraft are delivered with powerplants, sensors, avionics, electronic warfare systems as
outlined in this proposal. All Costs are in United States Dollars ($).


                 SM-29E PROCUREMENT COST PROPOSAL: 4 AIRCRAFT

   COST ELEMENT                           UNIT COST             QUANTITY           EXTENDED COST

   SM-29E: Lot of 4 Aircraft             $22,500,000               4                      $90,000,000

   TOTAL                                                           4                      $90,000,000




                SM-29E PROCUREMENT COST PROPOSAL: 72 AIRCRAFT

   COST ELEMENT                           UNIT COST             QUANTITY           EXTENDED COST

   SM-29E: Lot of 72 Aircraft            $22,500,000               72                  $1,620,000,000

   TOTAL                                                           72                  $1,620,000,000


The SM-29E will enter Low Rate Initial Production (LRIP) beginning in 2022 with the delivery of 4 aircraft
in 2022. The SM-29E will then enter Full Rate Production (FRP) in 2023 with the delivery of 72 additional
aircraft by 2027. The production and delivery schedule associated with this Cost Proposal is provided:


                             SM-29E DELIVERY & COST SCHEDULE

   PROGRAM                              CALENDER             AIRCRAFT                     EXTENDED
   MILESTONE                              YEAR               DELIVERED                        COST

   LRIP (Lot 1 Completion)                  2022                   4                      $90,000,000
   FRP (Lot 2 Completion)                   2023                   8                     $180,000,000
   FRP (Lot 3 Completion)                   2024                   12                    $270,000,000
   FRP (Lot 4 Completion)                   2025                   16                    $360,000,000
   FRP (Lot 5 Completion)                   2026                   18                    $405,000,000
   FRP (Lot 6 Completion)                   2027                   18                    $405,000,000

   TOTAL                                                           76                  $1,710,000,000



JAN 2022                                          PROPRIETARY                                           82
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STAVATTI™                                         PROPRIETARY                                        SM-29



                                                                SM-29E Super Fulcrum
Mail: 9400 Porter Road, Niagara Falls, NY 14304
Tel: 651-238-5369
Web: www.stavatti.com
                                                                 COST PROPOSAL
COST PROPOSAL WITH SUPPORT PACKAGE
Stavatti Aerospace Ltd. hereby offers the Ukrainian Air Force 76 SM-29E Super Fulcrum aircraft, 4
Ground Based Training Systems (GTBS) and Aircrew Training Devices (ATDs) and an Initial Contractor
Logistical Support (CLS) package for 76 aircraft as a comprehensive solution at the following firm costs:


                   SM-29E UPGRADE AND SUPPORT COST PROPOSAL

    COST ELEMENT                          UNIT COST             QUANTITY             EXTENDED COST

    SM-29E Upgrade                       $22,500,000                76                  $1,710,000,000
    Initial Ordnance & Stores            $12,500,000                76                    $950,000,000
    Spares & Ground Support               $5,000,000                76                    $380,000,000
    GBTS/FFSs                            $15,000,000                4                      $60,000,000
    Contractor Logistical Support         $2,500,000                76                    $190,000,000

    TOTAL COST                                                                          $3,290,000,000


The proposed SM-29E Super Fulcrum Upgrade is available immediately and may be applied to any exist-
ing MiG-29 aircraft (including MiG-29, MiG-29A, MiG-29S, MiG-29SE/SM/SMT and MiG-29M Tactical
Aircraft) with delivery of upgraded aircraft within 12 to 18 months of contract signature and receipt of ini-
tial contract payment. The upgrade program will begin with the conversion of 4 initial aircraft in the first
year of upgrade operations. The upgrade process is expected to have the capability to upgrade up to 24
MiG-29 aircraft annually at a rate of 2 per month by 2023. The SM-29E upgrade may be performed at a
dedicated Stavatti production facility, including but not limited to, the anticipated Wheatfield Business
Park/Former Bell Aerospace Plant in Niagara Falls, NY or at an in-country Stavatti or customer facility.
Aircraft Upgrades performed for the Ukrainian Air Force will be initially performed in the USA with subse-
quent aircraft upgraded at a proposed Stavatti facility in Vinnytsia, Ukraine. The production and delivery
time-line associated with this Cost Proposal is provided in the following table:


                SM-29E SUPER FULCRUM DELIVERY & COST SCHEDULE

    PROGRAM                             CALENDER              AIRCRAFT                      EXTENDED
    MILESTONE                             YEAR                DELIVERED                         COST

    LRIP (Lot 1 Completion)                 2022                    4                     $173,157,895
    FRP (Lot 2 Completion)                  2023                    8                     $346,315,789
    FRP (Lot 3 Completion)                  2024                    12                    $519,473,684
    FRP (Lot 4 Completion)                  2025                    16                    $692,631,579
    FRP (Lot 5 Completion)                  2026                    18                    $779,210,526
    FRP (Lot 6 Completion)                  2027                    18                    $779,210,526

    TOTAL                                                           76                  $3,290,000,000




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STAVATTI™                                      PROPRIETARY                                              SM-29




           APPENDIX II
     SUBSCRIPTION AGREEMENT
Appendix II provides samples of the Subscription Agreements to Purchase Units of Common Stock in Stavatti Super
Fulcrum Ltd as well as to receive Units of Common Stock in Stavatti Aerospace Ltd.


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STAVATTI™                                         PROPRIETARY                                                   SM-29




                    STAVATTI SUPER FULCRUM LTD
                                 &
                      STAVATTI AEROSPACE LTD


                  ROUND A
           SUBSCRIPTION AGREEMENT
The undersigned Investor (“Investor”) hereby tenders this subscription and applies for the purchase of
“Round A” Investment Units of Common Stock with each Unit consisting of 500,000 Shares (“Shares) of
Common Stock in Stavatti Super Fulcrum Ltd (the “Company”) at an offering price of $25,000 per Unit
with a minimum purchase of One (1) Unit. Each Share of Common Stock is being offered at a price of
$0.05 per Share. Each subscription is also accompanied by a Royalty Interest of 0.0051% per Unit to be
paid from Project Gross Revenues to the Shareholder. Each Investor shall also be assigned, at no addi-
tional cost, an equity interest of 0.02% in Stavatti Aerospace Ltd (“Stavatti”) per Unit Subscription, equal
to 187,500 Shares of Stavatti Common Stock at an equivalent offering price of $0.133 per Share.


                                ROUND A SUBSCRIPTION TENDER

             Units          Investment           % Equity in     % Royalty from      % Equity in        Shares of
 Round
           Purchased          ($ USD)           the Company       the Company         Stavatti        Stavatti Stock


   A


             400 Units     $25,000 Per Unit     0.05% Per Unit   0.0051% Per Unit   0.019% Per Unit    187,500 Per Unit
   A         Authorized   ($10,000,000 Total)   (20.00% Total)     (2.03% Total)     (7.50% Total)    (75,000,000 Total)




The undersigned submits this Subscription Agreement in accordance with and subject to the terms and
conditions described within this Subscription Agreement and within the Private Offering Memorandum
dated 1 January 2022. The undersigned accepts that Stavatti may reject any Subscription Agreement for
Units for any reason. Upon execution of this Subscription Agreement, the undersigned acknowledges
that Stavatti is relying upon the accuracy and completeness of the representations contained herein
in complying with its obligations under applicable securities laws. This subscription is further made upon
the terms and conditions listed below:

1. Subscription

To induce Stavatti to accept this Subscription, the undersigned is returning this Agreement, together with
funds paid in the form of a check, electronic/wire transfer or money order representing the purchase price
to be paid under this subscription. This Agreement shall become binding only if Stavatti receives and
accepts the funds paid in full by the Undersigned.

2. Acceptance of Subscription

It is understood and agreed that the Company shall have the sole right to accept or reject this Agreement
for any reason and shall have no obligation to accept Agreements in the order received.


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STAVATTI™                                     PROPRIETARY                                             SM-29


3. Payment of Contributions

For each Share subscribed for by me I agree to pay to the Company the sum of $0.05 per Share payable
to the Company along with my Subscription. The offering will continue until all Shares are sold or Until
180 days if the Company so elects.

4. Representations & Warranties

To induce the acceptance of this Agreement, the undersigned hereby warrants and represents that:

A. I have adequate personal resources, and I have no need for liquidity of this investment. It is under-
stood that all documents, records and books pertaining to this investment have been made available to
me and to my attorney, accountant and/or other offering representative and that the books and records of
the issuer will be available upon reasonable business hours at its principal place of business;

B. I am at least 21 years old and a citizen of the Nation of:_____________________________________

C. I am able to bear the economic risk of this investment; to hold the Shares for at least one (1) year, and,
if necessary, for an indefinite period of time; and presently to afford a complete loss of this investment;

D. I am purchasing the Shares for investment purposes and not for resale or other distribution to third
parties. I have no present intention to sell or otherwise dispose of this investment.

E. I understand that I am purchasing this interest in without being furnished any offering literature or pro-
spectus other than an SM-29 Super Fulcrum Offering Memorandum or Business Plan, and that this trans-
action has not been scrutinized by the US Securities and Exchange Commission (SEC) as a full registra-
tion because of the issuer’s representations of the limited number and type of offerings solicited and the
private aspects of the offering. I represent that I qualify as an “Accredited Investor” and I have adequate
means of providing for my current needs and that I have no need for liquidity of this investment.

5. Transferability

This Agreement may not be transferred or assigned.

6. Effectivity and Revocation

This Agreement shall be effective upon the transfer to and receipt of funds from the Investor. Once effec-
tive, this Agreement may not be canceled, terminated, or revoked provided it is executed by the under-
signed Investor; and shall survive the death or incapacity of the undersigned and shall be binding on all
of their respective successors, assigns, legal representatives, heirs, legaltees and distributees.

7. Notices

All notices or other communications shall be in writing and shall be delivered by e-mail, mail or by hand to
the undersigned at the address set forth after his name and signature below, and to the Company at the
following address: 9400 Porter Road, Niagara Falls, NY 14304 USA.

MISCELLANEOUS

(a) Severability: It is the intention of the parties that this Agreement be in compliance with all relevant
state and federal statutes and regulations governing the relationship between the parties at the time of
execution. If any provision of this Agreement is subsequently rendered invalid or unenforceable by any
local, state or federal statute or regulation, or declared null and void by any court of competent jurisdic-
tion, the remaining provisions of this Agreement will remain in full force and effect.

(b) No-Waiver: The failure of any party to insist upon strict compliance with any of the terms of this
Agreement shall not be deemed a waiver of the right to insist on strict compliance with such terms on
future occasions.


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STAVATTI™                                                             PROPRIETARY                                                                               SM-29


(c) Governing Law: Venue. This Agreement shall be controlled, construed and enforced in accordance
with the laws of the State of New York, and in the event any legal action is taken in connection with this
Agreement, the proper venue for said action shall be in the courts located in New York.

(d) Draftsmanship: The fact that one of the parties may have drafted or structured any provision of this
Agreement or any document attached as an exhibit or schedule hereto shall not be considered in con-
struing the particular provision or document either in favor of or against such party.

(e) Counterparts: This Agreement may be executed in any one or more counterparts (including by
electronic/facsimile transmission), each of which shall be deemed an original, and all of which, when
taken together, shall constitute one and the same instrument.

(f) Amendments: This Agreement may only be modified or amended by written agreement signed by all
parties hereto.

(g) Entire Agreement: This Agreement, including any attachments hereto, contain the entire agreement
of the parties hereto and supersedes all prior oral or written negotiations, representations, agreements,
understandings, proposals, or undertakings with respect to the subject matter hereof.

IN WITNESS WHEREOF, the parties have caused this Agreement to be executed by their duly autho-
rized representatives and to be effective as of the Effective Date.

STAVATTI AEROSPACE LTD                                                               INVESTOR



                                 (SIGNATURE)                                                                              (SIGNATURE)




                                (PRINT NAME)                                                                             (PRINT NAME)




                                (PRINT TITLE)                                                                            (PRINT TITLE)




                                    (PHONE)                                                                                  (PHONE)




                                    (EMAIL)                                                                                  (EMAIL)




                             (EFFECTIVE DATE)                                                                         (EFFECTIVE DATE)




                                              STAVATTI AEROSPACE LTD
                                                                        MN TEL: 651-238-5369
NIAGARA FALLS       MAIL STOP             WYOMING                                                                     UKRAINE             MINNESOTA               BUFFALO
9400 Porter Road    P.O. Box 3010         30 N Gould St, Ste 2247
                                                                        NY TEL: 716-205-8396        Kyivs’ka Street 4, Suite 217       P.O. Box 211258   4455 Genesee Street
Niagara Falls, NY   Niagara Falls, NY     Sheridan, WY              email: aerospace@stavatti.com              Vinnytsia, 21000             Eagan, MN            Buffalo, NY
14304 USA           14304 USA             82801 USA                    http://www.stavatti.com                          Ukraine             55121 USA            14225 USA




JAN 2022                                                               PROPRIETARY                                                                                     87
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STAVATTI™                                         PROPRIETARY                                                  SM-29




                    STAVATTI SUPER FULCRUM LTD
                                 &
                      STAVATTI AEROSPACE LTD


                  ROUND B
           SUBSCRIPTION AGREEMENT
The undersigned Investor (“Investor”) hereby tenders this subscription and applies for the purchase of
“Round B” Investment Units of Common Stock with each Unit consisting of 833,333 Shares (“Shares) of
Common Stock in Stavatti Super Fulcrum Ltd (the “Company”) at an offering price of $100,000 per Unit
with a minimum purchase of One (1) Unit. Each Share of Common Stock is being offered at a price of
$0.12 per Share. Each subscription is also accompanied by a Royalty Interest of 0.01% per Unit to be
paid from Project Gross Revenues to the Shareholder. Each Investor shall also be assigned, at no addi-
tional cost, an equity interest of 0.05% in Stavatti Aerospace Ltd (“Stavatti”) per Unit Subscription, equal
to 533,333 Shares of Stavatti Common Stock at an equivalent offering price of $0.188 per Share.


                                ROUND B SUBSCRIPTION TENDER

             Units          Investment           % Equity in     % Royalty from    % Equity in         Shares of
 Round
           Purchased          ($ USD)           the Company       the Company       Stavatti         Stavatti Stock


   A


             300 Units     $100,000 Per Unit    0.08% Per Unit   0.008% Per Unit   0.05% Per Unit    533,333 Per Unit
   A         Authorized   ($30,000,000 Total)    (25.0% Total)    (2.54% Total)    (16.00% Total)   (160,000,000 Total)




The undersigned submits this Subscription Agreement in accordance with and subject to the terms and
conditions described within this Subscription Agreement and within the Private Offering Memorandum
dated 1 January 2022. The undersigned accepts that Stavatti may reject any Subscription Agreement for
Units for any reason. Upon execution of this Subscription Agreement, the undersigned acknowledges
that Stavatti is relying upon the accuracy and completeness of the representations contained herein
in complying with its obligations under applicable securities laws. This subscription is further made upon
the terms and conditions listed below:

1. Subscription

To induce Stavatti to accept this Subscription, the undersigned is returning this Agreement, together with
funds paid in the form of a check, electronic/wire transfer or money order representing the purchase price
to be paid under this subscription. This Agreement shall become binding only if Stavatti receives and
accepts the funds paid in full by the Undersigned.

2. Acceptance of Subscription

It is understood and agreed that the Company shall have the sole right to accept or reject this Agreement
for any reason and shall have no obligation to accept Agreements in the order received.


JAN 2022                                          PROPRIETARY                                                        88
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STAVATTI™                                     PROPRIETARY                                             SM-29


3. Payment of Contributions

For each Share subscribed for by me I agree to pay to the Company the sum of $0.12 per Share payable
to the Company along with my Subscription. The offering will continue until all Shares are sold or Until
180 days if the Company so elects.

4. Representations & Warranties

To induce the acceptance of this Agreement, the undersigned hereby warrants and represents that:

A. I have adequate personal resources, and I have no need for liquidity of this investment. It is under-
stood that all documents, records and books pertaining to this investment have been made available to
me and to my attorney, accountant and/or other offering representative and that the books and records of
the issuer will be available upon reasonable business hours at its principal place of business;

B. I am at least 21 years old and a citizen of the Nation of:_____________________________________

C. I am able to bear the economic risk of this investment; to hold the Shares for at least one (1) year, and,
if necessary, for an indefinite period of time; and presently to afford a complete loss of this investment;

D. I am purchasing the Shares for investment purposes and not for resale or other distribution to third
parties. I have no present intention to sell or otherwise dispose of this investment.

E. I understand that I am purchasing this interest in without being furnished any offering literature or pro-
spectus other than an SM-29 Super Fulcrum Offering Memorandum or Business Plan, and that this trans-
action has not been scrutinized by the US Securities and Exchange Commission (SEC) as a full registra-
tion because of the issuer’s representations of the limited number and type of offerings solicited and the
private aspects of the offering. I represent that I qualify as an “Accredited Investor” and I have adequate
means of providing for my current needs and that I have no need for liquidity of this investment.

5. Transferability

This Agreement may not be transferred or assigned.

6. Effectivity and Revocation

This Agreement shall be effective upon the transfer to and receipt of funds from the Investor. Once effec-
tive, this Agreement may not be canceled, terminated, or revoked provided it is executed by the under-
signed Investor; and shall survive the death or incapacity of the undersigned and shall be binding on all
of their respective successors, assigns, legal representatives, heirs, legaltees and distributees.

7. Notices

All notices or other communications shall be in writing and shall be delivered by e-mail, mail or by hand to
the undersigned at the address set forth after his name and signature below, and to the Company at the
following address: 9400 Porter Road, Niagara Falls, NY 14304 USA.

MISCELLANEOUS

(a) Severability: It is the intention of the parties that this Agreement be in compliance with all relevant
state and federal statutes and regulations governing the relationship between the parties at the time of
execution. If any provision of this Agreement is subsequently rendered invalid or unenforceable by any
local, state or federal statute or regulation, or declared null and void by any court of competent jurisdic-
tion, the remaining provisions of this Agreement will remain in full force and effect.

(b) No-Waiver: The failure of any party to insist upon strict compliance with any of the terms of this
Agreement shall not be deemed a waiver of the right to insist on strict compliance with such terms on
future occasions.


JAN 2022                                       PROPRIETARY                                                 89
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STAVATTI™                                                             PROPRIETARY                                                                               SM-29


(c) Governing Law: Venue. This Agreement shall be controlled, construed and enforced in accordance
with the laws of the State of New York, and in the event any legal action is taken in connection with this
Agreement, the proper venue for said action shall be in the courts located in New York.

(d) Draftsmanship: The fact that one of the parties may have drafted or structured any provision of this
Agreement or any document attached as an exhibit or schedule hereto shall not be considered in con-
struing the particular provision or document either in favor of or against such party.

(e) Counterparts: This Agreement may be executed in any one or more counterparts (including by
electronic/facsimile transmission), each of which shall be deemed an original, and all of which, when
taken together, shall constitute one and the same instrument.

(f) Amendments: This Agreement may only be modified or amended by written agreement signed by all
parties hereto.

(g) Entire Agreement: This Agreement, including any attachments hereto, contain the entire agreement
of the parties hereto and supersedes all prior oral or written negotiations, representations, agreements,
understandings, proposals, or undertakings with respect to the subject matter hereof.

IN WITNESS WHEREOF, the parties have caused this Agreement to be executed by their duly autho-
rized representatives and to be effective as of the Effective Date.

STAVATTI AEROSPACE LTD                                                               INVESTOR



                                 (SIGNATURE)                                                                              (SIGNATURE)




                                (PRINT NAME)                                                                             (PRINT NAME)




                                (PRINT TITLE)                                                                            (PRINT TITLE)




                                    (PHONE)                                                                                  (PHONE)




                                    (EMAIL)                                                                                  (EMAIL)




                             (EFFECTIVE DATE)                                                                         (EFFECTIVE DATE)




                                              STAVATTI AEROSPACE LTD
                                                                        MN TEL: 651-238-5369
NIAGARA FALLS       MAIL STOP             WYOMING                                                                     UKRAINE             MINNESOTA               BUFFALO
9400 Porter Road    P.O. Box 3010         30 N Gould St, Ste 2247
                                                                        NY TEL: 716-205-8396        Kyivs’ka Street 4, Suite 217       P.O. Box 211258   4455 Genesee Street
Niagara Falls, NY   Niagara Falls, NY     Sheridan, WY              email: aerospace@stavatti.com              Vinnytsia, 21000             Eagan, MN            Buffalo, NY
14304 USA           14304 USA             82801 USA                    http://www.stavatti.com                          Ukraine             55121 USA            14225 USA




JAN 2022                                                               PROPRIETARY                                                                                     90
